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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON

 7

 8
      JESSICA THOMPSON, on behalf
                                                                      2:23-cv-1606
 9    of themselves and all other                         Case No. ______________________________
      similarly situated,
10                                                        COMPLAINT CLASS ACTION
                      Plaintiff,
11                                                        JURY DEMAND
      vs.
12
      RECKITT BENCKISER, LLC,
13
                      Defendant.
14

15
                                    CLASS ACTION COMPLAINT
16
            Jessica Thompson (“Plaintiff”), on behalf of herself and all others similarly situated, file
17
     this Class Action Complaint (“CAC”) against Defendant Reckitt Benckiser, LLC (“Reckitt” or
18
     “Defendant”) support states the following:
19
                                      NATURE OF THE ACTION
20
            1.       This is a class action lawsuit brought under Washington’s consumer protection
21
     laws by Plaintiff, and others similarly situated, who purchased products from the following over-
22
     the-counter (“OTC”) decongestant product line containing phenylephrine: Mucinex Nightshift
23
     Sinus and similar products containing oral phenylephrine. These Products are manufactured,
24
     sold, and distributed by Defendant and have been found by the U.S. Food and Drug
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 1   Administration (“FDA”) to lack efficacy. The Product’s lack of efficacy was not disclosed to

 2   Plaintiff prior to Plaintiff’s purchase of the Product and Plaintiff would not have purchased the

 3   Product had she known it did not work as advertised. Plaintiff and the putative class suffered

 4   economic damages due to Defendant’s misconduct (as set forth below) and they seek injunctive

 5   relief and restitution for the full purchase price of the Products they purchased. Plaintiff alleges

 6   the following based upon personal knowledge as well as investigation by counsel, and as to all

 7   other matters, upon information and belief. Plaintiff further believes that substantial evidentiary

 8   support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

 9                                     JURISDICTION AND VENUE

10           2.       This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). The matter

11   in controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000 and is a

12   class action in which there are in excess of 100 class members and Plaintiff is a citizen of a state

13   different from Defendant.

14           3.       This Court has jurisdiction over Defendant because Defendant is authorized to

15   conduct and do business in Washington. Defendant has marketed, promoted, distributed, and sold

16   the Products in Washington and Defendant has sufficient minimum contacts with this State and/or

17   sufficiently avail themselves of the markets in this State through promotion, sales, distribution,

18   and marketing within this State to render the exercise of jurisdiction by this Court permissible.

19            4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b) because a

20   substantial part of the events or omissions giving rise to Plaintiff’s claims occurred while she

21   resided in this judicial district. Venue is also proper under 18 U.S.C. §1965(a) because Defendant

22   transacts substantial business in this District.

23                                              THE PARTIES

24           5.       Plaintiff Jessica Thompson is a citizen and resident of Washington and at all times

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 1   relevant hereto, has been a resident of Washington. Within the class period defined below, Plaintiff

 2   purchased Mucinex Nightshift Sinus in Washington. During that time, based on the false and

 3   misleading claims by Defendant, Plaintiff was unaware that Defendant’s Product was not an

 4   effective remedy for congestion and/or cold symptoms. Plaintiff purchased Defendant’s Product

 5   on the assumption that the marketing of the Product was accurate, and that the Product worked as

 6   advertised. Plaintiff would not have purchased Defendant’s Product had she known it was not

 7   effective and lacked efficacy. As a result, Plaintiff suffered injury in fact when she spent money

 8   to purchase a Product she would not otherwise have purchased absent Defendant’s misconduct, as

 9   alleged herein.

10          6.         Defendant Reckitt Benckiser, LLC, is a Delaware limited liability company with

11   headquarters and principal place of business in Parsippany, New Jersey. Reckitt manufactures

12   markets, advertises, distributes, and sells Mucinex Nightshift Sinus as well as other oral

13   phenylephrine products.

14                                 SERVICE ON ATTORNEY GENERAL

15         7.          Counsel for Plaintiff have caused a copy of this initial pleading to be served on

16       the Attorney General of Washington in accordance with RCW 19.186.095.

17                                             INTRODUCTION

18           8.        Defendant, Reckitt, is a corporation engaged in the manufacture, marketing, and

19   sale of various OTC pharmaceutical products, including Mucinex Nightshift Sinus and similar

20   oral phenylephrine products.

21          9.         Defendant marketed and sold the Products to consumers in Washington and

22   across the United States as an effective nasal decongestant.

23          10.        The main active ingredient in the Products is phenylephrine hydrochloride, or

24   “PE.” In 1994, the FDA issued a final monograph establishing conditions under which OTC

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 1   nasal decongestant drug products are generally recognized as safe and effective (“GRASE”) and

 2   not misbranded. Phenylephrine is included in the final monograph as an OTC oral nasal

 3   decongestant. Defendant marketed PE as an effective decongestant that should be used to relieve

 4   nasal congestion and sinus pressure associated with colds, allergies, and other respiratory

 5   conditions.

 6          11.     According to Defendant, phenylephrine works by constricting blood vessels in the

 7   nasal passages, which reduces swelling and congestion.

 8          12.     Over the years, Defendant made the following claims in their marketing,

 9   advertising, and promotional materials concerning the efficacy of their Products,

10          13.     For example, Mucinex Nightshift Sinus includes these marketing claims:

11                  •      Starts to Break Up Sinus Symptoms with Just 1 Dose or
                    your money back.
12
                    •      Clears Nasal Decongestion (Phenylephrine HCI 10 mg).
13
                    •       Sometimes, when you’re sick, you’re really sick. Nasal
14                  congestion, sore throat, runny nose, fever, headache, cough - you
                    name it, you’ve got it. Mucinex Nightshift Sinus has your back to
15                  fight your worst nighttime cold & flu symptoms.

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             14.     In 2007, the consumer advocacy group Public Citizen filed a petition with the
17
     U.S. Food and Drug Administration (FDA) regarding phenylephrine. The petition requested that
18
     the FDA re-evaluate the safety and efficacy of phenylephrine as a nasal decongestant and take
19
     regulatory action.
20

21

22
     1
      Amazon: Mucinex Nightshift Sinus (https://www.amazon.com/Nightshift-Relieves-Sneezing-Congestion-
23
     Controls/dp/B07VSVC1C7).

24
     2
      Amazon: Mucinex Nightshift Sinus (https://www.amazon.com/Mucinex-Strength-Sinus-Max-Nightshift-Multi-
     Symptom/dp/B094XJF8T8).

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 1          15.      Public Citizen expressed concerns that phenylephrine, the active ingredient in

 2   many OTC decongestant products, was not as effective as another decongestant called

 3   pseudoephedrine.

 4          16.      The petition argued that the switch from pseudoephedrine to phenylephrine in

 5   many cold and allergy medications had not been supported by adequate scientific evidence

 6   demonstrating the latter's effectiveness in relieving nasal congestion.

 7          17.      Public Citizen also raised concerns about the potential side effects and safety of

 8   phenylephrine, suggesting that its use might lead to increased blood pressure in some

 9   individuals.

10          18.      The FDA reviewed the concerns raised by the Public Citizen petition regarding

11   the safety and efficacy of phenylephrine as a nasal decongestant. The FDA concluded that, based

12   on the available data at the time of its review in 2007, phenylephrine could be considered

13   effective as a nasal decongestant when used at the recommended doses.

14          19.      Thus, in 2007, the FDA concluded that orally administered PE was Generally

15   Recognized as Safe and Effective (GRASE).

16          20.      The FDA’s GRASE determination allowed Defendant to market the Products as

17   an OTC or “over-the-counter” medication. This was an important designation to Defendant as it

18   allowed them to market the Products to consumers without requiring a doctor’s prescription,

19   making it more accessible for self-treatment, and allowing Defendant to make billions of dollars

20   in OTC sales.

21          21.      However, on September 11th and 12th, 2023, the FDA issued a new report

22   detailing its updated review of the efficacy of phenylephrine, based on the studies it initially

23   reviewed in 2007 and additional studies obtained since its initial review. A copy of the FDA’s

24   report is attached as Exhibit A.

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 1             22.     The FDA’s findings are based on rigorous scientific research and evaluation.

 2             23.     At its initial 2007 Nonprescription Drugs Advisory Committee (“NDAC”)

 3   meeting and review, the FDA reviewed clinical effectiveness data for oral doses between 5mg

 4   and 40mg in a total of 14 studies, of which 7 reported positive measurable efficacy results.

 5             24.     In its re-analysis of these studies in 2023, the FDA found significant problems:

 6                     [w]hen considering the studies through a modern drug review lens,
                       all of the studies (both positive and negative) were highly
 7                     problematic in both design and methodology. All used a highly
                       variable endpoint (NAR) to study a drug in the setting of a highly
 8                     variable disease state (the common cold) that is no longer used as a
                       primary endpoint to evaluate congestion in pivotal trials. 3 Further,
 9                     all the positive studies (and most of the negative studies) were
                       unpublished and therefore never peer-reviewed. Six of the seven
10                     positive studies came from a single study center (funded by the
                       manufacturer of Neo-Synephrine), were very small in size, and
11                     (except in one instance) the results could not be duplicated at two
                       other study centers (also funded by the same manufacturer) that
12                     used a similar study design and methodology. (emphasis added).
     Exhibit A.
13

14               25.   The FDA thus found that the original studies had data integrity issues and that the

15       results from the Elizabeth study site, a study it relied on in 2007, could not be duplicated in at

16       least two other Sterling-Winthrop study sites that used a similar study design and methodology.

17             26.     As noted in the FDA’s re-evaluation of the data, the original studies used to

18   support the GRASE determination in 2007 were based on “equivocal findings.” Exhibit A.

19   Indeed, there were “significant deficiencies” in the “design and conduct of these studies.” Id.

20

21
     3
       The FDA’s Guidance for Industry on Developing Drug Products for Treatment of Allergic
22
     Rhinitis recommends use of symptom scores for the primary endpoint in clinical trials. See FDA,
     2018, Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment,
23
     https://www.fda.gov/regulatory-information/search-fda-guidance-documents/allergic-rhinitis-
     developing-drugproducts-treatment-guidance-industry (hereafter “FDA Guidance for Industry
24
     (2018)”).
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 1          27.     In light of the methodological and design flaws it found, the FDA now believes

 2   that “the original studies evaluated for efficacy” are “unacceptable as continued support for the

 3   efficacy of monographed doses or oral PE.” Exhibit A.

 4          28.     Since 2007, several additional large clinical trials have been conducted regarding

 5   the efficacy of phenylephrine. 4 Those studies provide evidence of the absence of a decongestant

 6   effect from the OTC approved doses of 10 mg.

 7          29.     For example, Horak et al (2009) found that PE was not significantly different

 8   from placebo in the mean change in subjective nasal congestion scores whereas

 9   pseudoephedrine, a positive control in the study, decreased congestion significantly greater than

10   placebo and PE.

11          30.     Day et al (2009) similarly reported no difference between PE and placebo with

12   respect to decreased nasal congestion scores.

13          31.     Gelotte and Zimmerman (2015) likewise reported a lack of local decongestion

14   effect of PE, finding that doses up to three times the labeled OTC for oral phenylephrine are

15   unlikely to be effective as a nasal decongestant.

16

17

18   4
       See, e.g., Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular
     tolerability of phenylephrine HCl 10, 20, and 30 mg after a single oral administration in healthy
19
     volunteers, Clin Drug Investig, 35(9):547-558; Day, JH, MP Briscoe, JD Ratz, M Danzig, and R
     Yao, 2009, Efficacy of loratadine-montelukast on nasal congestion in patients with seasonal
20
     allergic rhinitis in an environmental exposure unit, Ann Allergy Asthma Immunol, 102(4):328-
     338; Horak, F, P Zieglmayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig,
21
     2009, A placebo-controlled study of the nasal decongestant effect of phenylephrine and
22   pseudoephedrine in the Vienna Challenge Chamber, Ann Allergy Asthma Immunol, 102(2):116-
     120; Meltzer, EO, PH Ratner, and T McGraw, 2015, Oral phenylephrine HCl for nasal
     congestion in seasonal allergic rhinitis: A randomized, open-label, placebo-controlled study, J
23
     Allergy Clin Immunol Pract, 3(5):702-708; Meltzer, EO, PH Ratner, and T McGraw, 2016,
     Phenylephrine hydrochloride modified-release tablets for nasal congestion: a randomized,
24
     placebo-controlled trial in allergic rhinitis patients, Ann Allergy Asthma Immunol, 116(1):66-71.
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 1            32.    Thus, the results of several studies reported after the initial efficacy determination

 2   of the Products in 2007 clearly demonstrate that PE is no more effective than placebo in

 3   decreasing nasal congestion and, thus, lacks efficacy.

 4            33.    On September 12, 2023, an FDA panel unanimously declared that phenylephrine,

 5   the active ingredient in the Products, is an ineffective decongestant.

 6            34.    As of 2007, nasal airway resistance (“NAR”) was the principle methodology used

 7   to assess the effectiveness of oral PE. This methodology used measurements of airflow and air

 8   pressure in the nasal passage to calculate NAR as an indirect measure of the level of nasal

 9   congestion.

10            35.    In 2018, however, the FDA issued new guidance for industry as it related to the

11   use of nasal congestion symptom scores to evaluate congestion, 5 meaning that NAR was no

12   longer used as a primary endpoint to evaluate congestion in studies.

13            36.    Based on the FDA’s new 2018 guidance, Defendant knew or should have known

14   that their marketing claims regarding the Products’ efficacy were false and misleading. This is

15   because the primary endpoint for evaluating the efficacy of the Products had changed since the

16   FDA’s 2007 NDAC meeting, meaning that the previous data under which the Products were

17   approved as GRASE no longer supported efficacy. There have been no published studies since

18   the FDA’s revised 2018 guidance for industry was released that demonstrate the effectiveness of

19   oral phenylephrine as a decongestant. Accordingly, Defendant knew or should have known by at

20   least 2018 that their marketing claims regarding the Products’ efficacy were false and

21   misleading.

22

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24   5
         FDA Guidance for Industry (2018).
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 1          37.     Plaintiff and the class members purchased the Products in reliance on Defendant’s

 2   false and deceptive marketing claims.

 3          38.     As a result of Defendant’s false and deceptive marketing, Plaintiff and the class

 4   members suffered economic damages, including the cost of purchasing the Products.

 5                                     CLASS ALLEGATIONS

 6          39.     Plaintiff brings this action on behalf of herself and all other similarly situated

 7   class members (the “Class” or “Classes”) pursuant to Rule 23(a), (b)(2) and (b)(3) of the

 8   Federal Rules of Civil Procedure and seeks certification of the following Class against

 9   Defendant for violations of Washington state laws and/or similar laws in other states:

10                  Multi-State Class Action

11                  All consumers who purchased Mucinex Nightshift Sinus Products
                    in the United States of America and its territories from October 19,
12                  2018 to the present for personal use or consumption.

13                  Excluded from the Class are individuals who allege personal
                    bodily injury resulting from the use of Mucinex Nightshift Sinus.
14                  Also excluded from this Class are Defendant, any parent
                    companies, subsidiaries, and/or affiliates, officers, directors, legal
15                  representatives, employees, co-conspirators, all governmental
                    entities, and any judge, justice or judicial officer presiding over
16                  this matter.

17          40.     In the alternative, Plaintiff brings this action on behalf of herself and all other

18   similarly situated Washington consumers pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal

19   Rules of Civil Procedure and seeks certification of the following Sub-Classes:

20                  Washington Sub-Class

21                  All consumers who purchased Mucinex Nightshift Sinus Products
                    in the State of Washington from October 19, 2018 to the present
22                  for personal use or consumption.

23                  Excluded from the Class are individuals who allege personal
                    bodily injury resulting from the use of Mucinex Nightshift Sinus
24                  Products. Also excluded from this Class are Defendant, any parent

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 1                    companies, subsidiaries, and/or affiliates, officers, directors, legal
                      representatives, employees, co-conspirators, all governmental
 2                    entities, and any judge, justice or judicial officer presiding over
                      this matter.
 3
             41.      The members of the Class are so numerous that joinder of all members of the
 4
     Class is impracticable. Plaintiff is informed and believes that the proposed Class/Sub-Classes
 5
     contains thousands of purchasers of Defendant’s Products who have been damaged by
 6
     Defendant’s conduct as alleged herein. The precise number of Class members is unknown to
 7
     Plaintiff at this time.
 8
             42.      Plaintiff’s claims are typical to those of all Class members because members of
 9
     the Class are similarly injured through Defendant’s uniform misconduct described above and
10
     were subject to Defendant’s deceptive marketing claims that accompanied each and every
11
     Product. Plaintiff is advancing the same claims and legal theories on behalf of themselves and all
12
     members of the Class/Sub-Class.
13
             43.      Plaintiff’s claims raise questions of law and fact common to all members of the
14
     Class, and they predominate over any questions affecting only individual Class members. The
15
     claims of Plaintiff and all prospective Class members involve the same alleged defect. These
16
     common legal and factual questions include the following:
17
                (a)   whether Defendant’s Products contained phenylephrine;
18
                (b) whether Defendant’s marketing statements are false, misleading, or
19
                      objectively reasonably likely to deceive;
20
                (c)   whether the alleged conduct constitutes violations of the laws asserted;
21
                (d) whether Defendant’s alleged conduct violates public policy;
22
                (e)   whether Defendant engaged in false or misleading advertising;
23
                (f) whether Defendant was unjustly enriched as a result of its marketing,
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 1                  advertising and/or selling of the Products;

 2             (g) whether Plaintiff and the Class members are entitled to damages and/or

 3                  restitution and the proper measure of that loss; and

 4             (h) whether an injunction is necessary to prevent Defendant from continuing to

 5                  market and sell Products that lack efficacy.

 6
            44.     Plaintiff and her counsel will fairly and adequately protect and represent the
 7
     interests of each member of the class. Plaintiff has retained counsel experienced in complex
 8
     litigation and class actions. Plaintiff’s counsel has successfully litigated other class action cases
 9
     similar to that here and have the resources and abilities to fully litigate and protect the interests
10
     of the class. Plaintiff intends to prosecute this claim vigorously. Plaintiff has no adverse or
11
     antagonistic interests to those of the Class, nor is Plaintiff subject to any unique defenses.
12
            45.     A class action is superior to the other available methods for a fair and efficient
13
     adjudication of this controversy. The damages or other financial detriment suffered by the
14
     Plaintiff and individual Class members is relatively small compared to the burden and expense
15
     that would be entailed by individual litigation of their claims against Defendant. It would thus be
16
     virtually impossible for Plaintiff and Class members, on an individual basis, to obtain
17
     meaningful and effective redress for the wrongs done to them. Further, it is desirable to
18
     concentrate the litigation of the Class members’ claims in one forum, as it will conserve party
19
     and judicial resources and facilitate the consistency of adjudications. Plaintiff knows of no
20
     difficulty that would be encountered in the management of this case that would preclude its
21
     maintenance as a class action.
22
            46.     The Class also may be certified because Defendant has acted or refused to act on
23
     grounds applicable to the Class, thereby making appropriate final declaratory and/or injunctive
24
     relief with respect to the members of the Class as a whole.
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 1            47.      Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

 2   of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

 3   Defendant from engaging in the acts described above, such as continuing to market and sell

 4   Products that lack efficacy and requiring Defendant to provide a full refund of the purchase price

 5   of the Products to Plaintiff and Class members.

 6               48. Unless a Class is certified, Defendant will retain monies received as a result of their
 7   conduct that were taken from Plaintiff and the Class members. Unless a Class-wide injunction is

 8   issued, Defendant will continue to commit the violations alleged and the members of the Class

 9   and the general public will continue to be misled. Indeed, to this day, Defendant continues to

10   market and sell the Products that have been determined by a unanimous FDA panel to lack

11   efficacy.

12

13                                       FIRST CAUSE OF ACTION

14                       Violation of Washington’s Consumer Protection Act (RCW 19.86)
                                            (Unfair Business Practices)
15
                    (On Behalf of the Plaintiff and the Washington Sub-Class Against Defendant)
16
                 49. Plaintiff incorporates by reference and re-alleges each and every allegation
17
      contained above, as though fully set forth herein.
18
                 50. Plaintiff brings this Count individually and on behalf of the Washington Sub-
19
     Class.
20

21
                 51. Washington’s Consumer Protection Act (“CPA”) provides that “[u]nfair methods
     of competition and unfair or deceptive acts or practices in the conduct of any trade or commerce
22
     are hereby declared unlawful” and prohibits “an unfair or deceptive act or practice, occurring in
23
     trade or commerce, with a public interest impact, that causes injury.” RCW § 19.86.020.
24

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 1            52. The purpose of CPA is to “protect the public and foster fair and honest
 2   competition”. RCW § 19.86.090.

 3            53. Private consumers may bring a civil action to enforce violations of the Consumer
 4   Protection Act to enjoin further violations, to recover actual damages, or both together with the
 5   costs and attorney’s fees. RCW § 19.86.090.
 6            54. Under the CPA, when an unfair or deceptive act or practice is alleged under RCW
 7   § 19.86.020, a claimant may establish that the act or practice is injurious to the public interest
 8   because it (a) violates a statute within the act’s chapter; (b) violates a statute that contains a
 9   specific legislative declaration of public interest impact; or (c) injured or has the capacity to
10   injure other persons. RCW § 19.86.093.
11
              55. Defendant conducted their acts and practices as described herein during the course
12
     of trade or commerce.
13
              56. Defendant’s practices and acts in the marketing and sale of their Products were
14
     unfair and had a capacity to deceive and cause injury to Plaintiff, the Washington sub-class, and
15
     the public.
16
              57. Defendant’s Products were ineffective for treating nasal congestion and their
17
     Products were therefore misbranded.
18
              58. Defendant indicated that their Products were effective in treating nasal congestion,
19
       as was indicated in their marketing materials, advertising, and promotional materials. This
20
       conduct has caused consumers confusion and misunderstanding as to the effectiveness of
21
       Defendant’s Products.
22
              59. Defendant knew or should have known that their marketing claims of effectiveness
23
      with respect to their oral phenylephrine products were false and misleading to Plaintiff, the
24

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 1   Washington sub-class, and the public.

 2           60. Plaintiff, Washington Sub-Class Members and the members of the general public
 3   would not have purchased Defendant’s oral phenylephrine products had they known about the

 4   Products’ ineffectiveness in treating nasal congestion.

 5           61. Plaintiff, Washington Sub-Class members, and members of the general public who
 6   have purchased Defendant’s oral phenylephrine products have suffered economic loss in
 7   purchasing products that they believed were effective, when in reality, the Products were
 8   completely ineffective at treating nasal congestion.
 9           62. Defendant’s unfair and deceptive trade practices and acts were the proximate cause
10   of Plaintiff’s, Washington Sub-Class Member’s, and additional members of the public that
11   purchased Defendant’s products injuries.
12
             63. Additionally, violations of specific Washington commercial statutes, including the
13
     Washington Food, Drug, and Cosmetic Act, RCW § 69.04 are per se violations of the CPA.
14
             64. Defendant is also in violation of the Washington Food, Drug, and Cosmetic Act
15
       (“WFDCA”), RCW § 69.04, therefore placing them in per se violation of the CPA., as the
16
       WFDCA is a specific legislative declaration of public interest or impact.
17
             65. Washington’s Food, Drug, and Cosmetic Act (“WFDCA”) is to
18
                  “Safeguard the public health and promote the public welfare by protecting the
19                consuming public from (a) potential injury by product use; (b) products that are
                  adulterated; or (c) products that have been produced under unsanitary conditions,
20
                  and the purchasing public from injury by merchandising deceit flowing from
21                intrastate commerce in food, drugs, devices, and cosmetics.” RCW § 69.04.001.

22           66. The WFDCA prohibits “(1) the sale in intrastate commerce of any drug, device, or
23   cosmetic that is adulterated or misbranded.” RCW § 69.04.040.

24           67. Defendant is in violation of WFDCA because their Products are misbranded in that
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 1     Defendant’s marketing and advertising of oral phenylephrine Products is false and misleading

 2     marketing.

 3            68. Wherefore, Plaintiff and members of the Washington Sub-Class are entitled to
 4       injunctive and equitable relief, and a full refund in the amount they spent on the Products.

 5                                   SECOND CAUSE OF ACTION

 6                                       Negligent Misrepresentation

 7             (On Behalf of the Plaintiff and the Washington Sub-Class Against Defendant)

 8
              69. Plaintiff incorporates by reference and re-alleges each and every allegation
 9
     contained above, as though fully set forth herein.
10
              70. Plaintiff brings this Count individually and on behalf of the Washington Sub-Class.
11

12
              71. Washington law recognizes the tort of negligent misrepresentation and requires
                    Plaintiff to show:
13
                    (1) the defendant supplied information for the guidance of others in their business
14
                        transactions that was false, (2) the defendant knew or should have known that
15                      the information was supplied to guide the plaintiff in his business transactions,
                        (3) the defendant was negligent in obtaining or communicating the false
16                      information, (4) the plaintiff relied on the false information, (5) the plaintiff's
                        reliance was reasonable, and (6) the false information proximately caused the
17
                        plaintiff damages. Ross v. Kirner, 162 Wn.2d 493, 499, 172 P.3d 701 (2007).
18
              72. Defendant owed a duty of reasonable care to Plaintiff and the Sub-Class members
19
     in the marketing, advertising, sale, and distribution of their Products.
20
              73. Defendant also had a duty to exercise reasonable care in properly and accurately
21
     representing the effectiveness of their Products to consumers, including Plaintiff and the Sub-
22
     Class members.
23
             74. Defendant failed to exercise ordinary care when making the misrepresentations in
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 1   their marketing, advertising and promotional materials, claiming that their Products were

 2   effective.

 3            75. Defendant negligently and falsely misrepresented facts regarding the effectiveness
 4     of their products to Plaintiff and the Sub-Class members.

 5            76. Defendant knew or should have known that the misrepresentations of the
 6   effectiveness of their Products were false and misleading. Defendant knew or should have
 7   known that these misrepresentations would induce Plaintiff to purchase these Products in
 8   reliance of Defendant’s claims.
 9            77. Plaintiff’s and Sub Class members’ reliance on Defendant’s misrepresentations
10   was reasonable, as they had no reason to believe at the time of purchase that Defendant would
11   have distributed false and misleading information about their Products.
12
              78. As a direct and proximate cause of Defendant’s negligent misrepresentations,
13
     Plaintiff and the Sub-Class members have suffered harm.
14
              79. Defendant’s misrepresentations were material and substantial factors in Plaintiff
15
      and Sub-Class members purchasing of and paying for the Products.
16
              80. Defendant intended, or had reckless disregard, to induce Plaintiff and Sub-Class
17
     members to purchase their Products based on their misrepresentations of effectiveness.
18
     Plaintiff and Sub-Class members reasonably relied on the misrepresentations made by
19
     Defendant.
20
              81. Wherefore, Plaintiff and members of the Washington Sub-Class are entitled to
21
     injunctive and equitable relief, and a full refund of the amount they spent on the Products.
22
                                       THIRD CAUSE OF ACTION
23
                                               Unjust Enrichment
24
               (On Behalf of the Plaintiff and the Washington Sub-Class Against Defendant)
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 1
              82. Plaintiff incorporates by reference and re-alleges each and every allegation
 2
       contained above, as though fully set forth herein.
 3
              83. Plaintiff brings this Count individually and on behalf of the Washington Sub-Class.
 4
             84. Unjust enrichment is a method of recovery “for the value of the benefit retained
 5
      absent any contractual relationship because notions of fairness and justice require it.” Young v.
 6
      Young, 164 Wn.2d 477, 484, 191 P.3d 1258 (2008).
 7
              85.   Unjust enrichment occurs when (1) a plaintiff conferred a benefit upon the
 8
      defendant, (2) the defendant had knowledge or appreciation of the benefit, and (3) the
 9
      defendant’s accepting or retaining the benefit without the payment of its value is inequitable
10
      under the circumstances of the case. Young v. Young, 164 Wn. 2d 477, 484-85 (Wash. 2008).
11
             86.     Defendant profited, and therefore benefitted, exponentially from their marketing
12
      and sales of their Products containing phenylephrine. Plaintiff and Sub-Class members were
13
      deprived of the money paid for these ineffective Products.
14
             87.     Defendant was unjustly enriched by unlawfully receiving money from Plaintiffs
15
     for ineffective Products. It would be inequitable and unconscionable for Defendant to retain the
16
     compensation obtained based on their wrongful conduct.
17
              88.    Wherefore, Plaintiff and members of the Washington Sub-Class are entitled to
18
      injunctive and equitable relief, and a full refund in the amount they spent on the Products as well
19
      as an order from this Court requiring the disgorgement of all profits, benefits, and additional
20
      compensation obtained by Defendant by way of their wrongful conduct.
21

22
                                        PRAYER FOR RELIEF
23
            WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, pray for
24
     judgment against the Defendant as to each and every count, including:
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 1   A.    An order declaring this action to be a proper class action, appointing Plaintiff and

 2         her counsel to represent the Class/Sub-Classes, and requiring Defendant to bear

 3         the costs of class notice;

 4   B.    An order enjoining Defendant from selling the Products;

 5   C.    An order enjoining Defendant from suggesting or implying in their marketing and

 6         advertising that their Products are effective as a nasal decongestant;

 7   D.    An order requiring Defendant to engage in a corrective advertising campaign and

 8         engage in any further necessary affirmative injunctive relief, such as recalling

 9         existing Products;

10   E.    An order awarding declaratory relief, and any further retrospective or prospective

11         injunctive relief permitted by law or equity, including enjoining Defendant from

12         continuing the unlawful practices alleged herein, and injunctive relief to remedy

13         Defendant’s past conduct;

14   F.    An order requiring Defendant to pay restitution/damages to restore all funds

15         acquired by means of any act or practice declared by this Court to be an unlawful,

16         unfair, or fraudulent business act or practice, untrue or misleading advertising in

17         violation of the above-cited authority, plus pre- and post-judgment interest

18         thereon;

19   G.    An order requiring Defendant to disgorge any ill-gotten benefits received from

20         Plaintiff and members of the Class/Sub-Classes as a result of any wrongful or

21         unlawful act or practice;

22   H.    An order requiring Defendant to pay all actual and statutory damages permitted

23         under the counts alleged herein;

24

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 1          I.      An order awarding attorneys’ fees and costs to Plaintiff and the Class/Sub-

 2                  Classes; and

 3          J.      An order providing for all other such equitable relief as may be just and proper.

 4
                                           DEMAND FOR JURY TRIAL
 5
        Plaintiff demands a trial by jury on all issues so triable.
 6

 7
     DATED: October 19, 2023
 8
                                            By: /s/ Chelsie Warner
 9
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10                                          KREIS & OVERHOLTZ, PLLC
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                                            Attorneys for Plaintiff
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 1
                          UNITED STATES DISTRICT COURT
 2                       WESTERN DISTRICT OF WASHINGTON

 3

 4
     JESSICA THOMPSON, on behalf
 5   of themselves and all other           Case No. 2:23-cv-01606
     similarly situated,
 6
                Plaintiff,                 PLAINTIFFS EXHIBIT “A” FOR
 7                                         COMPLAINT CLASS ACTION
     vs.
 8                                         JURY DEMAND
     RECKITT BENCKISER, LLC,
 9
                Defendant.
10

11

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                                     FDA Briefing Document


                 Efficacy of Oral Phenylephrine as a Nasal Decongestant


                   Nonprescription Drug Advisory Committee Meeting
                                  September 11 and 12, 2023


                       Division of Nonprescription Drugs 1 (DNPD1)
                         Office of Nonprescription Drugs (ONPD)

              Division of Inflammation and Immune Pharmacology (DIIP)
                         Office of Clinical Pharmacology (OCP)

                            Division of Epidemiology II (DEPI-II)
                       Office of Surveillance and Epidemiology (OSE)



                                       DISCLAIMER STATEMENT
The attached package contains background information prepared by the Food and Drug Administration
(FDA) for the panel members of the Advisory Committee. The FDA background package often contains
assessments and/or conclusions and recommendations written by individual FDA reviewers. Such
conclusions and recommendations do not necessarily represent the final position of the individual
reviewers, nor do they necessarily represent the final position of the Review Division or Office. We are
bringing the issue of whether orally administered phenylephrine is efficacious as a nasal decongestant
(when administered at dosages consistent with the Cough, Cold, Allergy, Bronchodilator and Antiasthma
[CCABA] over-the-counter [OTC] monograph) to this Advisory Committee in order to gain the
Committee’s insights and opinions. The background package may not include all issues relevant to the
final regulatory recommendation and instead is intended to focus on issues identified by the Agency for
discussion by the Advisory Committee. The FDA will not issue a final determination on the issues at hand
until input from the Advisory Committee process has been considered and all reviews have been
finalized. The final determination may be affected by issues not discussed at the Advisory Committee
meeting.




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Glossary
AC                   Advisory Committee
AE                   adverse event
ANPR                 Advanced Notice of Proposed Rulemaking
CARES Act            Coronavirus Aid, Relief, and Economic Security Act of 2020
CCABA Monograph      Cough, Cold, Allergy, Bronchodilator, and Antiasthma OTC Monograph
CHPA                 Consumer Healthcare Products Association
CMEA                 Combat Methamphetamine Epidemic Act of 2005 (signed into law in 2006)
CP                   Citizen Petition
BP                   blood pressure
EEU                  environmental exposure units
ER                   extended-release
FDA                  Food and Drug Administration
FM                   final monograph
GRASE                Generally Recognized as Safe and Effective
HR                   heart rate
ICH                  International Council for Harmonisation of Technical Requirements for
                     Pharmaceuticals for Human Use
IND                  investigational new drug
IR                   immediate-release
ITT                  intent-to-treat
IV                   intravenous
L/M                  loratadine-montelukast
NAR                  nasal airway resistance
NDA                  new drug application
NDAC                 Nonprescription Drugs Advisory Committee
OTC                  over-the-counter
PAR                  perennial allergic rhinitis
PD                   pharmacodynamic
PE                   phenylephrine
PEH                  phenylephrine hydrochloride salt
PEB                  phenylephrine bitartrate salt
PK                   pharmacokinetic
PNIF                 peak nasal inspiratory flow
PPA                  phenylpropanolamine
PSE                  pseudoephedrine
SAP                  statistical analysis plan
SAR                  seasonal allergic rhinitis
SD                   standard deviation
TFM                  Tentative Final Monographs




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       Introduction and Background
         Introduction and Charge to the Advisory Committee
Thank you for participating in the Nonprescription Drugs Advisory Committee (NDAC) meeting to be
held on September 11 and 12, 2023.
The Food and Drug Administration (FDA or the Agency) is convening this Advisory Committee (AC) to
discuss the adequacy of efficacy data available for orally administered phenylephrine (PE) as a nasal
decongestant and whether the oral nasal decongestants phenylephrine hydrochloride and
phenylephrine bitartrate should be reclassified as not Generally Recognized as Safe and Effective
(GRASE) due to lack of efficacy.
The Agency has been evaluating data with regard to the efficacy of oral PE since the NDAC meeting held
in December of 2007,1 which had been prompted by data submitted to the Agency by Leslie Hendeles,
PharmD, Randy Hatton, PharmD, and Almut Winterstein, PhD, in a 2007 Citizen Petition earlier that year
(2007 CP).2 The CP requested that the Agency amend the dosage(s) of both oral PE salts by increasing
the maximum dosage for patients ≥12 years of age, and “withdraw approval for use” (i.e., reclassify as
not GRASE) in children <12 years of age. At that meeting, several meta-analyses of the original studies
that supported the decision to include PE in the monograph were presented and discussed. Additionally,
several industry speakers presented new bioavailability data that show that <1% of an oral PE dose is
systemically available in an active form as well as clinical information from two environmental exposure
unit (EEU) studies that suggest that PE is not more effective than placebo. The NDAC provided feedback
that more clinical data would be needed in order to make a final decision regarding the effectiveness of
oral PE (for patients 12 years of age and older).3
Since the 2007 NDAC meeting, three large clinical trials have been conducted, two of which are cited in a
second CP submitted by Drs. Hendeles and Hatton on November 4, 2015 (2015 CP) requesting that both
oral phenylephrine salts be reclassified as Not GRASE due to lack of efficacy (i.e., to remove oral PE from
the Final Monograph).4



1
    NDAC meeting held on December 14, 2007, information available at: https://wayback.archive-
it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDrugs.
2
 Hendeles L, Hatton RA, Winterstein AG. Citizen Petition – Phenylephrine. Docket ID: FDA-2007-P-108 (formerly
FDA-2007-P-0047/CP1), available at: https://www.regulations.gov/docket/FDA-2007-P-0108. Note: The 2007
Citizen Petition was withdrawn by the petitioners on June 19, 2023, citing the fact that new information is
available showing that doses up to 40 mg are not effective and that they have since submitted a second CP (2015
CP) requesting the Agency reclassify the status of oral PE as not GRASE. See Footnote 4.
3
  Note that the NDAC did not discuss the petitioner’s second request to withdraw use in children less than 12 years
of age. Pediatric use of cough and cold medicines (including phenylephrine) in the CCABA OTC Monograph was
discussed at a joint Nonprescription Drugs and Pediatric Advisory Committee meeting held on October 18 and 19
of 2007. Information available at: https://wayback.archive-
it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDrugs.
4 Hendeles L, Hatton RA. Citizen Petition – Phenylephrine. Docket ID: FDA-2015-P-4131, available at:

https://www.regulations.gov/docket/FDA-2015-P-4131. The petitioners recently published a summary of their
findings (Hatton and Hendeles 2022) and submitted additional information to the CP docket in May 2022.
Additionally, the American Association of Colleges of Pharmacy (AACP) submitted a letter to the docket in July of
2022, in support of the petitioner’s request.


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Since the 2007 NDAC meeting the Agency has continued to re-evaluate the scientific support for use of
oral PE as a nasal decongestant, and we have now completed a thorough review of all those data. Our
review includes all of the available clinical pharmacology and clinical data, which include significant new
data that were not available at the time that the original GRASE decision was made (to include oral PE in
the monograph), as well as a detailed evaluation of each of the original studies that supported that
decision. As such, throughout this document, the term “new” (when referring to data, studies, or trials)
refers to any data that was generated or has become available since the publication of that nasal
decongestant FM Federal Register notice on August 23, 1994 (59 FR 43386).
In accordance with the effectiveness standard for determining that a category of over-the-counter (OTC)
drugs is generally recognized as safe and effective that is set forth in 21 CFR § 330.10(a)(4)(ii), which
defines effectiveness as: “a reasonable expectation that, in a significant proportion of the target
population, the pharmacological effect of the drug, when used under adequate directions for use and
warnings against unsafe use, will provide clinically significant relief of the type claimed”, we have now
come to the initial conclusion that orally administered PE is not effective as a nasal decongestant at the
monographed dosage (10 mg of PE hydrochloride every 4 hours) as well as at doses up to 40 mg (dosed
every 4 hours). We will present the scientific data that support our conclusions and seek concurrence
from the AC on the strength of that evidence. Because this would represent a major change in the
Agency’s position, we believe that presenting this information in an open public forum, along with a full
discussion and vote from the AC, will be extremely helpful.
During our review, the Agency has not identified any safety issues with orally administered PE products,
and none are planned to be discussed at the meeting. However, we are concerned about avoiding
potential unintended consequences with regard to changing the GRASE status of oral PE. We anticipate
that any action taken by the Agency in this regard will have significant downstream effects, including
effects on both industry and consumers, because the only other oral decongestant listed in the CCABA
Monograph is pseudoephedrine (PSE), which is now regulated as a ‘behind-the-counter’ product under
the Combat Methamphetamine Epidemic Act of 2005 (CMEA).5 Subsequently, and in response to the
CMEA, most OTC products were reformulated away from inclusion of PSE to PE. As a result, consumers
will require education to make the appropriate choices for alternative treatments. We recognize that
many of these educational components will require input and coordination with communication
specialists within the Agency, professional organizations that can aid in focusing and amplifying the
messaging, and industry.
That stated, there are a number of potential benefits that would be derived by changing the GRASE
status of oral PE. These include but are not limited to avoiding the unnecessary costs and delay in care
of taking a drug that has no benefit, avoiding the risks of potential allergic reactions or other side effects
related to use of phenylephrine in combination products, avoiding the inherent risks (especially for
combination therapies) of taking more in order to seek some benefit, avoiding the risks of medication
use in children, lowering of overall healthcare costs, and avoiding missed opportunities for use of more
effective treatments (including seeing a doctor if needed).
Should the Agency take an action regarding the GRASE status of oral phenylephrine, we also understand
that a significant impact on industry would be inevitable. Manufacturers, warehousers, and pharmacies
all have a significant supply chain investment in stocks of PE, either as a precursor chemical, ingredient


5
    Combat Methamphetamine Epidemic Act of 2005, signed into law on March 9, 2006.


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itself, or in a finished product. There will also be significant retooling costs. In addition to OTC products,
prescription products and drug development programs will be affected (because acceptability of PE in
the formulation was/is based on the GRASE status of PE). However, other than providing historical use
data to frame the discussion regarding potential impacts, the Agency does not intend to present or
discuss impacts on industry at the meeting. Instead, we will ask you to focus on two issues: 1) the
scientific merits of our findings regarding the lack of efficacy of oral PE, and 2) the risk
management/communication/educational issues that would arise if the Agency makes the decision to
remove oral PE from the OTC monograph (i.e., change its status to not GRASE), including the unintended
consequences that may result from substitution and use of alternative treatments such as safety issues
related to the use of drugs that contain other active ingredients, prolonged use of topical intranasal
decongestant products that may result in rebound congestion (rhinitis medicamentosa, a condition that
is difficult to treat), and safety issues related to the off-label use of other products or ingredients. We
will also ask you to focus on the education of consumers regarding alternatives to phenylephrine
(including both oral and intranasal products), how to obtain PSE from behind-the-counter, and
education of consumers with a preference for PE regarding why it is being removed from the market.
Specifically, we will ask you, as a member of the Advisory Committee, to address the following points for
consideration:
1. Do the scientific data support that the monographed dosage of orally administered PE (for adults
   and children 12 years of age and older, 10 mg of PEH every 4 hours, not to exceed 60 mg in
   24 hours) is effective as a nasal decongestant?
2. Do the scientific data support that doses of orally administered PE up to 40 mg are effective as a
   nasal decongestant?
3. Discuss the potential consequences, unintended consequences, and risk mitigation/communication
   strategies if a decision were made to remove oral PE from the Monograph due to lack of efficacy.
Note that, when not otherwise specified in this document, all doses and dosages are for the
adult/adolescent dosage of the hydrochloride salt (PEH). However, the voting and discussion apply to all
age groups as well as both salts, because inclusion in the monograph of doses for lower age groups was
based on extrapolation from older age groups, and inclusion of the bitartrate salt (PEB) was based solely
on bioavailability data (see Section 1.3, Background on Phenylephrine, for details).

      Background on the CCABA Monograph
The CCABA monograph is complex and wide-ranging, including antihistamine (oral), nasal decongestant
(oral and topical), expectorant (oral), antitussive (oral and topical), and bronchodilator (oral and inhaled)
ingredients (Table 16). It provides a listing of permitted ingredients along with required labeling and
dosing (Table 17 for oral ingredients, Table 18 for topical and inhaled ingredients), as well as permitted
combinations of ingredients, including with ingredients in several other OTC monographs (Table 19).
Several ingredients are listed in multiple sections. For example, diphenhydramine (hydrochloride and
citrate salts) is listed as both an antihistamine and as an antitussive (as well as in several other OTC
monographs), and ephedrine is included as both an oral bronchodilator (ephedrine, ephedrine
hydrochloride, ephedrine sulfate, and racephedrine hydrochloride) and as a topical nasal decongestant
(ephedrine, ephedrine hydrochloride, and ephedrine sulfate as nasal drops, nasal spray, or nasal jelly).
Additionally, the monograph includes professional (i.e., prescription) labeling and dosing for certain oral




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ingredients in children down to 2 years of age, and in one instance (triprolidine hydrochloride) down to
4 months of age (Table 17).6
Inclusion of ingredients in the CCABA Monograph was based on recommendations made by an Advisory
Review Panel on Over-the-Counter Cold, Cough, Allergy, Bronchodilator, and Antiasthmatic Products
(hereafter referred to as ‘the Panel’ or the ‘Cough-Cold Panel’). The Panel was convened by the National
Academy of Sciences / National Research Council (NAS/NRC) on behalf of the FDA, to review and provide
recommendations to the Agency regarding the safety and efficacy of therapeutic groups of these
products.7 The Agency published the Cough-Cold Panel’s recommendations as a Proposed Rule (ANPR)
in 19768 and issued Tentative Final Monographs (TFM) in segments by drug class between 1982 and
1988: anticholinergics and expectorants (1982), bronchodilators (1982), antitussives (1983),
antihistamines (1985), nasal decongestants (1985), and permitted combinations (1988).9 Respectively,
each TFM established the conditions under which an ingredient within a drug class, or permitted
combination of ingredients or drug classes, would be considered to be Category I, ‘generally recognized
as safe and effective’ (GRAS/GRAE, also referred to as GRASE). Final Monographs (FM) for each of the
drug classes in the CCABA monograph were subsequently published in segments: anticholinergics
(1985), bronchodilators (1986), antitussives (1987), expectorants (1989), antihistamines (1992), nasal




6
  Professional labeling is theoretically available only to physicians and only by prescription, and is specific to oral
ingredients, including: all antihistamines (diphenhydramine is listed twice, as both an antihistamine and as an
antitussive), ephedrine, chlophedianol, and codeine. Guaifenesin is also listed, but only with specific labeling for
use as a single-ingredient product for “stable chronic bronchitis.”
7
  In 1972, in response to the Kefauver-Harris Amendment [AKA the “Drug Efficacy Amendment”, signed into law by
President Kennedy on October 10, 1962] to the Food, Drug, and Cosmetic Act, which required drug manufacturers
to provide proof of the effectiveness [as well as safety] of their drugs before approval, the Agency implemented an
administrative process of reviewing OTC drugs through rulemaking by therapeutic classes (e.g., antacids,
antiperspirants, cold remedies). This process [usually referred to as “DESI” for Drug Efficacy Study Implementation]
involved convening an Advisory Panel for each therapeutic class to review data relating to claims and active
ingredients. The Panel reports and comments were then published in the Federal Register as Advanced Notice(s) of
Proposed Rulemaking (ANPR) and after FDA review, a Tentative Final Monograph (TFM) for each therapeutic class
of drugs was published. The final step was the publication of a Final Monograph (FM) for each class, which sets
forth the allowable claims, labeling, and active ingredients for OTC drugs in each class. Drugs marketed in
accordance with a FM are considered to be generally recognized as safe and effective (GRAS/GRAE or GRASE) and
do not require FDA approval of a marketing application.
8
    Cough-cold ANPR, ANPR: 41 FR 38312 (September 9, 1976).
9
 Tentative Final Monographs: Anticholinergic and expectorant: 47 FR 30002 (July 9, 1982); Bronchodilator: 47 FR
47520 (October 26, 1982); Antitussive: 48 FR 48576 (October 19, 1983); Antihistamine: 50 FR 2200 (January 15,
1985), with corrections in 50 FR 6199 (February 14, 1985) and 50 FR 9040 (March 6, 1985), and with an
amendment in 52 FR 31892 (August 24, 1987); Decongestant: 50 FR 2220 (January 15, 1985); Permitted
combinations: 53 FR 30522 (August 12, 1988).


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decongestants (1994), and permitted combinations (2002).10 FMs are/were included in the Code of
Federal Regulations.11,12
Of note, on the basis of the Panel’s recommendations, the ANPR included three oral decongestant
ingredients: phenylpropanolamine (PPA), pseudoephedrine (PSE), and phenylephrine hydrochloride.
However, PPA was excluded from the listing of ingredients included as GRASE in the 1985 Tentative Final
and the 1994 Final Decongestant Monographs because of potential safety issues, and was removed from
OTC use in 2005 after a large safety analysis showed that it was associated with hemorrhagic stroke in
women of childbearing age.13 This left only PEH and PSE as GRASE oral nasal decongestants (PEB was
added in 2006). However, after passage of the CMEA in 2006, PSE became regulated as
‘behind-the-counter’, limiting its use in the OTC setting and leaving PE as the only remaining OTC oral
decongestant.
Over the years, multiple amendments to the CCABA monograph have been contemplated by the
Agency, but while some amendments have been made, no major overhaul of the monograph has been
carried out, and almost no amendments have been made in the last 15 years. Additionally, the Agency
has received multiple CPs, several of which are outlined in this review, requesting to amend various
aspects of the monograph. Changes contemplated by the Agency were primarily delayed by the time
and resources needed to fully review the issues. That stated, the Coronavirus Aid, Relief, and Economic
Security Act (CARES Act), signed into law on March 27, 2020, does provide an updated pathway to issue,
revise, or amend OTC monographs by replacing rulemaking with an administrative order process, which
will simplify the process of making any contemplated changes to the monograph.14 In addition to


10
  Final Monographs: Anticholinergic: 50 FR 46582 (November 8, 1985); Bronchodilator: 51 FR 35326 (October 2,
1986); Antitussive: 52 FR 30042 (August 12, 1987); Expectorant: 54 FR 8494 (February 28, 1989); Antihistamine: 57
FR 58356 (December 9, 1992); Nasal decongestant: 59 FR 43386 (August 23, 1994); Permitted Combinations: 67 FR
78158 (December 23, 2002).
11
  The FM for nasal decongestants was issued in 59 FR 43386 on August 23, 1994. The nasal decongestant
monograph previously resided as 21 CFR § 341.20(a) within the CCABA OTC Monograph, 21 CFR § 341 (eCFR :: 21
CFR Part 341 -- Cold, Cough, Allergy, Bronchodilator, and Antiasthmatic Drug Products for Over-the-Counter
Human Use). The CCABA OTC Monograph (including all amendments) was deemed to be a Final Order (OTC
Monograph M012, Order Number OTC000026, posted on the FDA web portal on October 14, 2022) under the
CARES Act (Coronavirus Aid, Relief, and Economic Security Act, signed into law on March 27, 2020:
https://www.govinfo.gov/content/pkg/COMPS-15754/pdf/COMPS-15754.pdf). M012 is available at:
https://dps.fda.gov/omuf/monographsearch/monograph m012.
12
  Additional rulemaking history is available at: Rulemaking History for OTC Nasal Decongestant Drug Products |
FDA. This page represents that status of OTC rulemakings prior to the enactment of the CARES Act (e.g., before
March 27, 2020). This rulemaking history site is intended as a research aid and is not an official FDA record.
13
  Data from the Yale Hemorrhagic Stroke Project study, discussed at an NDAC meeting held on October 19, 2000.
A proposed rule, reclassifying PPA from Category 1 to Category 2 for OTC use in both nasal decongestant and
weight control products, was published in 70 FR 75988 (December 22, 2005). See
https://www.fda.gov/drugs/historical-status-otc-rulemakings/rulemaking-history-otc-weight-control-drug-
products#PPA and https://www.fda.gov/drugs/information-drug-class/phenylpropanolamine-ppa-information-
page.
14
  The CARES Act (Public Law No. 116-136, 134 Stat. 281, 457), which added section 505G to the Federal Food, Drug
and Cosmetic Act (21 U.S.C. 355g), includes provisions that govern the way certain OTC drugs are regulated in the
United States. Section 505G reforms and modernizes the OTC drug review process. For information about OTC




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reaffirming and giving FDA specific authority to add, remove, or change the GRASE conditions for an OTC
monograph, the CARES Act also requires the Agency to report to Congress yearly on the status of certain
planned revisions to the CCABA monograph, and specifically on pediatric dosing issues. Since all of the
GRASE determinations for the CCABA drugs, including phenylephrine, were made based on
extrapolation of efficacy and dosing from adult data, one must address these pediatric issues by
addressing the adult data under the pediatric extrapolation principles set forth in the Agency’s draft
guidance on the General Clinical Pharmacology Considerations for Pediatric Studies of Drugs, Including
Biological Products15 and in International Council for Harmonisation of Technical Requirements for
Pharmaceuticals for Human Use (ICH) E11A.16 For this reason, any recommendations made regarding
the efficacy of oral PE in adults would apply to its use in adolescents and children. As noted previously,
the CCABA OTC Monograph conditions previously set forth in 21 CFR § 341 were deemed to be a final
order by the CARES Act and can now be found in OTC Monograph M012, meaning that the CCABA
monograph may now be amended via the new administrative order process established under Section
505G of the Food, Drug, and Cosmetic Act.11

      Background on Phenylephrine
Phenylephrine is a specific alpha-1 adrenergic receptor agonist that works by temporarily constricting
blood vessels. By contrast, pseudoephedrine is a relatively less selective agonist that acts on both alpha-
and beta-adrenergic receptors. The literature reports that PSE is more lipophilic than PE and thus is
more accessible to the central nervous system by crossing the blood-brain barrier (Gheorghiev et al.
2018). The vasoconstriction effect of PSE is likely contributed to by an indirect action via release of
norepinephrine in synaptic nerve terminals (Gorodetsky 2014).
The FM for OTC nasal decongestant drug products, issued in 1994, classified the PEH as a GRASE nasal
decongestant when administered orally (immediate-release [IR] formulations) or intranasally (M012.80,
previously 21 CFR 341.80). The PEB, an IR effervescent tablet for oral administration, was added to the
monograph in 2006, based on pharmacokinetic (PK) data demonstrating that it has similar bioavailability
to PEH.17
The monograph provides oral dosages of PEH down to 2 years of age, and dosages of PEB down to
6 years of age (see Table 1). It should be noted that inclusion in the monograph of doses for ages less
than 12 years was based entirely on historical use and not on data in those age groups. It should further
be noted that a convention for determining pediatric dosing was used for all oral ingredients included in


Monograph reform under the CARES Act see: Over-the-Counter (OTC) Drug Review | OTC Monograph Reform in
the CARES Act | FDA.
15
  Available at: https://www.fda.gov/regulatory-information/search-fda-guidance-documents/general-clinical-
pharmacology-considerations-pediatric-studies-drugs-including-biological-products.
16
  ICH E11A Draft Guidance on Pediatric Extrapolation, available at: https://www.fda.gov/regulatory-
information/search-fda-guidance-documents/e11a-pediatric-extrapolation.
17
  See rulemaking history at: Rulemaking History for OTC Nasal Decongestant Drug Products | FDA. In 2004, in
response to a Citizen Petition from a manufacturer, FDA issued a Proposed Rule to add phenylephrine bitartrate
(an immediate-release [IR] effervescent tablet dosage form) as a GRASE oral nasal decongestant when used as an
IR effervescent tablet (69 FR 63482 [November 2, 2004]). The manufacturer submitted data from in vitro and in
vivo studies to support the request. After considering safety information from U.S. databases and marketing
experience, FDA determined that the data demonstrated acceptable comparability of PEB with PEH and issued a
Final Rule adding PE bitartrate to the monograph in 2006 (Amended Final Monograph: 71 FR 43358 [Aug. 1, 2006]).


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the CCABA monograph, and later supported by several AC meetings in the 1990s, namely that doses for
children 6 to 11 years of age should be half the adult/adolescent dose, and doses for children
2 to 5 years of age of one quarter of the adult/adolescent dose.
PEH is also approved for other OTC (rectal18 and ophthalmic19) uses, as well as by prescription for
intravenous (IV) administration. The recommendations in this document do not apply to such use, nor
do they apply to intranasal use of phenylephrine as a nasal decongestant.

Table 1. Monographed Dosages of Oral Phenylephrine
Age Range                           Phenylephrine Hydrochloride            Phenylephrine Bitartrate
Adults and children 12 years of age 10 mg every 4 hours, not to            15.6 mg every 4 hours, not to
and over                            exceed 60 mg in 24 hours               exceed 62.4 mg in 24 hours
Children 6 to under 12 years of age 5 mg every 4 hours, not to             7.8 mg every 4 hours, not to
                                    exceed 30 mg in 24 hours               exceed 31.2 mg in 24 hours
Children 2 to under 6 years of age 2.5 mg every 4 hours, not to
                                    exceed 15 mg in 24 hours               Consult a doctor
Children under 2 years of age       Consult a doctor
Source: CCABA OTC Monograph M012. See Footnote 11.

         Introduction to the Agency’s Reviews
With the availability of new studies since FDA last evaluated oral phenylephrine under the CCABA OTC
Monograph, the Agency undertook a careful and thorough review of all of the available data. The new
data appear compelling that the monographed dosage of oral PE results in no meaningful systemic
exposure or evidence of efficacy. Furthermore, the review suggests that higher doses (of PEH), which
have been tested clinically up to 40 mg every 4 hours, have also not shown efficacy. These findings are
supported by in vitro and in vivo clinical pharmacology data showing that orally administered
phenylephrine undergoes high first-pass metabolism resulting in less than 1% bioavailability for the
active parent PE. The clinical pharmacology data also suggest that the monographed every-4-hour
dosing interval is likely not adequate (i.e., not sufficiently frequent to cover the full dosing period),
meaning that in addition to lack of an efficacious dose, an appropriate dosing interval for oral PE has not
been established. Finally, pharmacodynamic/clinical safety data suggest that doses of 80 to 90 mg result
in potentially clinically meaningful systemic increases in blood pressure (BP), a physiologic finding
expected of an alpha-1 adrenergic receptor agonist. As a result, these data support that 40 mg (half the
dose associated with clinically significant changes in BP) is the highest oral dose that should be
considered for the treatment of nasal congestion, and that studying higher doses will not be a viable
option.
In order to understand how the new data fit within the context of the long history of oral phenylephrine
use, we reviewed all of the available data, including the original data that supported the Agency’s GRASE
determination. What follows is a summary of all the pertinent history and data, starting with the original
efficacy and safety materials reviewed as part of the Agency’s initial GRASE determination and
progressing through the 2007 AC meeting, subsequent studies and clinical trials, and the Agency’s
detailed reviews of all of the available data. Finally, we discuss the potential impacts should a decision
be made to remove oral phenylephrine from the CCABA OTC monograph.


18
     M015 (previously 21 CFR 346): Anorectal Drug Products for Over-the-Counter Human Use.
19
     M018 (previously 21 CFR 349): Ophthalmic Drug Products for Over-the-Counter Human Use.


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        Detailed Background
         Original Cough-Cold Advisory Panel Recommendations
Phenylephrine HCl was evaluated for OTC use as an (oral and intranasal) nasal decongestant in 1976 by
the Advisory Review Panel on OTC CCABA Products, which provided recommendations to the Agency
regarding the safety and efficacy of these products. The Agency published the Panel’s summary findings
(without Agency review or comment) in the Federal Register as part of the Advanced Notice of Proposed
Rulemaking (ANPR) in 1976.20 This section summarizes and discusses those findings, as presented in the
1976 ANPR. The Final Oral Decongestant Monograph, which represents the information that was
subsequently reviewed by the Agency (including the ANPR and public comments), was published in
1994.

           Safety/Pharmacodynamics
The Panel reviewed the clinical safety data of orally administered PEH doses between 10 mg and 60 mg
and concluded that at the 10 mg dose level the cardiovascular side effects (i.e., pharmacodynamic or PD
effects) were similar to that of a placebo, with mild central nervous system stimulation noted only at
doses of 25 mg and higher. Most of the 17 studies evaluated for safety were single-dose studies, and the
ANPR notes that a number of the studies produced inconsistent results, particularly at lower doses. One
study submitted to the docket (and referenced in the ANPR) noted that the threshold for PD effects, i.e.,
clinically meaningful effects on systolic BP (an increase of 5 to 10 mm Hg) and heart rate (HR) (a
reduction of 4 to 8 beats/minute) is 40 to 60 mg.21 That said, the same study also noted that oral dose of
250 mg produces a PD effect (pulse rate decline from 67 to 46 and BP rise from 112/71 to 143/96) that is
roughly equivalent to a subcutaneous dose of 5 mg, a subcutaneous dose that consistently produces a
measurable PD effect. A second study submitted to the docket (but not specifically written up in the
ANPR) suggested that a dose of 100 mg or more is needed to exert a meaningful PD effect on systolic BP,
with no effect noted after a 50 mg dose (see Figure 1).22




20
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399-383100.
21
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 1: Keys and Violante (1942).
22
  Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 3: Standler to Ludena. Analysis of blood
pressure and pulse results for subjects given placebo and Neo-Synephrine orally. Unpublished report from Sterling-
Winthrop Lab, dated January 6, 1967.


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Figure 1. Fractional Changes in Systolic Blood Pressure (BP) in Subjects Given Oral Placebo or
10, 25, 50, or 100 mg of Neo-Synephrine (PEH) (n=20)22




Source: 41 FR 38312 (September 9, 1976) at 38400, reference 3.

Another study tested single oral doses of 10, 25, 50, and 75 mg of PEH and compared them with 25 and
50 mg of PPA in a double-blind fashion in 14 or 15 subjects.23 BP, pulse rate, and nasal airway resistance
(NAR) were evaluated prior to and at 1, 2, and 5 hours after drug administration. Only minor changes
were noted in BP at 1 and 2 hours post-treatment even after 75 mg of PEH, a “small but significant”
change in BP was noted after 50 mg of PPA, and no significant changes were noted in NAR. The
discussion section of that reference (reference 5) is also interesting in that it notes that a previous study
from 1933, which may or may not have been reviewed but was not discussed by the Panel in the ANPR,
had calculated that the minimal pressor dose (i.e., PD effect on blood pressure) of oral PEH is 70 mg, and
found that the minimally effective dose is approximately 120 mg (Tainter and Stockton 1933).
A final study submitted to the docket is of interest, but primarily with respect to the metabolism of PE. It
noted that concurrent use of 10 mg oral dose of PE with a monoamine oxidase inhibitor produced a
substantial rise in blood pressure that required intervention by phentolamine antagonism,24 which both
suggests that monoamine oxidase is involved in the metabolism of orally administered PE and provides a
clue to an eventual more comprehensive understanding of PE metabolism that is discussed below.
It should also be noted that the safety findings from the original studies are consistent with subsequent
safety/PD studies that will be discussed in the Agency Reviews section, which found potentially clinically
meaningful changes in systolic BP at oral PEH doses of 80 to 90 mg.




23
  Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 5: Ludena to Lands. Comparative study
of the effects of Neo-Synephrine HCl and Propadrine HCl [phenylpropanolamine hydrochloride] on nasal airway
resistance (NAR), blood pressure, and pulse rate of volunteers. Unpublished report from Sterling-Winthrop Labs,
dated April 23, 1959.
24
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 12: Elis et al. (1967).


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           Effectiveness
2.1.2.1      Preliminary Comments
The Panel reviewed clinical effectiveness data for oral doses between 5 mg and 40 mg. A total of 14
studies were reviewed, of which 7 reported positive measurable efficacy results.25 The 14 studies are
summarized in Table 2 and Table 3, with a more complete breakdown in Appendix Table 15. Note that in
this section, which presents the studies that the Panel reviewed, the Panel had access to the study
reports which had figures and tables, but none of those figures were shown in the ANPR, only a
summary description of what the Panel felt was important. This section includes those figures and
tables.
A word about the endpoint used in these studies is also in order. All of the studies used measurements
of airflow and air pressure in the nasal passage to calculate NAR as an indirect measure of the level of
nasal congestion. NAR was the principal methodology used to assess the effectiveness of oral PE in all of
the studies, with nasal congestion symptoms evaluated as a secondary measure, and the ANPR cites
onset of action, duration of effect, and maximal response based on NAR methodology. However, the
science has evolved since the time of the Panel, and NAR is no longer used as a primary endpoint to
evaluate congestion in pivotal trials. The Agency now recommends use of nasal congestion symptom
scores to evaluate congestion as part of evaluation of other symptoms related to allergic rhinitis.26
Please see further discussion of this endpoint in the Clinical Review, Original Panel Studies,
Methodological and Statistical Issues section, which discusses the significant issues with the
methodology employed in all of the original studies.

2.1.2.2      Outline of the Effectiveness Studies
Of the 14 studies submitted to support effectiveness, only 12 provided evaluable efficacy information.
Eleven of the 14 were from a single sponsor, Sterling-Winthrop Research Institute on behalf of Sterling-
Winthrop Labs, the manufacturer of Neo-Synephrine (references 5 to 10 and 20 to 24) 27, of which one
was a preliminary descriptive study that focused primarily on safety and not efficacy (reference 5) and
therefore provides no useful efficacy information.23 One study conducted at the University of Maryland
failed to adequately identify the ingredients and doses studied (Blanchard, reference 19), and therefore
also provided no evaluable information.32 See the “Effectiveness” Studies With No Useful Efficacy
Information section below for details on these two studies.
Of the remaining 12, 10 were conducted for Sterling-Winthrop (see Sterling-Winthrop Studies), one was
conducted by Whitehall Laboratories (BEI 1025, reference 26)29 (see Whitehall Labs (BEI 1025)), and one
was conducted at Columbia University (see Columbia University Study (Rogers / Bickerman
publications)). The Whitehall Laboratories study (BEI 1025) was considered in the ANPR to be a ‘positive’
study (meaning that it was considered to have demonstrated the effectiveness of oral PE), whereas the
Columbia University study was considered a ‘negative’ study (did not demonstrate effectiveness).
The 10 Sterling-Winthrop studies (Table 3) include 6 studies that were considered positive and 4 that
were considered negative. All were of similar design, and because they comprise 6 of the 7 positive



25
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, references 5 to 10 and 19 to 26.
26
     See Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment (FDA 2018).
27
     Note that the ANPR mistakenly cites reference 19 as having been one of those studies when it was not.


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studies, they appear to have formed a large part of the basis for the original Panel’s recommendations.
The 4 non-Sterling-Winthrop studies, including the 2 that did not provide any evaluable efficacy data,
are shown in shown in Table 2, whereas the 10 Sterling-Winthrop studies are shown in Table 3. Studies
in red font were considered to have been supportive of the effectiveness determination.

Table 2. Doses (mg) and Numbers of Subjects in the Four Non-Sterling-Winthrop Oral PE
Effectiveness Studies
                                   Phenylephrine (n)       PSE        PPA        Ephedrine
        Site       Ref # Year
                              10 mg 15 mg 20 mg 25 mg 60 mg 25 mg 50 mg 25 mg 50 mg
Sterling Winthrop    5   1959    15                    15                          15     14
Blanchard*          19 1964      NA
Rogers**            25 1973
   Bickerman**           1971    57                           57 40 mg n=57
BEI 1025            26 1975 25/75
Source: Adapted from oral PE studies submitted to the docket. Reference numbers refer to the docket reference numbers (not the
reference numbers in the ANPR text).
Notes: All studies used placebo arms (not shown). BEI 1025 was a parallel-group study; all others were of a crossover design. BEI
1025 evaluated 50 subjects for NAR (n=25 PEH, n=25 placebo) and symptoms, with an additional 150 (n=75 PEH, n=75 placebo)
only for symptoms (total of 200 subjects, n=100 PEH, n=100 placebo), as shown in the table above. Red font indicates arms that
were considered positive with regard to NAR results. Black font indicates arms that were considered negative with regard to NAR
results. The studies are presented in order of the date of the study report.
* Blanchard (ANPR reference 19) is included among a group listed as one of five studies conducted at the same laboratory
(Elizabeth) over a 3-year period. However, it was not. It was conducted at the University of Maryland. Further, the study does not
support the effectiveness of oral PE for a number of reasons, including that the product and dose is not stated and the decongestant
was administered as a commercial combination product. The fifth Elizabeth study is actually in ANPR reference 10, not 19.
** We believe that ANPR Reference 25 (Rogers 1973), which is an abstract, is based on a previous publication by the same authors
(Bickerman et al. 1971). See the Columbia University Study (Rogers / Bickerman publications) section for details.
Abbreviations: ANPR, Advanced Notice of Proposed Rulemaking; NAR, nasal airway resistance; PE, phenylephrine; PEH,
phenylephrine hydrochloride salt; ref, reference

2.1.2.3      Sterling-Winthrop Studies
As noted in the introductory section above, 11 of the 14 studies came from the same sponsor (Sterling-
Winthrop Research Institute on behalf of Winthrop Labs, the manufacturer of Neo-Synephrine), of which
1 was a preliminary descriptive study that only secondarily included NAR evaluations (see
“Effectiveness” Studies With No Useful Efficacy Information section below), and 10 were virtually
identical using a single-dose, double-blind, placebo-controlled, two-way crossover design in subjects
with the common cold. Various doses of oral PE were evaluated (see Table 3), and three of the studies
included an active comparator (PPA or ephedrine).28
Critically, among these 10 studies were 6 of the 7 studies that were considered to have demonstrated
the effectiveness of oral PE, 5 of which were performed in a single laboratory, Elizabeth Biochemical.
Whereas the ANPR does not go into much depth about these studies, as part of our re-assessment of
the data, a full discussion of these studies may be found in the Clinical Review, Original Panel Studies
section.




28
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, references 5 to 9, and 19.


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Table 3. Doses (mg) and Numbers of Subjects in the 10 Sterling-Winthrop Oral PE Effectiveness
Studies (Shown in Order of Study Date)
                               Study       Phenylephrine (n)             PPA Ephedrine
                  Ref #
       Site                     Date 5 mg 10 mg 15 mg 20 mg 25 mg 50 mg 8 mg 50 mg
Elizabeth 1           6      6-28-67                               12*            13*
Elizabeth 2           7      1-12-68          16*    10*             6*                    6*
Cintest 1            22      4-10-69          16*            16*          15*
Huntingdon 1         20      5-13-69           16                   16    16^
Elizabeth 3           8       6-2-69   16*            8*             9*     9*
Huntingdon 2         21      6-26-69           25             24
Elizabeth 4**         9      8-11-69                  6*      5*     9*
Elizabeth 5**        10      5-27-70          10*     6*             9*
Cintest 2            23      1-23-70           15     16      15
Cintest 3            24      5-18-70           15     16            16
                        Positive        16     42     30      21    45     24      13       6
Total subjects
                        Negative         0     71     32      39    32     16       0       0
Source: Adapted from oral PE studies submitted to the docket. Reference numbers refer to the docket reference numbers (not the
reference numbers in the ANPR text).
Bolded studies (Elizabeth 2 and Cintest 1) were considered the most ‘positive’ studies.
* Red font denotes significance reported for NAR results for specific doses by the FDA Statistician, Dr. Lin, in his 2007 statistical
review. Note that studies considered to be ‘positive’ studies, i.e., studies reporting positive findings, are also highlighted in red font.
^ Denotes that active control was not effective (even though it would be expected to have been).
** Elizabeth studies 4 and 5 did not enroll the expected number of subjects, either because the cold season had ended (Elizabeth 4)
or because they were unable to recruit sufficient numbers of subjects (Elizabeth 5).
Abbreviations: ANPR, Advanced Notice of Proposed Rulemaking; NAR, nasal airway resistance; PE, phenylephrine; PPA,
phenylpropanolamine; ref, reference

2.1.2.4     Whitehall Labs (BEI 1025) Study
The twelfth study, and the seventh positive study, was a relatively large, double-blind, placebo-
controlled, parallel-group study (BEI 1025 and 1025a) that had been conducted for Whitehall
Laboratories in 200 adults with nasal congestion associated with the “common cold” (100 per group)
who were administered four doses of either PEH 10 mg or placebo at 4-hour intervals over 12 hours.29
Because of the way it is described in the ANPR (as a full paragraph that is last in the efficacy section), it is
likely that this particular study pushed the Panel in favor of a positive recommendation for oral PE.
Subjects were followed for 12.5 hours (30 minutes beyond the fourth dose). However, the primary
endpoint of rhinometry evaluations over 2 hours post the first dose (at 15, 30, 60, and 120 minutes),
were only evaluated/performed in 50 subjects (25 per arm). Subjective subject and investigator
evaluations of the symptoms of stuffy nose (i.e., congestion), runny nose, sneezing, itching (eyes and
nose), coughing, and muscle ache were evaluated for all 200 subjects at various time points over the
treatment period.
NAR results (Table 4 and Figure 2) are said to have “demonstrated that a single oral 10 mg dose of
phenylephrine led to a reduction in NAR averaging 11 percent at 15 minutes, 21 percent at 30 minutes,
28 percent at 60 minutes, and 26 percent at 120 minutes.” Note, however, that percent change tends to
exaggerate any differences, whereas the absolute change in NAR (Figure 2) was far more modest.
Likewise, the “phenylephrine treatment group experienced relief of nasal congestion, runny nose and
sneezing throughout the 12-hour observation period” is said to have differed from placebo. However,
no differences were noted between active versus placebo groups in systolic or diastolic BP (Figure 3).



29
  Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 26: Study report from Burton Cohen at
Bio-Evaluation, Inc., for Study BEI 1025 and 1025a, conducted for Whitehall Laboratories, June 1975.


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Table 4. Study BEI 1025. Percentage Change in Nasal Airway Resistance Over 2 Hours29
   Time (Minutes)          PEH 10 mg           Placebo
                15              -11.37            +0.15
                30              -20.62            -6.33
                60              -28.25           -12.67
              120               -26.18            +5.50
Source: Study BEI 1025.
Abbreviation: PEH, phenylephrine hydrochloride


Figure 2. Study BEI 1025a. Absolute and Percentage Changes in Nasal Airway Resistance Over
2 Hours29




Source: Study BEI 1025a.


Figure 3. Study BEI 1025. Results for Systolic and Diastolic BP Following PEH 5 mg or Placebo29




Source: Study BEI 1025.
Abbreviations: BP, blood pressure; PEH, phenylephrine hydrochloride




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2.1.2.5      Columbia University Study (Rogers / Bickerman publications)
One of the 14 studies cited in the ANPR was specifically stated to have been a negative study that did
not support the effectiveness of oral PE. This study is stated to have evaluated 10, 20, 30, and 40 mg in
20 subjects with chronic rhinitis in a double-blind, crossover fashion. All doses were negative, whereas
both PPA 40 mg and PSE 60 mg were positive.30 However, the ANPR citation for the Columbia University
study pointed to an abstract with no dosing information (Rogers 1973, reference 25)31, whereas the
ANPR discusses the negative results from the study in a manner that matches a previous 1971
publication by one of the same authors (Bickerman 1971), which is likely the source of the data in the
ANPR.
Of note, the Bickerman publication actually refers to 57 rather than 20 subjects with chronic rhinitis who
had been followed at Columbia University over an extended period of time, and those 57 subjects
provide valuable efficacy information with regard to oral PE. Data from this study were presented (by
the petitioners) at the 2007 Advisory Committee meeting (see Presentations by Drs Hendeles, Hatton,
and Schuster (2007 CP) and Figure 6). We also reviewed the study in depth, and our analysis is
presented in the Columbia University Study (Rogers / Bickerman publications) section (3.3.3.5.1) of our
review. Rather than presenting this information in multiple sections of this document, please refer to
those sections for further details.

2.1.2.6      “Effectiveness” Studies With No Useful Efficacy Information
As noted above, two of the studies considered for effectiveness (as well as safety) provided no useful
efficacy information.
One study was in the form of an unpublished report of a descriptive preliminary study that preceded the
series of 10 small crossover studies conducted for Sterling Winthrop Research Institute and which
comprise some of the key effectiveness evidence evaluated by the Panel (reference 5).23 This
preliminary study evaluated blood pressure and heart rate, as well as NAR, after either various
intranasal or oral PEH treatments. After intranasal administration, PEH 0.5% and PPA HCl 1.0% both
produced what they termed as pronounced reduction in NAR within 15 minutes, which lasted more than
60 minutes and less than 180 minutes. Oral doses included 10, 25, 50 and 75 mg of PEH (Neo-
Synephrine) as well as 25 and 50 mg of PPA (Propadrine) in 14 or 15 subjects in a double-blind, placebo-
controlled, crossover design. NAR was measured using Sterntein and Schur methodology (Sternstein and
Schur 1936) at 1, 2, and 5 hours after drug administration. Only minor changes in systolic BP were noted
at 1 and 2 hours postdosing after PE, and no significant effects on NAR readings were noted for any dose
of PE, whereas significant effects were noted for PPA at 1 hour postdosing. The findings were said to
suggest that 50 mg of PPA and 75 mg of PE are the threshold oral doses for these drugs.
One other study (Blanchard et al. (1964)) included in the listing is of no value.32 It was submitted in the
form of a publication of a study that had been conducted at the University of Maryland in hundreds of



30
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 25.
31
     Cough-Cold ANPR, 41 FR 38312 (September 9, 1976) at 38399, reference 25: Rogers et al. (1973).
32
   Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 19: Blanchard et al. (1964). This is cited
in the ANPR as being among a group listed as one of five studies conducted at the same laboratory (Elizabeth) over
a 3-year period. However, it was not. It was conducted at the University of Maryland. The fifth Elizabeth study is
actually in ANPR reference 10, not 19.


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subjects with colds or hay fever over a 3-year period. However, the study does not support the
effectiveness of oral PE for a number of reasons, including that the product and dose is not stated and
the decongestant that was administered was a commercial combination product and not a single-
ingredient oral PE product.

           The Panel’s Findings
While the Panel specifically noted that the data were “not strongly indicative of efficacy”, in the absence
of a safety concern, they recommended that the Agency categorize oral PE (immediate release
hydrochloride salt) as safe and effective for use as an orally administered nasal decongestant at an
adult/adolescent dosage of 10 mg administered every 4 hours.33
With regard to pediatric use, the original Panel acknowledged that data on use of most drugs in children
was negligible or nonexistent even though cough-cold products, including PE, were widely used in
pediatric populations.34 They suggested that pediatric studies be done to support dosing, but given that
such studies would be difficult to perform, they convened a Special Panel on Pediatric Dosage and made
recommendations regarding the dosage of the various CCABA active ingredients.35 In addition, pediatric
dosing was the subject of at least two Advisory Committee meetings that explored what was known
about the physiology of different age and weight groupings and evaluated which ages could be grouped
to simplify pediatric dosing regimens for OTC drugs. It was eventually decided that adolescents 12 years
of age and older were sufficiently similar to adults that they could be grouped with adults (from efficacy,
safety, and dosage perspectives) and receive an adult dosage. For children 6 to less than 12 years of age,
the recommendation was to halve the adult dose, and for children 2 to less than 6 years of age the
recommendation was to quarter the dose. These dosing regimen decisions were the same as what had
been recommended by the original Panel and were applied to almost all of the orally administered
ingredients included in the CCABA monograph, including PE.
The ANPR requested public comment, and comments submitted to the docket were discussed in the
TFM (proposed rule), published in the Federal Register on January 15, 1985. Two comments discussed in
the TFM are directly relevant to this review. The first comment, TFM Comment 10, questioned the
studies used by the Panel to substantiate the effectiveness of PEH as an oral nasal decongestant. The
comment argued that the Panel had based its decision on numerous unpublished studies which “split
evenly between mild successes and total failures” and noted that, in one study published in a peer-
reviewed journal, no efficacy was seen even with doses greater than 10 mg.36 TFM Comment 10 also
included two references that questioned the oral bioavailability of PEH. A second comment,
Comment 11, noted that the Panel had cited a study that did not contain the information referenced in
the text. The Agency agreed that it was unable to resolve that discrepancy, although after careful review
we believe that we have resolved that discrepancy, and our findings are presented in detail in
Section 6.1. Having reviewed the information cited in the comments, the Panel’s recommendations, and
all of the supporting data, the Agency stated that it had concluded that “based on the studies cited by



33
     Decongestant TFM, 50 FR 2220, January 1, 1985, at 2226.
34
     Cough-cold ANPR, 41 FR 38312, September 9, 1976, at 38333; and 53 FR 23180, June 20, 1988.
35
     Cough-cold ANPR, 41 FR 38312 (September 9, 1976) at 38333.
36
  Decongestant TFM, 50 FR 2220, January 15, 1985, at 2226, Comment 10 (also Comment 11, which referred to
possibly incorrect reference citations in the 1976 ANPR).


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the Panel, information on clinical use and marketing experience, and the Panel’s expertise in evaluating
the clinical and marketing experience of this ingredient, there is sufficient basis to determine the
phenylephrine hydrochloride is generally recognized as effective for OTC use as an oral nasal
decongestant.”37
Comment: We performed a comprehensive review of all the studies and publications submitted to the
docket, and that review may be found within the Clinical Review subsection in the Agency Reviews
section.

       2007 Meeting of the Nonprescription Drug Advisory Committee
The Agency held a Nonprescription Drugs Advisory Committee (NDAC) meeting on December 14, 2007,1
to discuss the scientific data raised by a CP submitted on February 1, 20072 (2007 CP), that requested
that the Agency amend the dosage(s) of both oral phenylephrine salts (as nasal decongestants) in the
FM by increasing the maximum dosage for patients 12 years of age and older and to withdraw approval
for use in children younger than 12 years of age.3,38 The petitioners had obtained (under the Freedom of
Information Act) the original Cough-Cold Advisory Panel data from the Agency, evaluated each of the
studies, performed additional literature searches, and performed a meta-analysis of the data. Their
meta-analysis resulted in a different conclusion than that of the original Cough-Cold Advisory Panel,
namely that orally administered PE is not effective at the monographed dosages (Hatton et al. 2007).
In addition to the petitioners, who presented their findings, a group from industry represented by the
Consumer Healthcare Products Association (CHPA)39 presented a second meta-analysis that they
believed support the findings of the original Panel. Data that supported the original decision about
inclusion of PE in the monograph as well as both sets of meta-analyses were reviewed and discussed by
an FDA statistician. Finally, several industry speakers, notably from Schering-Plough and Schering-Plough
Merck, provided previously unpublished data that support the petitioners’ second CP to withdraw PE
from the monograph. What follows below is summary of the information presented and discussed at the
2007 NDAC meeting.

        Presentations by Drs Hendeles, Hatton, and Schuster (2007 CP)
Leslie Hendeles, PharmD, Randy C. Hatton, PharmD, and Jonathan J. Schuster, PharmD,40 presented their
meta-analysis of the studies submitted to and reviewed by the original Panel. Specifically, they noted
that the data from one company, Elizabeth Biochemical, appeared to drive the majority of the positive
results, and therefore the Panel’s recommendations (see Elizabeth Biochemical Nos. 2 and 5 in Figure 4).
They noted that not only had most of studies from other laboratories not found a difference between PE


37
  Decongestant TFM, 50 FR 2220, January 15, 1985, at 2226.
38
  Note that two of the 2007 petitioners, Drs Hendeles and Hatton, submitted a second CP on November 4, 2015,
requesting that both oral phenylephrine salts be reclassified as Not GRASE due to lack of efficacy (i.e., to remove
oral PE from the Final Monograph). See Footnote 4.
39
  The Consumer Healthcare Products Association (CHPA), founded in 1881, is a national trade association
representing manufacturers and marketers of consumer healthcare products, including over-the-counter (OTC)
medicines, dietary supplements, and consumer medical devices. Website: www.chpa.org.
40
  Dr. Schuster was not one of the 2007 petitioners. He was a Research Biostatistician and Professor in the Division
of Biostatistics in the Department of Epidemiology and Health Policy at the University of Florida College of
Medicine.


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and placebo, when they did find a difference the magnitude of effect was much smaller than that
reported by Elizabeth Biochemical (Figure 5), which suggested a reporting bias.

Figure 4. Pooled Random Effects Mean Maximum Difference in Percentage NAR Decrease Over
120 Minutes Between Phenylephrine and Placebo




Source: Hatton et al. (2007).
Abbreviations: CI, confidence interval; NAR, nasal airway resistance


Figure 5. Difference in Mean Maximum NAR Decrease Within 120 Minutes Between Phenylephrine
and Placebo by Dose: Combined Results and Stratification by Study Site




Source: Hatton et al. (2007).
Abbreviations: BC, biochemical; NAR, nasal airway resistance

They also reviewed the literature and a Cochrane review and noted several negative studies, including
one negative study (that the Panel had noted but otherwise did not comment upon in favor of the
positive evidence), which tried to overcome some of the complex methodological issues with NAR
measurement (see Columbia University Study (Rogers / Bickerman publications) in the Clinical Review
section) (Bickerman 1971). The study compared 10 mg of PE, 60 mg of PSE, 40 mg of PPA and placebo in
subjects with nonatopic chronic nasal congestion who had previously been shown to respond to
decongestant treatment. In this study, oral PE demonstrated no effect on NAR measurements, whereas
both PPA and PSE showed changes that persisted over a 4-hour postdosing period (Table 11 and
Figure 6). Note: The table was not presented at the AC meeting, only the figure.


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Figure 6. Effects of Phenylephrine, Phenylpropanolamine, and Pseudoephedrine on Nasal Airway
Resistance Over 4 Hours41




Source: Adapted from Bickerman (1971).

Finally, they presented data showing that an oral PE 10 mg dose resulted in no change in systolic or
diastolic BP, or increased HR, whereas 50 mg of PPA did (Thomas et al. 1991). They noted that a dose of
only 120 mg of PSE (twice the recommended maximum dose) was required to significantly increase BP
in normotensive subjects whereas 120 mg of oral PE (12-fold the monographed dose) was required to
produce a similar effect (Chua and Benrimoj 1988). As a result, they suggested that raising the
monographed dose would be safe.
Of note, while the petitioners recommended increasing the monographed dose of PE, they did not
present data suggesting that higher oral PE doses are effective.
The petitioners also noted that none of the studies reviewed by the Cough-Cold Panel included children
less than 12 years of age, resulting in their recommendation to limit use to patients 12 years of age and
older.

         Industry Presentations
There were three sets of industry presentations at the AC meeting, which are discussed below. But,
before discussing the presentations, it is helpful to provide some background. Of major interest were
two presentations from Schering-Plough and Schering-Plough Merck, because these companies
presented data that, counterintuitively, supported the petitioners CP that the monographed dose of oral
PE is not effective and higher doses would be needed. The AC recommended that more clinical data
would be needed to support higher doses of oral PE.
Note: Over the subsequent 5 to 7 years, Schering-Plough/Merck proceeded to perform studies that
[based on publicly available information, we believe they hoped] would support these new higher dose
products, including a higher strength of IR oral PE and an extended-release formulation. We believe that
the information they presented at the NDAC meeting were the early results that supported
development of these products by providing preliminary support that the monographed dose is not



41
  Adapted into a figure from Bickerman (1971). Figure published by Hendeles (1993) and Hendeles and Hatton
(2006).


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effective. Information from subsequent publications makes it clear that this was followed by safety
studies, after which they conducted two large clinical trials. The data that Schering-Plough and Merck
developed during these programs form the primary source of the evidence that oral PE is not effective
at both the monographed dosage and at doses up to four-fold the monographed dose, a dose that
(based on the safety /PD studies that they performed) was the highest dose that they felt could be
safely marketed. See the Agency Reviews, Preface to Merck’s Two Clinical Trials section (3.3.2.1) for
further details.42

2.2.2.1   Industry Meta-Analysis
CHPA, on behalf of industry, presented a second meta-analysis, which also used the original data
supplied to the Advisory Panel (see the CHPA column in Table 6 for studies included in the industry
meta-analysis). This meta-analysis, which reported findings congruent with the original Panel, was
performed by GlaxoSmithKline Consumer Healthcare and the CHPA in response to the CP, and was later
published (Kollar et al. 2007).

2.2.2.2   Schering-Plough Presentation
John O’Mullane, PhD, Group Vice-President of Consumer Healthcare Research and Development at
Schering-Plough Corporation, reviewed what is now known about the metabolism, pharmacokinetics,
bioavailability, and pharmacologic activity of PE, and discussed what had changed in the interim since
the original Cough-Cold Panel reviewed the studies that supported the current monographed doses. He
noted that PE administered orally is known to undergo extensive first-pass metabolism (conjugation and
oxidation) in the gut wall to (inactive) PE-3-O-glucuronide, (inactive) PE-3-O-sulfate, and (inactive)
3-hydroxymandelic acid as three major metabolites. These PE metabolites are the predominant
molecules in the systemic circulation. He presented data from a small, single-dose oral bioavailability
study conducted in 14 subjects who revealed that active parent PE represents less than 1% of the total
PE (i.e., total PE includes parent PE and its conjugated metabolites PE-3-O-glucuronide and PE-3-O-
sulfate) in the plasma after a single 10 mg oral dose (Figure 7).43,44




42
  Note that an additional source is a separate trial conducted by Johnson and Johnson for an ER oral PE product
(see Johnson and Johnson Phase 2 Study (CO-170302131230-URCT; NCT03339726).
43
   Schering-Plough Corporation Presentation Slides at NDAC Meeting (December 14, 2007) Phenylephrine 10
mg. Available at: https://wayback.archive-
it.org/7993/20170404050454/https://www.fda.gov/ohrms/dockets/ac/07/slides/2007-4335s1-00-index.htm.
44
   Schering-Plough Corporation Briefing Document for NDAC Meeting (December 14, 2007). Understanding
Phenylephrine Metabolism, Pharmacokinetics, Bioavailability and Activity. 2007-4335b1-01-Schering-Plough.pdf.
Available at: https://wayback.archive-
it.org/7993/20170404050450/https://www.fda.gov/ohrms/dockets/ac/07/briefing/2007-4335b1-00-index.htm.


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Figure 7. Plasma Concentrations of Parent PE and Total PE Versus Time for a Single Oral Dose of
a PE Tablet44
Total phenylephrine (PE):
    Parent PE (active)
    PE-3-O-glucuronide (inactive)
    PE-3-O-sulfate (inactive)




Source: Schering-Plough Study CL2005-07, 2005.

Further, Dr. O’Mullane compared the in vitro pharmacology data (developed by Schering-Plough)
between the parent PE and its three major metabolites.43,44 The calcium flux response assay
demonstrated that the in vitro α1-adrenergic agonistic EC50 value (2.3 and 16.9 ng/mL) of parent PE
(Table 5) is higher than the in vivo parent PE Cmax value (~0.65 ng/mL) following 10 mg oral dose
(Figure 7). None of three major metabolites of PE had any detectable α1-adrenergic receptor binding
affinity and α1-adrenergic agonistic activity as measured by GTPγS binding exchange assay and calcium
flux response.43 Dr. O’Mullane noted that earlier bioavailability studies based on “total PE”
concentration measurement had not accounted for the small composition of parent PE and the lack of
activity of conjugated PE, such that a 10 mg oral dose is not sufficient to provide efficacy, whereas even
a less than 1 mg dose administered intravenously clearly demonstrates systemic alpha-1-agonist activity
(Martinsson et al. 1986).

Table 5. In Vitro 50% Effective Concentration Values (ng/mL) of Alpha-Adrenergic Agonizing
Activity of Phenylephrine (PE) and its Metabolites
α Receptor             PE PE-3-O-Sulfate     PE-3-O-Glucuronide      3-Hydroxy Mandelic Acid
α1a1                  16.9 No activity       No activity             No activity
α1b1                   2.3 No activity       No activity             No activity
α2a2                  37.6 No activity       No activity             No activity
α2b2                 390.3 No activity       No activity             No activity
α2c2                 147.8 No activity       No activity             No activity
Source: Adapted from Schering-Plough Corporation Presentation Slides at the NDAC Meeting on December 14, 2007.
1
  As measured by cell-based calcium flux response assay.
2
  As measured by [35S]-GTPγS binding exchange assay.




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2.2.2.3    Schering-Plough Merck Presentation
Melvin Danzig, PhD, Director of Clinical Research at Schering-Plough Merck, reviewed the findings from
two allergen challenge chamber (environmental exposure unit or EEU) studies that compared
monographed doses of PE with placebo and either PSE 60 mg (active comparator) or a combination of
loratadine/montelukast 10/10 mg (test combination).45 While the EEU is an artificial setting, it is well
documented and accepted as providing a reasonable assessment of the pharmacodynamic properties of
a drug, including an estimate of the dose, onset of action, and duration of effect (Day et al. 2006a; Day
et al. 2006b). Both studies used repeated instantaneous clinical symptom scores of nasal congestion,
rhinorrhea, nasal itch, and sneezing over a set time period, a methodology that has been used as proof-
of-concept and early dose finding in prescription allergy drug development. The results of both studies
were subsequently published in 2009 (Day et al. 2009; Horak et al. 2009). In one study (Study P04579;
Horak et al. (2009)), PE (12 mg, the EU-approved dosage form) was compared with placebo and a known
effective oral decongestant (PSE 60 mg – the monographed dose for adults and adolescents 12 years of
age and older), and in the other study (Day et al. 2009) PE (10 mg) was used as the “active” comparator
to evaluate a different “test” drug (a combination of loratadine 10 mg and montelukast 10 mg) versus
placebo. In both studies, PE failed to provide any benefit over placebo, while 60 mg of PSE provided
good relief of congestion symptoms as well as a clear effect on nasal rhinometry and peak nasal
inspiratory flow measures. (For a detailed review of the studies, see Section 3.3.3.5, in Section 3.3,
Clinical Review, below.)

          FDA Statistical Presentation
In preparation for the meeting, Dr. Stan Lin from the Division of Biometrics in the FDA Office of
Translational Sciences reviewed all the original data, both sets of meta-analyses, and four previously
unpublished studies conducted by Wyeth Consumer Healthcare or Schering-Plough.
Dr. Lin noted that all of original studies evaluated by the Panel (and used in both meta-analyses) used a
measure of resistance to nasal inspiration (nasal airway resistance or NAR) as the primary clinical
measure, and [Dr Lin noted that] that this measure is sufficiently problematic that the Agency no longer
accepts it as a clinical endpoint. He noted that the petitioners’ meta-analysis used maximal reduction in
NAR measured periodically during the first 2 hours after study drug administration, whereas the industry
(CHPA) meta-analysis used reduction in NAR in 0 to 60 minutes. While noting that the statistical design
of the primary endpoints in each of the studies was not well defined, he considered the endpoints used
in the two meta-analyses to be new endpoints, which is problematic because they were not the basis for
the original design or analysis of the studies reviewed by the panel and their use might obscure
differences throughout dosing intervals. Further, the CHPA meta-analysis only used the crossover
studies, whereas the petitioners also included at least one parallel-group study. Therefore, the
meta-analyses could not be easily compared. He went on to state that neither meta-analysis was
conclusive, quoting the Agency’s Senior Scientific Advisor, Dr. Robert Temple, who is quoted at an FDA




45
   Schering-Plough Merck Briefing Document for NDAC Meeting (December 14, 2007). The Effects of Phenylephrine
on the Symptoms of Allergic Rhinitis. 2007-4335b1-02-Schering-Plough-Merck.pdf. Available at:
https://wayback.archive-it.org/7993/20170404050450/https://www.fda.gov/ohrms/dockets/ac/07/briefing/2007-
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Regulatory Briefing in March of 2007, as having stated that “All meta-analysis is post facto. You only do
it if you know you're going to win.”
Dr. Lin also presented a summary of his findings for each of the individual studies (see Table 6 and
Figure 8). He noted that all of the Elizabeth studies showed relatively stronger efficacy regardless of
dose and that the two most positive studies came from that site (Elizabeth), concluding that the lack of
replication at other sites, the lack of multicenter representation, and the small sample size of the studies
“limits the generalizability of these results.” He pointed out that “evidence exists for treatment by study
interaction at the different time points where NAR was measured,” which indicates “study and/or
outcome heterogeneity and limits the poolability of data.” While Dr Lin did not go so far as to state that
the data do not support efficacy, he noted that “averaging these studies with other studies would mask
a finding of no effect from the other studies.”

Table 6. FDA Statistical Evaluation of Effectiveness Demonstrated in the Original Studies




Source: Presentation by Stan Lin, PhD, FDA Division of Biometrics 4/OB/OTS, at the December 14, 2007 NDAC meeting.
Abbreviations: ANPR, Advanced Notice of Proposed Rulemaking; CHPA, Consumer Healthcare Products Association; CP, citizen
petition; PEH, phenylephrine HCl; SAR, serious adverse reaction; URTI, upper respiratory tract infection




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Figure 8. FDA Statistical Evaluation of the Change From Baseline in NAR Results Over Time for
Active and Placebo in Each of the Original Studies




Source: FDA.
Abbreviations: NAR, nasal airway responsiveness; PE, phenylephrine

In summary, Dr. Lin noted that the small size, the lack of multicenter representation, the lack of
reproducibility, and the problematic nature of the methodology used by the original studies evaluated
by the Panel suggests that the data underlying the original recommendation made by the Cough-Cold
Panel are not conclusive.

          NDAC Recommendations
The committee noted the inconsistency of results across studies, but concluded that available evidence
is “suggestive of efficacy” (Votes: 11 Yes, 1 No, 0 Abstain).46 This was based on the NAR data from the
seven original studies that had supported the inclusion of PE in the monograph, as well as a meta-
analysis of the original data presented by industry that supported the original Panel’s findings (Kollar et
al. 2007). Nevertheless, due to the limitations of the data, 9 of the 12 committee members voted to
recommend that additional clinical data would be necessary, including new studies that should evaluate
the decongestant effect of higher doses of oral PE. Based on the Agency’s recommendation, the NDAC
suggested that the future studies evaluate subjective symptom scores rather than use objective
measurement of NAR as the primary endpoint. The NDAC further recommended that future trials
include the following design elements:
     •   Multicenter, parallel, randomized, double-blind, placebo-controlled trials, preferably with an
         active control such as pseudoephedrine, to evaluate nasal congestion scores and symptom relief.



46
   Summary Minutes of the NDAC meeting, December 14, 2007. Available at: https://wayback.archive-
it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/07/minutes/2007-4335m1-Final.pdf.


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  •   Sufficient sample size to evaluate efficacy and safety according to key characteristics such as age,
      gender, race, and severity of symptoms.
  •   Characterization of the PE dose response and the effect of dosing interval, formulation, type of
      delivery system, and potentially, genetic factors, on safety and efficacy endpoints.
  •   Comparison of the pharmacokinetics of single-ingredient products versus multiple-ingredient
      products.
  •   Safety evaluation of the effects of PE on blood pressure and cardiovasculature and use of PE in
      patients with important comorbidities such as benign prostatic hyperplasia, hypertension, or
      diabetes.

      Agency Reviews
      Summary of Findings
The presentations by Schering-Plough and Schering-Plough Merck at the 2007 NDAC meeting were
remarkable in that they changed the way the Agency considered the clinical pharmacology of orally
administered PE. It should be noted that those clinical pharmacology data had not been available to the
original Panel when it made its recommendations >30 years previously. Even though the efficacy data
were borderline, the Cough-Cold Panel considered that PE is effective when administered intranasally,
and it is likely that they took that into consideration when they made their recommendation for the
orally administered ingredient. They made this recommendation despite evidence that clinically relevant
pharmacodynamic effects on BP do not occur until one reaches an oral PEH dose close to 100 mg, and
that studies as far back as 1933 had suggested that it would take 120 mg or more of oral PE to be an
efficacious dose (Tainter and Stockton 1933).
In response to the clinical pharmacology and clinical data presented at the 2007 NDAC meeting, the
Clinical and Clinical Pharmacology teams reviewed all “new” the clinical pharmacology and clinical data
that has become available since that time. By “new” data, we mean all of the data that has become
available since the Agency made the GRASE determination regarding the efficacy of orally administered
phenylephrine (i.e., publication of the Final Oral Decongestant Monograph) in 1994.
Contrary to what is often cited in the literature as the oral bioavailability of phenylephrine, i.e., 38%,
which is based on outdated technology, the Agency’s Clinical Pharmacology team has confirmed that the
actual oral bioavailability of PE is less than 1%. This is due to the high first-pass metabolism effect when
PE is administered orally, whereas PE is effective when administered intranasally and has systemic
effects when much smaller doses are administered intravenously. The Clinical Pharmacology team also
confirmed that the half-life of the parent PE is much shorter than that of total PE, suggesting that the
duration of action for active parent PE is far shorter than the monographed dosing interval of every
4 hours, and is therefore open to question.
Finally, the Clinical Pharmacology team confirmed that clinically relevant pharmacodynamic changes,
such as an increase in systolic and diastolic BP, do not occur until oral PE doses of around 80 to 100 mg.
The consistent finding across multiple studies that it takes around 80 to 100 mg of oral PEH to result in a
clinically relevant effect on BP also suggests (unless there is a significant dichotomy between the
systemic BP and intranasal decongestant effects, which we believe from an animal pharmacology study
(Aviado et al. 1959) is not the case) that monographed doses are too low to result in efficacy. These PD
data are therefore consistent with the bioavailability data.


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All of the PD and PK data are also consistent with the two well-designed, placebo-controlled EEU
studies, the results of which were presented at the 2007 NDAC meeting and subsequently published.
The EEU studies were performed at well-recognized environmental exposure unit study sites and used
accepted congestion symptom score scoring and endpoints in subjects with allergic rhinitis, a far more
stable platform (i.e., less variability in patient symptoms over time) than subjects with colds. Such
studies, while mechanistic and unacceptable as Phase 3 studies, are nevertheless acceptable when used
for early Phase 2 proof-of-concept and dose-finding for drugs to treat allergic rhinitis, although the
results must be corroborated in larger Phase 2 studies and in pivotal Phase 3 studies. These studies
demonstrated no efficacy for PEH at monographed or slightly higher doses (one used 12 mg instead of
10 mg of PEH), whereas positive controls were clearly positive. Therefore, while these results were
highly suggestive of an efficacy issue, they are not confirmative.
Data from three large, adequately controlled clinical trials conducted subsequent to the 2007 NDAC
meeting are now available, and those data are consistent with the PK, PD, and EEU data. They
demonstrate a lack of efficacy with oral IR doses up to 40 mg as well as ER doses of 30 mg. Merck
(formerly Schering Plough) conducted two trials in subjects with allergic rhinitis to evaluate (and
presumably potentially market) both higher than monographed doses of IR product and a 30 mg
product, and Johnson and Johnson conducted a trial in subjects with colds to evaluate (and presumably
potentially market) a 30 mg ER oral PE product. All used clinically acceptable designs and nasal
congestion symptom scores as primary endpoints. These three trials represent by far the largest and
most carefully constructed trials that have ever been performed to evaluate the decongestant effect of
oral PE. While we were unable to review the actual datasets for any of the three trials (none were
submitted to the Agency), we did review the results published at clinicaltrials.gov as well as any
publications that resulted from these trials. Importantly, none of the three demonstrated any significant
difference between monographed doses of oral PE, doses of up to 40 mg of oral IR PEH (four-fold higher
than the monographed dose) (Table 8) (one trial), or two different 30 mg ER formulations (two trials),
compared with placebo. We believe that these new clinical pharmacology and clinical data are
consistent, substantial, and believable, and they confirm that orally administered PE is not effective at
any dose that can be developed and still provide a reasonable margin of safety (see Section 3.3.2, New
Clinical Trials).
In light of the results from these “new” data sources, and to understand how the new data fit with the
previously available efficacy data, we also reviewed all of the data that supported the original GRASE
determination. We noted significant methodological and statistical issues with the design and conduct
of the original studies submitted to and evaluated by the Panel. All used a mechanistic endpoint (NAR)
that is no longer accepted by the Agency because it is highly variable and unreliable as a measure of
congestion. All but one study evaluated subjects with the common cold, a platform that is highly
variable and difficult to study. All but one evaluated extremely small sample sizes, none adequately
controlled for bias, none adequately controlled for multiplicity, and none performed appropriate sample
size calculations. Ten of the studies (all from one sponsor) were small, single-center crossover studies
that had significant issues but were nonetheless a major support for a GRASE recommendation.
In addition to the multiple methodological and statistical issues, we also noted that two studies from
one site (Elizabeth Biochemical Labs) were not only the most positive studies, but they also produced
near textbook perfect results that could not be duplicated in other similarly designed studies that used
the same methodology but were conducted at two other centers by the same sponsor. This raises
suspicion regarding potential bias and data integrity issues at the Elizabeth site, which contributed five


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of the seven positive original studies. While we discuss those potential issues in our review, we consider
them unsubstantiated, whereas the methodological and statistical issues with all of the original studies
are both substantial and substantive.
It should also be noted that all of the original and subsequent clinical studies/trials used the PEH salt,
and that a GRASE determination for the PEB salt was based entirely on matching the systemic exposure
of total PE between the two salts. Given that less than 1% of PE is systemically available in an active
form (parent PE), we now know retrospectively that this was a problematic approach. Therefore, a
finding of lack of efficacy for PEH automatically carries over to a similar finding for PEB.
As a result of our evaluation, we believe that the new efficacy data far outweigh the data provided to
the Agency as part of the original Panel review. These results suggest that: 1) oral PE at monographed
dosages is not effective as a decongestant (i.e., in the face of the new data, the original data are likely
not sufficient to support a GRASE determination), 2) oral doses up to 40 mg would also not be effective,
3) finding an effective oral dose that is also safe is not feasible (meaning that doses higher than 40 mg
would need to be explored but would also not be safe to study due to effects on blood pressure), and 4)
an appropriate dosing interval for oral PE has not been established (meaning that, based on the PK data,
an every-4-hour dosing interval is likely too long). Therefore, in addition to lack of efficacy, there may be
no path to evaluating higher doses of oral PE as a nasal decongestant.

      Clinical Pharmacology Review
To confirm the α1-adrenergic pharmacologic activity results of PE and its metabolites that were
presented by Schering-Plough at the 2007 NDAC Meeting, the Clinical Pharmacology team reviewed the
literature and revisited the clinical pharmacology reviews of phenylephrine NDAs to compare with the
PK and relative bioavailability results that were presented by Schering-Plough at the 2007 NDAC
Meeting. As discussed below, we were able to confirm all of this information.

        Pharmacologic Activity of PE and Its Metabolites
The approved drug label of New Drug Application (NDA) 204300, VAZCULEP (phenylephrine
hydrochloride Injection) states that “Phenylephrine hydrochloride is an α-1 adrenergic receptor
agonist.”47 In addition, the label states that after intravenous administration of radiolabeled
phenylephrine, “there are two major metabolites, with approximately 57 and 8% of the total dose
excreted as m-hydroxymandelic acid and sulfate conjugates, respectively. The metabolites are
considered not pharmacologically active.” These statements are consistent with the α1-adrenergic
pharmacology results of PE and its metabolites that were presented by Schering-Plough at the 2007
NDAC Meeting.

        Oral Bioavailability
The VAZCULEP® (NDA 204300) clinical pharmacology reviewer acknowledged that a radiolabeled PE
bioavailability study had estimated that the absolute oral bioavailability (i.e., ratio of PE exposure
following oral administration versus IV infusion) of parent PE was 38% (Hengstmann and Goronzy 1982).
However, the value of 38% is an overestimate due to the underestimate of the PE exposure following
the IV infusion, as the PK samples were not collected during the IV infusion which lasted about 12.5 to


47
  NDA 204300, for Vazculep (phenylephrine hydrocholoride) Injection for intravenous use from Éclat
Pharmaceuticals, approved June 27, 2014.


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20 minutes and the parent PE systemic exposure during the IV infusion was expected to have
significantly contributed to its overall systemic exposure given its short half-life (~5 minutes) following IV
administration.55 The underestimate of the PE exposure following the IV infusion rendered PE exposure
following oral administration artificially relatively higher. The reviewer also acknowledged that a reliable
non-radiolabeled high-performance liquid chromatography tandem mass spectrometry bioanalytical
assay sufficiently sensitive to characterize the full PK profile of parent PE following the monographed
10 mg oral dose did not become available until the 21st century (Feng et al. 2013).
Consistent with the PK results presented by Schering-Plough at the 2007 NDAC Meeting, the clinical
pharmacology program for NDA 022565, Advil Sinus Congestion & Pain (ibuprofen 200 mg and
phenylephrine HCl 20 mg tablet)48 confirmed that the parent PE systemic exposure is <1% of the total PE
(i.e., parent PE + conjugated PE) systemic exposure following oral administration (Figure 9 and Table 7).
Further, both the effective and elimination half-lives of the parent PE are much shorter than that of total
PE, suggesting that the monographed dosing interval of every 4 hours needs to be further evaluated.

Figure 9. Geometric Mean Parent and Total Phenylephrine (PE) Pharmacokinetic Profile (N=42)
Following 10 mg Single Oral Dose of Sudafed PE®




Source: NDA 022565, Study 0813.




48
  NDA 022565, for Advil Congestion Relief Tablets from GlaxoSmithKline Consumer Healthcare Holdings US LLC,
containing ibuprofen 200 mg and phenylephrine HCl 10 mg, approved May 27, 2010.


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Table 7. Systemic Exposure of Parent and Total PE Following 10 mg Single Oral Dose of Sudafed
PE®
Parameter                        Parent PE         Total PE    Mean Ratio (Parent/Total)
Cmax (ng/mL)    1              0.766  (49%)       225 (33%)                       0.34%
AUClast (ng×h/mL) 1            0.692 (26%)        864 (22%)                       0.08%
AUCinf (ng×h/mL)1              0.730 (26%)        885 (22%)                       0.08%
Tmax (hour)   2            0.33 (0.17, 0.83)    0.92 (0.5, 2)                        N/A
t1/2 (hour) 1                    1.55 (59%)      2.68 (21%)                          N/A
Source: NDA 022565, Study 0813 (N=42) following single-dose administration of 10 mg oral phenylephrine (Sudafed®).
1
  Geometric mean (CV%).
2
  Median (minimum, maximum).
Abbreviations: AUC, area under the concentration-time curve; Cmax, maximum plasma concentration; CV, coefficient of variation; PE,
phenylephrine; Tmax, time to maximum plasma concentration

          PK/PD Relationships
Based on the in vitro pharmacology results, PE is supposed to stimulate the local alpha-1 adrenergic
receptors expressed on the blood vessels in nasal mucosa to exert its direct pharmacologic effect
(Johnson and Hricik 1993), if the local concentration of parent PE reaches to certain levels. However,
there is a lack of data that directly measure the alpha-1 adrenergic activity in the nasal mucosa. Instead,
the Clinical Pharmacology team conducted a review of PE PK and systemic alpha-1 adrenergic PD
response (systolic BP change from baseline) relationships, comparing those relationships between orally
administered PE (Gelotte and Zimmerman 2015) and IV administered PE (Martinsson et al. 1986). A
crossover clinical trial in nine healthy subjects showed that following a lower-than-oral dose
(1 µg/kg/minute, or a 6-minute total dose of a 0.42 mg infusion for a subject weighing 70 kg) continuous
IV infusion, a steady-state parent PE mean plasma concentration of ~10 ng/mL was reached within
6 minutes (Figure 10) (Martinsson et al. 1986). At this concentration during the infusion, both systolic
and diastolic BP elevated noticeably, about 10 mm Hg from baseline.

Figure 10. Plasma Concentrations of Parent PE (Left Panel) and Systemic Blood Pressure Change
(Right Panel) During the 6-Minute Continuous IV Infusion of 0.5, 1.0, 2.0, and 4.0 µg/kg/Minute PE




Source: Adapted from Martinsson et al. (1986).
Abbreviations: IV, intravenous; PE, phenylephrine




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In 2015, McNeil Consumer Healthcare published results from a Phase 2 study, which characterized the
PK, safety, and cardiovascular tolerability following a single dose of oral IR PE HCl (Gelotte and
Zimmerman 2015). The study was a randomized, double-blind, placebo-controlled, single-dose,
crossover design that compared four treatments: placebo and phenylephrine hydrochloride 10, 20, and
30 mg. Twenty-eight healthy subjects were randomized with seven subjects receiving each of the four
treatments during each of the four periods (four periods were conducted for four consecutive days). The
PK results showed that parent PE peak plasma concentration was reached about 20 to 30 minutes post-
oral dose and the Cmax values increased roughly dose-proportionally (Figure 11). The mean Cmax value
following the monographed 10 mg oral dose was 1.35 ng/mL. Meanwhile, the post-dose mean systolic
BP increased <5 mmHg from baseline and no dose-response relationship was observed (Figure 11). After
adjustment by the placebo treatment, the maximal elevation of mean systolic BP from baseline within
2 hours postdose was 4.1, 3.3, and 4.4 mm Hg for 10, 20, and 30 mg PE treatment, respectively.
Although the relationship between systemic alpha-1 adrenergic activity and local alpha-1 adrenergic
activity that is required for a nasal decongestion effect is unclear, the numerically small changes of
systolic BP following up to 30 mg PE oral dose are consistent with the lack of local decongestion effect of
PE observed from clinical efficacy trials (Meltzer et al. 2015; Meltzer et al. 2016). The results are also
consistent with the previous PD safety data available to the Original Panel (see Section 2.1.1,
Safety/Pharmacodynamics) as well as other data referred to in Meltzer’s 2015 article cited above, which
studied the efficacy and safety of doses up to 40 mg in a large Phase 2 trial (see Section 3.3.2.2, Dose-
Ranging Trial (Merck Protocol #CL2010-06; NCT01330017)).

Figure 11. Plasma Concentrations of Parent PE (Left Panel) and Systolic Blood Pressure Change
(Right Panel) Following Oral Administration of Placebo, 10, 20, and 30 mg IR PE




Source: Adapted from Gelotte and Zimmerman (2015).
Abbreviations: IR, immediate release; PE, phenylephrine

In sum, cross-study comparison showed that, after the dose adjustment, steady state parent PE plasma
concentration following 1 µg/kg/minute IV infusion is about 200-fold higher than the parent PE Cmax
value following the monographed 10 mg oral dose. In addition, there is a clear dose-dependent increase
of BP from baseline following continuous IV infusion with about 10 mm Hg elevation at a plasma
concentration about 10 ng/mL achieved by infusion rate of 1 µg/kg/minute. However, mean systolic BP
increased <5 mm Hg following up to a 30 mg oral PE dose (3× the monographed dose), and no dose-
response relationship of vital sign change from baseline was observed following oral PE doses of
10 to 30 mg. The results from the McNeil trial are consistent with the estimation from a previous clinical



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trial that a minimum of 40 to 60 mg oral PE is needed to result in an elevation of systolic BP of
approximately 5 to 10 mm Hg. The clinical pharmacology reviewer estimates that approximately 100 mg
oral dose of PE would be needed to match the steady-state concentration (~10 ng/mL) following
1 µg/kg/minute IV infusion that resulted in 10 mmHg elevation of systolic BP. Although an effective oral
dose of phenylephrine that results in a sufficient local alpha-1 adrenergic activity for nasal decongestive
effect is unknown, a much higher oral dose than the monographed dose is expected based on the
currently available in vivo PK and PD results of parent PE. As a reference, the concentration of
monographed PE solution for intranasal use is 0.125%, or 1.25 mg/mL (previously 21 CFR 341.80). That is
about one-million-fold the parent PE Cmax value following a 10 mg oral dose.

       Clinical Review
The Clinical team reviewed all of the “new” clinical data available, meaning all of the data that has
become available since the Agency made the GRASE determination regarding the efficacy of orally
administered phenylephrine (i.e., publication of the Final Oral Decongestant Monograph) in 1994. We
started with the EEU studies and other data presented at the 2007 NDAC meeting, followed by the new
clinical trials.
In light of those findings, we reviewed each of the studies submitted to and reviewed by the original
Panel that supported the original finding of GRASE status for orally administered PE as a nasal
decongestant. In so doing, we reviewed all the clinical data presented by the petitioners, industry, and
the Agency at the 2007 NDAC meeting. We did so both for completeness and because we wanted to
understand how the old data stood up against the new data.
What follows is our summary of our findings. That stated, please see the Agency Reviews: Summary of
Findings section above for our tentative conclusions.

        EEU Studies (2007 NDAC)
We reviewed the results for the two EEU studies presented (and subsequently published) at the 2007
NDAC meeting (see the Schering-Plough Merck Presentation section, above).49 In both studies, PE failed
to provide any benefit over placebo, while PSE provided good relief of congestion symptoms in one of
the studies. The two studies are described in further detail below.
While the EEU setting is an artificial setting, it is well documented as providing a reasonable assessment
of the pharmacodynamic properties of a drug, including onset of action and duration of effect. That said,
EEU studies are at best considered as late Phase 1 or early Phase 2 proof-of-concept studies, although
they may also be used to provide evidence of a dose and dosing interval to be carried into additional
Phase 2 and 3 clinical trials. The study design and methodology, study populations, and endpoints used
for these two studies were appropriate and consistent with EEU studies presented to the Agency as part
of other drug development programs for pulmonary-allergy products. Further, the two studies were
performed at well-known EEU study centers. And finally, we are aware of drug development programs
that were terminated because such studies did not support the dose and dosing interval of a drug,
particularly when the studied dose was the highest dose that would be considered acceptable for
human use based on the preclinical and Phase 1 tolerability data (note that we have left out specifics



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  Neither of these studies were conducted in the United States. There are two major sites for EEU studies, one in
Vienna, Austria, and one in Ontario, Canada.


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because the information is proprietary). The bottom line is that, while the results of these studies are
not definitive, the findings are strongly supportive that the monographed dosage of oral PE is not
effective.

3.3.1.1   Study P04579 (Horak et al. 2009) (NCT00276016)
This was a single-center, randomized, investigator-blind, active- and placebo-controlled, three-way
crossover, single-dose study that evaluated the efficacy of PE, PSE, and placebo in 39 grass-sensitive
patients exposed to grass pollen in the EEU setting. It was conducted at the University of Vienna, Vienna,
Austria, and funded by Schering-Plough Research Institute, Kenilworth, New Jersey.50
Subjects who met minimum symptom scores during a 120 minutes predose challenge were treated with
IR formulations of PE 12 mg (European Union-approved product), PSE 60 mg, or placebo, and continued
to monitor and record symptoms every 15 minutes over 6 hours. Measurements of rhinomanometry,
peak nasal inspiratory flow (PNIF), and nasal secretions for weight were collected at 30-minute intervals
over the 6-hour study period, although the publication does not explain the methodology used for the
NAR and PNIF measurements. The primary efficacy assessment was change from baseline in average
nasal congestion score over 6 hours.
A total of 39 subjects were randomized; and 38 subjects completed treatment. Subjects were
predominantly white (97%), and female (59%), with a mean age of 27 years. Baseline nasal congestion
scores were 2.20 for PE and placebo and 2.26 for PSE.
Results for symptom scores and rhinometry/PNIF measurements over the course of the EEU exposure
after treatment are shown in Figure 12 and Figure 13, respectively. There was no difference in nasal
congestion scores for PE when compared to placebo, but PSE treatment resulted in an average 6-hour
mean percentage decrease from baseline in nasal congestion score of 21.7%. The results of
rhinomanometry and PNIF measurements were consistent with the nasal symptom scores. No adverse
events (AEs) were reported in the study.




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  The study results were presented at the 2007 NDAC meeting, were published by Horak et al. 2009, and are also
available at: https://clinicaltrials.gov/ct2/show/NCT00276016.


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Figure 12. EEU Study P04579. Mean Change in Subjective Nasal Congestion Scores at 15-Minute
Intervals After Drug Administration




Sources: Schering-Plough Merck 2007 NDAC Briefing Document45 and Horak et al. (2009).
Abbreviations: EEU, environmental exposure units; NDAC, Nonprescription Drugs Advisory Committee; PE, phenylephrine; PSE,
pseudoephedrine


Figure 13. EEU Study P04579. Mean Change in Nasal Rhinometry (Left) and Peak Nasal Inspiratory
Flow (Right) at 30-Minute Intervals After Drug Administration




Sources: Schering-Plough Merck 2007 NDAC Briefing Document45 and Horak et al. (2009).
Abbreviations: EEU, environmental exposure units; NDAC, Nonprescription Drugs Advisory Committee; PE, phenylephrine; PSE,
pseudoephedrine; PL, placebo

3.3.1.2    Study P04822 (Day et al. 2009)
This was a single-center, randomized, double-blind, double-dummy, placebo-controlled, three-arm
parallel-group single-dose study that compared the efficacy of a loratadine-montelukast (L/M)
combination, PE, and placebo in patients with adult seasonal allergic rhinitis (SAR) who were exposed to
ragweed pollen in the EEU setting. It was conducted at Kingston General Hospital, Kingston, Ontario,
Canada, and funded by Schering-Plough/Merck Pharmaceuticals, Kenilworth, New Jersey.
Subjects completed a screening visit, up to six priming visits (to expose subjects to ragweed pollen and
stimulate symptoms), and one treatment visit. At each visit, evaluations were made of four nasal
symptoms (rhinorrhea, nasal congestion, sneezing, and nasal itching) and three non-nasal symptoms




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(itching/burning eyes, tearing/watery eyes, and itching of ears/palate) using a 0 to 3 severity scale
(0=none, 1=mild, 2=moderate, and 3=severe) at 30-minute intervals.
To qualify for the treatment visit, subjects had to meet a minimum symptom score (≥2 for nasal
congestion, ≥7 for combined nasal symptoms, ≥3 for combined non-nasal symptoms, and ≥10 for total
symptoms) at 90 minutes, after which a single dose of study drug was administered at 120 minutes.
Treatments included IR L/M 10 mg/10 mg tablets, IR PE 10 mg syrup, and corresponding placebo tablets
and flavor-disguised syrup, administered in a double-dummy fashion. Subjects were then followed for
an additional 8 hours, with nasal symptom scores and PNIF measurements evaluated at 20-minute
intervals. The primary endpoint was change from baseline in nasal congestion scores averaged across all
time points during the first 6 hours after treatment. Because the primary objective of this study was to
evaluate the efficacy of the L/M combination in comparison with placebo, with PE administered as an
active comparator, the primary comparison was between L/M and placebo.
A total of 379 subjects were randomized to treatment (127, 126, and 126, in the L/M, PE, and placebo
groups, respectively). The study population was primarily female (53 to 61%), white (94 to 100%),
nonasthmatic (83 to 89%), and ~33 years of age. While the L/M results were favorable to placebo, the PE
results were not, both in mean change from baseline and at most timepoints starting at 1 hour
posttreatment (Figure 14). Similar results were seen for PNIF (Figure 15).




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Figure 14. Study P04822. Mean Change From Baseline During the First 6 Hours After Treatment
(A) and Across Time (B) in Nasal Congestion Scores for the Loratadine-Montelukast (L/M),
Phenylephrine (PE), and Placebo Groups




Source: Day et al. (2009).




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Figure 15. Study P04822. Mean Change From Baseline During the First 6 Hours After Treatment (a)
and Across Time (B) in Peak Nasal Inspiratory Flow for the Loratadine/Montelukast (L/M),
Phenylephrine (PE), and Placebo Groups




Source: Day et al. (2009).


          New Clinical Trials
3.3.2.1     Preface to Merck’s Two Clinical Trials
Before presenting the information in the following sections, it is helpful to review the publicly available
data information with respect to understanding why Merck (under MSD Consumer Care) conducted
these two large clinical trials. These trials and their results are listed at clinicaltrials.gov, and the results
were published in peer-reviewed journals (see references and links below)51, and all the information in
these sections is from open sources.
Readers of this document will recall that the same sponsor(s), Schering-Plough and Schering-Plough
Merck, presented at the 2007 NDAC meeting. Schering-Plough presented clinical pharmacology data


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  Note: The name was changed Care from Schering-Plough Healthcare Products to MSD Consumer in 2011, so all
of the studies were conducted by the same company.


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showing that orally administered PE is metabolized during absorption such that less than 1% of the
parent is bioavailable, and receptor affinity data showing that only the parent is active. Schering-Plough
Merck conducted two EEU studies showing no effect from monographed doses of oral PE, and
presented their results at the 2007 NDAC meeting.

                                                                                 What is missing,
however, is any interim study to justify the doses investigated, which we have attempted to fill in with
publicly available data.
In the publication for the large 10 to 40 mg IR trial, the authors note that the maximum dose (40 mg)
chosen for this trial was based on previous phase 1 safety trials that are said to have found “no
significant effect on systolic blood pressure (SPB) or heart rate (HR: MSD Consumer Care, Inc, data on
file)” at the 40 mg dose level (Meltzer et al. 2015). This is consistent with data from prior safety studies
(presented in Section 2.1.1) showing that clinically relevant PD changes in BP and HR are only noted at
doses of 80 to 100 mg and above. However, the safety studies referred to in the publication are not
listed at clinicaltrials.gov, although studies were not required to be listed at clinicaltrials.gov until April
201752, and the publication does not discuss other reasoning for the doses studied. That said,
considering the risks associated with PPA use (as well as why PPA was never included in the FM and was
removed off the market in 2006), namely due to hemorrhagic stroke in women of childbearing age, in
order to have a viable product for OTC use there must be a margin of safety that limits risk to the
consumer. Based on publicly available PD data, the Agency believes that Merck was wise to limit the IR
study to 40 mg, i.e., that studying a dose that is about half the dose associated with known systolic
blood pressure changes makes clinical sense. For the same reason, we believe that doses higher than
40 mg would not be viable for use in the OTC setting.
Similarly, publicly available data also show that Merck conducted two preliminary studies using the
30 mg ER tablets prior to conducting the large ER trial discussed below. Those studies are listed at
clinicaltrials.gov and include the following:
1. Safety Study Comparing Phenylephrine HCl Extended Release Tablets 30 mg and Placebo. (Study
   identifiers: Merck identifiers: CL2007-07, P07529; NCT0087412053). This was a randomized, double-
   blind, placebo-controlled, multiple-dose crossover ambulatory blood pressure safety study
   conducted in 2009. The study compared 7 days of treatment with a 30 mg ER oral PE product and
   placebo, with a 6 to 8-day washout between treatment arms. A total of 116 subjects were
   randomized, 58 per arm, and a total of 106 completed the study. Mean (SD) age was 29 (10.5) years,
   and 52.6% were males. The primary outcome was average SBP readings for a 5-hour range around
   the time of maximal concentration. No meaningful differences in mean SBP (SD) were noted
   between the two treatment arms: 118.3 (9.24) and 118.6 (9.38) for the 30 mg ER and placebo arms,
   respectively.
2. Bioequivalence of Single Dose Phenylephrine Extended Release Tablets and Phenylephrine HCl
   Immediate Release Tablets Dosed Every Four Hours (study identifiers: P08340, NCT01354418).


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  The statutory requirements went into effect on September 27, 2007, and were codified at Section 402(j) of the
Public Health Service Act with conforming amendments to the Food, Drug, and Cosmetic Act. However, the
regulation became effective on January 18, 2017, and responsible parties have been required to be in compliance
starting April 18, 2017.
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     Results available at clinicaltrials.gov: https://clinicaltrials.gov/ct2/show/NCT00874120.


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       While no results are listed at clinicaltrials.gov for this study, the publication of the large Phase 3
       extended-release trial (Meltzer et al. 2016) refers to the results as follows:
       “A preliminary phase 1 randomized bioequivalence study showed that 30 mg of PEH-modified
       release (MR) (treatment A) failed to be bioequivalent to three 10 mg IR tablets dosed 4 hours apart
       in fasting adults (treatment C). The study measured plasma concentrations of parent PEH. The
       criteria for bioequivalence were not met because the ratios of means and their 90% confidence
       intervals were not contained within the 80% to 125% acceptance range; the ratio of geometric
       means for area under the plasma concentration-time curve (nanograms per hour per milliliter) for
       treatment A versus C was 139.86% (90% confidence interval 124.99e156.48), indicative of a higher
       exposure of parent PEH attainable with a single dose of 30 mg of PEH-MR compared with 3 doses of
       10 mg of PEH-IR (MSD Consumer Care, Inc., Memphis, Tennessee; data on file).”




                        . But, as discussed in the sections below, both trials failed to meet their prespecified
endpoints.

3.3.2.2      Dose-Ranging Trial (Merck Protocol #CL2010-06; NCT01330017)
This dose-ranging trial was a multicenter, randomized, unmatched dummied and partially blinded,
placebo-controlled, five-arm, parallel-group dose-ranging trial that evaluated fixed dosages of 10, 20, 30,
and 40 mg of IR PE or placebo in 539 otherwise healthy adults with SAR caused by spring allergens.
Based on our review, we consider the trial to have been a late-Phase 2 study, which likely would have
been followed by a pivotal Phase 3 trial if it had been successful.
The trial was conducted between March and June 2011 at multiple centers in the United States, funded
by Merck & Co., Inc., Kenilworth, New Jersey, and the results were published in a peer-reviewed journal
in 2015 (Meltzer et al. 2015) and posted at clinicaltrials.gov54.

                                                                  . What follows is a summary based on
careful review of the results posted at clinicaltrials.gov and the publication.
After a 4-day run-in, subjects (i.e., patients with a documented history of SAR) were randomized to one
of five treatment groups of 10, 20, 30, and 40 mg of IR PE tablets or unmatched placebo tablets,
administered every 4 hours with not more than six doses in 24 hours for a period of 7 days, and
followed-up at the end of treatment and by phone at 3 to 4 weeks. Loratadine 10 mg tablets were used
as background treatment for allergic rhinitis during both the run-in and treatment periods. Loratadine
has been shown to not have any significant effect on congestion symptoms, therefore allowing
assessment of nasal congestion while still treating the underlying condition. Reflective nasal congestion
symptom scores, assessed on a 4-point, 0 to 3 scale (where 0=absent and 3=severe symptoms), were
captured on a paper diary every 12 hours prior to the next dose during the run-in and treatment


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     Available at: https://clinicaltrials.gov/ct2/show/NCT01330017.


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periods, and instantaneous congestion symptom scores (same scale) were captured once daily prior to
the morning dose over the treatment period.
Blinding was as follows. All subjects received PE HCl 10 mg (up to four tablets per dose), placebo (up to
five tablets per dose), and loratadine (one tablet daily). Because the PE 10 mg and placebo tablets were
red and concave but not exactly matching, the trial is referred to as having been a Phase 2, ‘open-label’
trial in the publication. However, the listing at clinicaltrials.gov makes clear that all subjects, regardless
of treatment allocation, received up to five tablets of [unmatched] placebo, the exact numbers of active
and control depending upon randomization to study treatment (i.e., the trial used a so-called ‘single-
dummy’ technique to assist with blinding). Therefore, it could be considered to have been blinded with
respect to study subject allocation and study personnel handling of both the treatments and results
because both subjects and study personnel were blinded as to treatment allocation (more on this
below).
The primary efficacy endpoint was the mean change from baseline in daily reflective nasal congestion
scores (rated on a 4-point scale where 0=none and 3=severe), which was defined as the average of
morning (AM) and evening (PM) reflective nasal scores over the entire treatment period. Baseline for
reflective scores was defined as the average of the daily scores over the four consecutive 24-hour
periods prior to randomization, and baseline for instantaneous (secondary endpoint) scores was the
Day-1 predose first dose assessment. This [primary] endpoint is acceptable, as it has been used over the
last 20+ years successfully as part of the primary endpoint for numerous drug development programs of
antihistamines and intranasal drug products and followed the recommendations published in the FDA
Guidance for Industry on Development of Drugs for Treatment of Allergic Rhinitis (FDA 2018).
Secondary endpoints included:
  •   Mean change from baseline in AM and PM reflective symptom scores.
  •   Mean change from baseline in instantaneous symptom scores.
  •   Mean change from baseline in daily reflective symptom scores.
  •   Mean change from baseline in daily instantaneous symptom scores.
  •   Time to maximal effect, defined as the earliest time that the nasal congestion symptom score
      demonstrates the greatest numerical difference from the placebo in change from baseline.
Powering and statistical analyses were as follows. Using a two-sided test with 5% significance level and a
standard deviation of 2.0 units, 100 subjects per arm were calculated to provide a 94% power to detect
a difference of at least 1 unit between PE and placebo for the primary endpoint. An analysis of
covariance model was used for analysis of the mean change from baseline versus placebo for all end
points, with adjustments for the baseline score, investigative site, age, and sex. Control for multiple
comparisons between each of the four active doses and placebo for the primary efficacy end point was
achieved via a closed family of tests, each at the 0.05 level of significance, proceeding in sequence from
the highest to the lowest dose.
A total of 539 subjects were randomized, 109, 108, 107, 112, and 103 to the 10, 20, 30, 40 mg, and
placebo groups, respectively, and a total of 507 subjects completed the study, 101, 101, 99, 100, and
100 in the 10, 20, 30, 40 mg, and placebo groups, respectively. Most discontinuations (32) were due to
other reasons, and only one was due to a protocol violation. A total of six subjects discontinued due to
an AE, 0, 1, 1, 4, and 0 in the 10, 20, 30, 40 mg, and placebo groups, respectively. Only a small number
(15) of subjects had a major protocol deviation, of which 5 were due to not meeting inclusion criteria, 4


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were due not following procedures, and 3 were due to having received incorrect dosing. The intent-to-
treat (ITT) and safety populations (n=539) included all randomized subjects, and efficacy evaluable
population (n=517) included all subjects who had at least one full day of nonmissing reflective symptom
scores after dosing was initiated.
Demographics and baseline characteristics of the treatment groups were similar (see publication Table 1
for details). Overall, 325/539 (60.3%) subjects were female, 422/539 (78.3%) were white, and 447/539
(82.9%) were non-Hispanic/Latino. The mean (SD) age was 38.7 (12.04) years.
Efficacy results for the ITT population (defined as all randomized participants who received at least one
dose of study medication) are summarized in Table 8 and shown graphically by treatment group and day
in Figure 16. The primary endpoint of mean (SD) change from baseline in reflective nasal congestion
scores for the ITT population was -0.460 (0.5374), -0.499 (0.5042), -0.508 (0.5618), -0.461 (0.5308), and -
0.428 (0.5530) for the PE HCl 10, 20, 30, 40 mg, and placebo groups, respectively. None of the active
treatment groups had a statistically significant change from baseline in reflective nasal congestion
scores compared to placebo. The observations for the efficacy evaluable population for the primary
endpoint were consistent with the findings for the ITT population. The time to maximal effect was
5.5 days for all PE treatment groups.
The only significant secondary endpoint was the change from baseline in PM reflective nasal congestion
scores for the 20 mg PE HCl group compared to placebo (p=0.0188) on Day 6. All other comparisons
were not statistically significant. The response rate increased over time in all treatment groups,
including placebo, and the only response rate that was significant was for the 20 mg PE HCl group
compared with the placebo group on Day 6 (p=0.031). The time to maximal effect was 5.5 days for all PE
treatment groups. The mean change from baseline for the instantaneous symptom assessment score
was not significantly different from placebo on any day for any active treatment group.
There were no meaningful differences in the safety endpoints of vital signs, physical examinations, and
12-lead ECGs, and no new or unexpected safety issues were identified. However, there were minor
differences between treatment groups for AEs. Overall, the system organ class with the most treatment-
emergent AEs was nervous system disorders, reported in 30 of 539 [5.6%]) of all treatment groups, but
only in 2 of 103 (1.9%) of placebo-treated subjects. The most common treatment-emergent AE was
headache. However, it was not dose related, occurring in 5.5% (6/109), 3.7% (4/108), 2.8% (3/107), and
2.7% (3/112) of the 10, 20, 30, and 40 mg treatment groups, respectively, but in none (0/103) of the
subjects in the placebo group. At the 40 mg dosage level, 2.7% (3/112) and 3.6% (4/112) of patients
experienced gastrointestinal side effects of dry mouth and nausea, respectively. One patient in the
40 mg dosage group experienced chest and lower jaw pain that resolved after stopping PE.
It could be said that one drawback to this trial was that the study was considered to have used a
partially open-label design because placebo was similar to but not exactly matched with active product.
However, the major concern with lack of blinding occurs when a difference between one of the active
treatment groups and control (placebo) is found, because the lack of binding could introduce a
treatment group bias, i.e., a bias that favors finding a difference between active and control. In this case,
the addition of a partial dummying technique to the study assisted but did not completely blind the
study, because subjects could count the number of different pills although they would not necessarily
know what the numbers meant. For example, if a subject received four of one tablet and one of
another, or three of one tablet and two of another, the subject could reasonably assume that they had
been allocated to 10 or 40 mg in the first instance, or 20 or 30 mg in the second. However, the case of



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receiving five of the same tablets is unique. In addition to knowing that the maximum dose was 40 mg
and that each PE tablet was 10 mg, the subject would also have to know that PE and placebo tablets
were similar but not identical to discern that they had been allocated to placebo. Otherwise, they would
be fully blinded. What is missing here is what subjects in the study were told, as that information is not
in either the publication or listed at clinicaltrials.gov, so we simply do not know. That said, the lack of
any differences between the four active treatment groups and the placebo group despite the possibility
of a blinding bias (which would be in favor of finding such a difference) lends support to the validity of
the findings.
A second drawback is that an active comparator arm, such as PSE, was not included. However, the fact
that the study arms were similar in size with other allergic rhinitis studies using the same study
evaluations and endpoints, and that the findings are replicated and virtually identical for all four
treatment groups, including dosages up to four-fold the monographed dosage of oral PE HCl, lends
credence to the results.
After careful review, we conclude that this study is of high quality (Level 1 evidence) and accurately
portrays the treatment effect of orally administered IR PE, including dosages up to four times the
monographed dosages.

Table 8. Merck Protocol #CL2010-06. Change From Baseline in Reflective Nasal Congestion
Scores Over the Entire Treatment Period, by Treatment (ITT Population)
                PE HCl 10 mg PE HCl 20 mg PE HCl 30 mg PE HCl 40 mg                    Placebo
Parameter               N=109           N=108           N=107           N=112            N=103
Baseline (SD)* 2.417 (0.4327) 2.517 (0.3995) 2.481 (0.4148) 2.492 (0.3887) 2.514 (0.4208)
Day 7 (SD)†    -0.460 (0.5374) -0.499 (0.5042) -0.508 (0.5618) -0.461 (0.5308) -0.4208 (0.5530)
p-Value #               0.4912          0.4519          0.2186          0.5983
Source: Aggregate data from 2015 Meltzer publication and results published at clinicaltrials.gov
(https://clinicaltrials.gov/ct2/show/results/NCT01330017).
* Reflective nasal congestion scores were captured in participant diaries just before the 8:00 a.m. dose and 12 hours later just
before the 8:00 p.m. dose. Participants rated congestion on a 4-point scale of severity from 0 (best) to 3 (worst), with 0=absent
symptoms, 1=mild symptoms, 2=moderate symptoms, and 3=severe symptoms. The daily reflective nasal congestion symptom
score was defined as the average of the morning and evening reflective nasal congestion score for the entire treatment period.
Baseline was defined as the average of the daily scores over the four consecutive 24-hour periods before randomization.
†
  Primary outcome measure reported with the ITT population defined as all randomized participants who received at least one dose
of study medication.
#
  An analysis of covariance model was used for analysis of the mean change from baseline versus placebo for all end points, with
adjustments for the baseline score, investigative site, age, and sex. Multiple comparisons between each of the four active doses and
placebo for the primary efficacy end point were performed as a closed family of tests, each at the 0.05 level of significance, and
proceeded in sequence from the highest dose to the lowest dose to control the overall significance level of 0.05.
Abbreviations: ITT, intent-to-treat; PE, phenylephrine




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Figure 16. Merck Protocol #CL2010-06. Reflective Nasal Congestion Scores by Treatment and
Study Day (ITT Population)




Source: Meltzer et al. (2015).
Abbreviations: ITT, intent-to-treat; PE, phenylephrine

3.3.2.3      Modified-Release 30 mg Trial (Merck Protocol CL2011-06; NCT01413958)
This trial was a Phase 3, multicenter, randomized, double-blind, placebo-controlled, two-arm, parallel-
group trial that evaluated 30 mg of a modified-release formulation of PE HCl (PEH-MR) and placebo in
575 otherwise healthy adults with documented SAR caused by fall pollen allergens. While this trial did
not use monographed dosages of PE, it nevertheless provides substantive evidence that PE is not
effective as an orally administered decongestant, particularly in light of the fact that their
bioequivalence study demonstrated higher systemic exposure with 30 mg of PEH-MR compared to
10 mg IR PEH dosed every 4 hours (the monographed dose). After review, we consider that this was
likely intended to be a pivotal, Phase 3 study to support a 505(b)(2) application for their extended-
release PE product.
The study was conducted between August and October 2011, at 29 study sites, and funded by Merck &
Co., Inc., Kenilworth, New Jersey. The results were published in 2016, in a peer-reviewed journal by the
same authors as the dose-ranging trial (Meltzer et al. 2016) and posted at clinicaltrials.gov.55 What
follows is a summary based on careful review of results posted at clinicaltrials.gov and the publication.
Study visits included: screening (Days -41 to -8), baseline (Days -7 to -1), start of treatment (Day 1), end
of treatment (Day 8) and follow-up (Days 22 to 31) visits. Consistent with FDA Guidance, subjects were
washed out of any allergy medications that might interfere with study evaluations and recorded
reflective and instantaneous nasal congestion symptom scores (on a 0 to 4 scale where 0=none,
3=severe) starting approximately 7 days prior to start of study treatment and extending through the




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     Available at: https://clinicaltrials.gov/ct2/show/NCT01413958.


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entire treatment period. During study treatment, patients were allowed rescue loratadine 10 mg once
daily as needed for intolerable allergic-rhinitis symptoms.
The primary efficacy endpoint was the mean change from baseline in daily reflective nasal congestion
scores, defined as the average of morning and evening reflective nasal scores over the 7-day treatment
period for the ITT population, which comprised all randomized subjects who received at least one dose
of the study medication.
Secondary efficacy measurements included:
  •   Mean change from baseline in morning and evening reflective symptom scores, daily
      instantaneous symptom assessment scores, and morning predose instantaneous nasal congestion
      symptom score (to assess 12-hour duration of action).
  •   Mean change from baseline for each day for reflective symptom assessment score (to assess onset
      of action and durability of response), morning and evening reflective and instantaneous symptom
      assessment scores (calculated and analyzed separately), and instantaneous symptom assessment
      score (to assess onset of action and durability of the response).
  •   Time to maximal effect (defined as earliest time that mean change from baseline in reflective
      nasal congestion symptom score demonstrated greatest numerical difference from placebo).
  •   Duration of effect (end-of-dosing interval analysis measured as change from baseline for
      instantaneous symptom assessment score at Day 7).
Powering and statistical analyses were as follows. Using a two-sided test with 5% significance level and a
standard deviation of 2.0 units, 500 subjects were calculated to provide a 94% power to detect a
difference of at least 1 unit between PEH-MR and placebo for the primary endpoint. An analysis of
covariance model with adjustments for baseline value, investigative site, age, and sex, was used for
analysis of the primary endpoint. Secondary analyses were carried out using an analysis of covariance
with no adjustments for multiplicity.
A total of 575 patients were enrolled and randomized, 288 to PEH-MR and 287 to placebo, and 574
(99.8%) completed the study. Demographics and baseline characteristics of the treatment groups were
similar. Participants were mostly female (61%) and white (82%), with a mean age of 40.1 years (see
publication Table 1 for details). Mean study compliance was 99.5% and there were no differences
between study groups in rescue loratadine use.
The primary efficacy results (mean change from baseline in reflective nasal symptom scores for the ITT
population), summarized numerically in Table 9 and graphically in Figure 17, showed no statistically
meaningful difference between the active and placebo treatment groups. Mean daily reflective scores at
baseline and over the course of the 7 days of treatment (a secondary endpoint), shown graphically in
Figure 18, clearly demonstrate that active treatment was numerically no better than placebo at any
timepoint in the trial. And in fact, while the baseline score for placebo was numerically lower than the
active treatment arm, the placebo arm also had numerically more mean improvement over the course
of the study (Table 9). Analyses of secondary endpoints for instantaneous and daily congestion scores
showed similar results.
There were no clinically meaningful differences in AEs between the treatment groups in this trial. As in
the dose-ranging trial, the system organ class with the most treatment-emergent AEs was nervous
system disorders (overall 4.0% [23/575]), and the most common treatment-emergent AE was headache,
occurring in 3.1% (9/288) and 2.8% (8/287) of the PEH-MR and placebo groups, respectively.



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After careful review, we conclude that this study provides high-quality (Level 1) evidence that PE is not
an effective nasal decongestant when administered orally in a 30 mg ER formulation that results in
systemic exposures that are slightly above the exposures provided by repeated monographed (10 mg) IR
dosages.

Table 9. Merck Protocol #CL2011-06. Change From Baseline in Reflective Nasal Congestion
Scores Over the Entire Treatment Period (ITT Population)
                                             PEH-MR 30 mg           Placebo
Parameter                                             N=288           N=287
Baseline (SD)                                 2.357 (0.5203) 2.271 (0.5586)
Mean change over treatment period (SD)        -0.394 (04880) -0.412 (0.5383
Source: Results published at clinicaltrials.gov (https://clinicaltrials.gov/ct2/show/results/NCT01413958).
Abbreviations: ITT, intent-to-treat; PEH-MR, phenylephrine hydrochloride-modified release


Figure 17. Merck Protocol #CL2011-06. Mean Change From Baseline in Reflective Nasal
Congestion Score Over the Entire Treatment Period (ITT Population)




Source: Meltzer et al. (2016).
Abbreviations: ITT, intent-to-treat; PEH-MR, phenylephrine hydrochloride-modified release




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Figure 18. Merck Protocol #CL2011-06. Mean Daily Reflective Nasal Congestion Score at Baseline*
and Per Day (ITT Population)




Source: Adapted from results published at clinicaltrials.gov (https://clinicaltrials.gov/ct2/show/results/NCT01413958).
* Baseline was defined as the mean from 4 consecutive 24-hour periods in which a symptom score was ≥1, prior to randomization.
The nasal congestion score was calculated from data captured twice daily (morning and evening) in the participant's diary during the
run-in and treatment periods. Participants rated congestion on a 4-point scale of severity: 0=absent symptoms (no sign/symptom
evident), 1=mild symptoms (sign/symptom clearly present, but minimal awareness; easily tolerated), 2=moderate symptoms (definite
awareness of sign/symptom that is bothersome but tolerable), and 3=severe symptoms (sign/symptom that is hard to tolerate;
causes interference with activities of daily living and/or sleeping). The average of individual reflective nasal scores was reported as
the daily reflective nasal congestion score over the entire treatment period.
Abbreviations: ER, extended release; ITT, intent-to-treat; PE, phenylephrine

3.3.2.4     Johnson and Johnson Phase 2 Study (CO-170302131230-URCT; NCT03339726)
This study was conducted by Johnson & Johnson Consumer, Inc. in Canada during the 2017 to 2018 cold
season. It was a randomized, double-blind, double-dummy, placebo-controlled, parallel-group study that
evaluated the efficacy of an extended-release 30 mg PE oral tablet taken twice daily and an immediate-
release 12 mg PEH oral capsule taken four times daily in subjects with nasal congestion due to the
common cold. After review, we cannot comment on the exact intent of this study, although it initially
appears to have been designed as a Phase 3 study to support approval of an extended-release PE
product to be marketed outside the United States.
This study is the only PE efficacy study that we are aware of that has been conducted in subjects with
colds since the original panel studies. Unlike the original studies, it used symptom score rather than NAR
as the primary endpoint. The study had planned to enroll 450 subjects, a sample size that would have
allowed it to support an application for an ER product, although from the fact that it was conducted in
Canada and used a 12 mg IR oral PE comparison arm, not necessarily in the United States. For this
reason, we believe that the study was designed in a manner as to minimize bias and provide accurate
results Unfortunately, the study was only able to enroll 193 subjects prior to the end of the cold season,
at which point an interim analysis was conducted and the study was terminated. Further, a positive
control arm was not included. Therefore, while a much larger and better controlled than the original
panel studies, it is nevertheless not ideal. The only source available for this study is a listing on




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clinicaltrials.gov. As a result, certain data are not available, such as baseline values for each treatment
group. That said, clinicaltrials.gov includes a redacted protocol and SAP.56
The study enrolled subjects 18 years of age and older who were experiencing common cold symptoms
for up to 72 hours (3 days) prior to entry, had at least a nasal congestion / stuffy nose score of ≥5 and at
lease mild (score of ≥3) for sinus pressure / tenderness, and two or more of the following symptoms:
runny nose, sore or scratchy throat, sneezing, headache, malaise, or cough.
Treatments included: two doses of extended-release PE (PE-ER) 30-mg tablets 12 hours apart, four
doses of immediate release PEH (PE-IR) 12 mg capsules 4 hours apart, and four doses of placebo 4 hours
apart. Since the study included a double-dummy design, all subjects took both tablets and capsules four
times a day. Subjects stayed on site for the first and second doses (at 0 and 4 hours, respectively). One
third of subjects were assigned to a PK cohort, with samples collected at the time of the first and second
doses, although the results of this aspect of the study are not included in the online information.
The primary outcome measure was mean change from baseline in reflective nasal congestion severity
score (NCSS) over 0 to 12 hours after the first study dose, as measured on an 8-point scale where
0=none and 7=severe, with assessments at 2, 4, 6, 8, 10, and 12 hours. The primary efficacy endpoint
was analyzed for the ITT population using an ANOVA model with treatment group, study center, and
baseline nasal scores as factors.
Secondary efficacy endpoints included:
     •   Average change from baseline in the Nasal Congestion Severity Score (time frame: 0 to 12 hours)
         (8-point scale with 0=none and 7=severe).
     •   Average change from baseline in the Nasal Congestion Severity Score averaged over hours 8 to 12.
     •   Change from baseline in the Nasal Congestion Severity Score (time frames: 0 to 2, 0 to 4, 0 to 6,
         0 to 10, 0 to 12, and 0 to 24 hours), and at 2, 4, 6, 8, 10, 12, and 24 hours.
     •   Average change from baseline in Sinus Pressure/Tenderness Scores (time frame: 0 to 12 hours)
         (8-point scale with 0=none and 7=severe).
     •   Change from baseline in Sinus Pressure/Tenderness Scores averaged over assessments at 2, 4, 6,
         8, 10, and 12 hours.
     •   Change from baseline in Sinus Pressure/Tenderness Scores (time frames: 0 to 2, 0 to 4, 0 to 6,
         0 to 8, 0 to 10, 0 to 12, and 0 to 24 hours), and at 2, 4, 6, 8, 10, 12, and 24 hours.
The majority of study participants were female (63.2%) and either white (78.2%) or Asian (13.0%), and
demographics were similar between the three arms.
Results are shown in Table 10, and graphically over the course of the study in Figure 19 and Figure 20.
No benefit was seen for the primary endpoint. A note about the figure is in order. It graphically shows
the change in nasal congestion severity scores adapted from data provided at clinicaltrials.gov.
However, the results provided at clinicaltrials.gov do not state whether the changes are listed as
improvements or getting worse with treatment, i.e., as absolute or relative congestion score changes.
The fact that the scores increased over the course of 24 hours of treatment (shown as an upward trend
in Figure 20) might imply that these were absolute and not relative changes, as one might reasonably
expect all subjects to report an improvement with treatment over the course of the study regardless of



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     Available at: https://clinicaltrials.gov/ct2/show/NCT03339726.


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treatment allocation, and improvement in scores would be illustrated as downward trend lines toward
milder congestion scores (see figures in the two Merck trials above, where the result lines for all
treatment arms trended downward toward lower, i.e., milder congestion scores). That said, the fact that
this was a cold and not an allergic rhinitis study might conceivably have made a difference if subjects
were continuing to get worse during the 24 hours that they were on treatment. Regardless of direction
(up or down, worse or better), however, the results for all treatment arms trend in a similar direction,
which suggests no beneficial effect of either PE treatment when compared with placebo.
With regard to safety, no adverse events were reported.

Table 10. J&J Study NCT03339726. Primary Endpoint of Mean Change From Baseline in Nasal
Congestion Severity Score Over 12 Hours
                                          Placebo            PE-IR 12 mg           PE-ER 30 mg
Parameter                                     N=64                   N=66                   N=63
Baseline                                        NA                     NA                     NA
Mean change over 12 hours              1.80 (0.156)          2.03 (0.1540)           1.93 (0.158)
Mean difference vs. placebo                         0.23 (-0.205 to 0.662) 0.13 (-0.311 to 0.564)
(95% CI)
p-Value vs. placebo                                                  0.300                  0.569
Source: https://clinicaltrials.gov/ct2/show/NCT03339726.
Abbreviations: CI, confidence interval; ER, extended release; IR, intermediate release; J&J, Johnson & Johnson; NA, not applicable;
PE, phenylephrine


Figure 19. J&J Study NCT03339726. Primary Endpoint of Mean Change From Baseline in NCSS
Over 12 Hours




Source: Adapted from data available at: https://clinicaltrials.gov/ct2/show/NCT03339726.
Abbreviations: ER, extended release; IR, intermediate release; PE, phenylephrine; J&J, Johnson & Johnson; NCSS, Nasal
Congestion Severity Score




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Figure 20. J&J Study NCT03339726. Change From Baseline in NCSS Over 24 Hours*




Source: Adapted from data available at: https://clinicaltrials.gov/ct2/show/NCT03339726.
Abbreviations: ER, extended release; IR, intermediate release; PE, phenylephrine; J&J, Johnson & Johnson; NCSS, Nasal
Congestion Severity Score


          Original Panel Studies
3.3.3.1    Scope of the Review
We reviewed each of the study reports and/or publications for all the original studies that had been
submitted to the docket and reviewed by the Panel to support oral PE use. Fourteen such documents
were stated to have been reviewed by the Panel to support the effectiveness of oral PE (references
5 to 10, 19 to 26). Unfortunately, several of the references are problematic, either citing an abstract
instead of the complete study (reference 25; see discussion in the Appendix, TFM Comment 11), or the
wrong study (reference 19 instead of reference 10). As part of our review, we attempted to sort out and
address each of these as well.
We also reviewed the findings of the previous FDA statistical review of these and additional studies (as
well as the meta-analyses) that were presented at the 2007 NDAC meeting (see the FDA Statistical
Presentation section above). The FDA statistical reviewer concluded that the original studies should be
judged as inconclusive of efficacy, and at a minimum, we concur. However, the statistical reviewer
appears to have focused on the meta-analyses performed by the petitioners and industry, and less so on
the original studies themselves. Thus, the reviewer did not comment on a number of significant
methodological and statistical issues, as well as potential data integrity issues, with the studies.

3.3.3.2    Preface: Agency’s Comments on the Panel’s Findings
Prior to presenting our findings, it is important to note that we believe that the Panel did an admirable
job, given the quality of the data that was submitted to them. That said, the science has evolved since
that time. When considering the studies through a modern drug review lens, all of the studies (both
positive and negative) were highly problematic in both design and methodology. All used a highly
variable endpoint (NAR) to study a drug in the setting of a highly variable disease state (the common
cold) that is no longer used as a primary endpoint to evaluate congestion in pivotal trials.57 Further, all


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  The FDA’s Guidance for Industry on Developing Drug Products for Treatment of Allergic Rhinitis recommends use
of symptom scores for the primary endpoint in clinical trials. See FDA (2018).


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the positive studies (and most of the negative studies) were unpublished and therefore never peer-
reviewed. Six of the seven positive studies came from a single study center (funded by the manufacturer
of Neo-Synephrine), were very small in size, and (except in one instance) the results could not be
duplicated at two other study centers (also funded by the same manufacturer) that used a similar study
design and methodology.
Additionally, the positive oral PE results do not match what was demonstrated in multiple studies
reviewed by the Panel that the dose of orally administered PE that is required to result in clinically
relevant systemic (pharmacodynamic) effect is far higher than the monographed dose. Nor do they
match what is now known about the bioavailability and PK of orally administered PE. As a result, and in
retrospect, we believe that newer data and improvement in study methodologies suggest that the
findings of the Panel should be revisited.
And, in fact, we believe that the multiple methodological and statistical issues inherent in the studies
reviewed by the Panel make the original studies evaluated for efficacy unacceptable as continued
support for the efficacy of monographed doses of oral PE.

3.3.3.3   Preface: Study Context
In order to understand how the original studies fit within the context of today’s study design/conduct
and review standards, it is important to understand the context / setting in which the Panel reviewed
the data submitted to them as well as the advances that have occurred on multiple levels since that
time. At the time, PEH had been marketed OTC for many years as an oral nasal decongestant, so there
was significant experience with it in this setting.58 Further, the Panel simultaneously reviewed the data
for PE as an intranasal decongestant (i.e., when administered intranasally) and recommended that it
receive a GRASE determination at the same time that they reviewed orally administered PE as a nasal
decongestant. Knowing that PE is highly effective when administered by the intranasal route may have
influenced their decision about PE when administered orally.
This was also a different time, and the understanding of how to design and conduct clinical trials to
support the efficacy and safety of a drug has advanced significantly in the interim, including but not
limited to sample size calculations, methodology to prevent bias, evaluation of endpoints, and use of
different subject populations. In fact, the Panel’s review was conducted many years before any of the
ICH Good Clinical Practice guidelines / quality standards for the design, conduct, recording, and
reporting of trials that involve human subjects were developed.59
Finally, the science has changed in the interim, and a full understanding of the clinical pharmacology of
PE when administered orally was not appreciated at the time that the Panel issued its
recommendations. We now know that in addition to PE having less than 1% systemic bioavailability, the


58
  According to Wikipedia (https://en.wikipedia.org/wiki/Phenylephrine), phenylephrine was first patented in
1927, and came into medical use in 1938. The leading manufacturer at the time that the FDA first conducted an
efficacy review was Sterling-Winthrop, the manufacturer of Neo-Synephrine.
59
  The ICH, or International Council for Harmonisation of Technical Requirements for Pharmaceuticals for Human
Use, was started in 1990, and has gradually evolved to respond to the increasing global development needs of the
pharmaceutical industry. See: https://www.ich.org/. FDA participates in this process; see ICH E6, available at:
https://www.fda.gov/science-research/clinical-trials-and-human-subject-protection/ich-guidance-documents,
which contains guidance on the current ethical and scientific quality standards for designing, conducting,
recording, and reporting of trials that involve human subjects.


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half-life is also significantly shorter than the original 4-hour dosing interval. These data were not
available to the Panel, nor was the technology to fully assess oral bioavailability available until around
the turn of this century. Therefore, is it not surprising that the Panel considered the equivocal findings in
the original studies as sufficient to support a finding of efficacy (and safety) of PE 10 mg administered
orally every 4 hours.

3.3.3.4      Methodological and Statistical Issues
      3.3.3.4.1     Design and Methodology
The principal methodology used to assess efficacy in all of the studies evaluated by the original Panel
was measurement of airflow and air pressure in the nasal passage, which was used to calculate NAR as
an indirect measure the level of congestion. As a result, a word about the methodology is in order.
Objective measurement of NAR to assess nasal airway patency is a complex procedure that is subject to
multiple methodological issues including (but not limited to) subject training and experience with the
procedure (including variability in inspiratory effort), day-to-day fluctuations and within-day cyclic
variations in nasal congestion, procedural differences, differences in the equipment and mechanical
measurement accuracy, and technician and evaluator experience. Because of the inherent variability
and methodological issues, NAR measures are at best mechanistic in nature. In an effort to standardize
the technique, several methodologies were published. Many of the studies submitted to and reviewed
by the Panel used a modification of a methodology referred to as the Butler-Ivy technique published in
1943 (Butler 1943), and four of the seven positive studies specifically mention use of a modified version
of this technique.32
That stated, with the exception of the studies reviewed by the Panel and discussed in the ANPR, we are
not aware of any NAR studies that have been accepted by the Agency in support of the development of
any drug since that time, even as part of Phase 1 drug development. Instead, clinical symptom scores
have been / are considered by the Agency to be the gold standard for development of all allergic rhinitis
drugs developed in the last >30 years.60 While symptom scores were used in the studies considered by
the Panel, the results were not the primary efficacy endpoint in any of the studies and were generally
not even considered if the NAR results were negative.
One example of the inherent variability in the use of NAR as an endpoint was available to and cited by
the Panel, but only for safety (McLaurin et al. (1961), reference 11).61 It was a placebo- and active-
controlled (ephedrine 25 mg, PSE 60 mg, PE 10 mg, and PPA 25 mg) double-blind, crossover study (88
subjects). Goals included the PD response to each drug, subjective therapeutic effect, adverse reactions
(what they called side effects), NAR improvement at 60 minutes, and how close the subjective findings
matched the objective ones. However, the study failed to demonstrate any positive NAR findings for PE,
PPA, or PSE, although it did demonstrate some effect from ephedrine (see description in Table 15). For
this reason, it was not considered in the effectiveness discussion, while at the same time it illustrates




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  Nasal inspiratory flow rate has not been accepted by the Agency as a primary endpoint variable for approval of
any prescription cough-cold drugs since at least prior to the 1990s. All of the topical intranasal drugs and second
generation H1 blockers (antihistamines) approved in the 1990s and since have used nasal symptom scores as the
primary endpoint. See the corresponding FDA Guidance for Industry; FDA (2018).
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     Cough-Cold ANPR, 41 FR 38312 (September 9, 1976) at 38400, reference 11: McLaurin et al. (1961).


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the methodological issues with use of NAR as an endpoint, including that two ingredients that are
generally considered to be effective as oral decongestants failed to show a positive effect.
Because the endpoint of NAR has not been used in drug development in the modern era, some
retrospective thoughts are also in order to place the information into the appropriate clinical as well as
statistical context. As stated above, the Agency is aware that there is significant variability in this
endpoint, and that the variability and quality of results are highly dependent on multiple technical issues
related to the testing process. However, the exact magnitude of that variability is unknown. As a result,
from a statistical viewpoint one cannot perform an appropriate [retrospective] sample size calculation
for studies that used this endpoint. Similarly, we have no current experience with this endpoint to
ascertain the magnitude of difference between active and placebo might be clinically meaningful, and
we have not been able ascertain this information from the literature. However, it is likely that the
magnitude of the variability is so great that a very large sample size would have been needed to show a
meaningful statistical or clinical difference between study drug (PEH) and control (placebo). Even the
largest study, BEI 1025, only evaluated 25 subjects per arm (in a parallel design) with NAR as the primary
endpoint. The bottom lines is that we believe the sample sizes for all of the original studies were far, far
smaller than what is likely to have been needed to obtain either statistically or clinically meaningful
results.
   3.3.3.4.2    Disease Context
One should also consider the disease platform that was used to study the efficacy of oral PE, as
decongestants are accepted as treatment of congestion in patients with both colds and allergic rhinitis.
All but one of the studies evaluated subjects in the setting of the common cold. In order to qualify,
subjects had to have two days of congestion symptoms, which was followed in most instances with two
days of testing of the alternative treatment in a crossover design. Use of the common cold for studying
congestion is a platform known to be highly variable, thereby creating significant variability in the
results. In fact, one study (not reviewed by the Panel) noted differences in NAR results over days 1 to 5
in subjects who were experiencing upper respiratory infection symptoms (Bickerman 1971). Whereas,
patients with allergic rhinitis often have congestion for considerable periods of time, thereby resulting in
a far more stable platform even for single-dose or short-term studies such as these.
   3.3.3.4.3    Conduct
Going beyond the methodology used to evaluate nasal congestion, the design and conduct of these
studies is also a major issue. As mentioned earlier, all were conducted at a time when ethical and quality
standards for the design and conduct of clinical trials involving human subjects were essentially
nonexistent. In fact, one could even consider that it was the DESI process itself that highlighted
deficiencies in the standards for such studies, leading to the eventual international recognition that such
standards were needed (and the formation of the ICH in 1990). So, it is not surprising to find that, when
considered by modern standards, there are significant deficiencies when reviewing the design and
conduct of these studies, as outlined further below.
   3.3.3.4.4    Statistical Issues
From a statistical point of view, we also found multiple issues. All except one of the studies (see the
Original Cough-Cold Advisory Panel Recommendations section for details) were small, crossover, single-
center studies. All evaluated very small sets of subjects (see Table 3, which shows the remarkably small
N’s in the 10 Sterling-Winthrop studies that comprised 6 of the 7 positive studies, and Table 2 for the


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other studies). Other than blinding, methodology to reduce bias was not discussed in any of the study
reports. Statistical endpoints and methodology were not explicitly presented, nor was a sample size
calculation discussed in any of the study reports. Given the known variability of the endpoint being used
and disease state being studied, any reasonable sample size calculation would likely yield the need for
sample sizes that are many, many times larger than employed in any of the studies. Finally, statistical
analyses appear to have been performed at each time point without adjustment for multiplicity.
     3.3.3.4.5   Sterling-Winthrop Studies
The 11 studies submitted by Sterling-Winthrop62, the manufacturer of Neo-Synephrine brand of
phenylephrine hydrochloride, represent six of the seven studies considered by the original Panel to have
demonstrated the effectiveness of oral PE. Therefore, they likely influenced the original Panel’s efficacy
conclusions and recommendations. As noted elsewhere, one study (NAPR reference 5) was a
descriptive, preparatory study for the rest of the studies and should be ignored.
The other ten (ANPR references 6 to 11 and 20 to 24) were very small, single-dose, double-blind,
placebo-controlled, single-center, two-way crossover studies in subjects with the common cold. These
10 studies were conducted at three different research laboratories, Elizabeth Biochemical Labs, Cintest
Division of Hill Top Laboratories in Cincinnati, and Huntingdon Research Center, and all of the study
reports were prepared by the Sterling-Winthrop Research Institute in Rensselaer, NY. All were
unpublished study reports, and as such they were never peer-reviewed. Additionally, to our knowledge,
none of the protocols were submitted to the docket, and therefore could not be reviewed as part of our
retrospective review.
All 10 used similar protocols and methodology, the major differences being the doses (between 5 and
25 mg) and comparator ingredients evaluated. The oral PE doses and numbers of subjects studied at
each dose level are shown in Table 3, which shows the number of completed subjects at each oral PE
dose level in each of the studies. It will be seen that the total number of subjects enrolled at any given
dose was remarkably small and likely far too small to yield meaningful results. Further, several did not
enroll the planned number of subjects (Elizabeth studies 4 and 5). Given that all were performed at a
time prior to when modern concepts about study design were developed, they were highly problematic
in that they used the same endpoints and study populations, and had the same statistical issues, that
are discussed in this section. There was also significant heterogeneity of results both within and among
the three study centers, as discussed further in the Potential Data Integrity and Other Issues in the
Sterling-Winthrop Studies section below. And finally, when looked at by dose studied, numerically about
half of the total number of subjects studied at any given dose level failed to show efficacy (bottom of
Table 3). Given the heterogeneity of the endpoint and methodology used, as well as the population that
was evaluated, the number of subjects studied is far, far below the number that one would expect
would be needed to demonstrate efficacy. Therefore, we consider that these studies do not live up to
today’s standards and do not represent an accurate description of the effectiveness of oral PE as a
decongestant.




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  Docket references 5, 6 to 10, and 20 to 24. Study reports prepared by N.A. Hulme at the Sterling-Winthrop
Research Institute, Rensselaer, NY.


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   3.3.3.4.6    Whitehall Labs (BEI 1025) Study
The BEI 1025 study, performed by Whitehall Labs was reviewed by the original Panel, and a description
of the study design may be found in the Original Cough-Cold Advisory Panel Recommendations,
Whitehall Labs (BEI 1025) Study section. The study report was submitted to the docket, and the study
report refers to a protocol for the study, but to our knowledge that protocol was not submitted to the
docket and could not be reviewed as part of our retrospective review.
This was the only study with a parallel group design, and it was the only non-Sterling-Winthrop study
that was considered to be positive. It was stated to have been a double-blind, placebo controlled,
parallel group study in 200 subjects with the “common cold”. All subjects received 4 doses of 10 mg of
PEH or placebo over 12 hours. Whereas all 200 subjects were evaluated for symptoms, only 50 subjects
(25 per arm) received rhinometry, which was the primary endpoint. These measurements were
performed at 0, 15, 30, 60 and 120 minutes after the first dose. No differences were seen in systolic or
diastolic BP, implying that a PD effect was not seen in this study (Figure 3). However, they did report
changes in both NAR (Table 4 and Figure 2) as well as for the symptoms of nasal congestion, runny nose
and sneezing, which they judged to be significant compared with placebo, with no improvements in
cough or muscle ache.
Just as for the other studies, there were issues with this study, including: that the methodology to
reduce bias and the scoring methodology were not specified, and no adjustments were made for
multiplicity. Since we were unable to review the protocol, it is not clear how symptoms were rated.
Baseline symptoms appear to have been rated on a scale of 5 from mild to very severe, with
improvement rated on a 0-2 scale with 0 being no change and 2 being much improved, and this
evaluation appears to have been performed by both the subjects and investigators. However, we do not
know the frequency of the scoring, whether it was instantaneous or reflective, and how much weight
was placed on subjective investigator judgement, which we know is often biased and is no longer
accepted by the Agency as part of drug registration trials. While the study report notes that subjects
who experienced the largest magnitude of changes in NAR also experienced the largest magnitude of
changes in symptom scores, we do not know how much the investigator reporting of symptoms
influenced those results. Further, one must ask why a nasal decongestant, which would ONLY be
expected to help obstructive symptoms, would also help runny nose or sneezing symptoms, which
throws suspicion on the results for the obstructive symptoms. Therefore, the results of this study must
be judged accordingly.
Additionally, the primary endpoint of NAR over 2 hours following the first dose was reported as percent
change from baseline (Figure 2). In the figure, percent change is on the right and absolute change is on
the left, and percent reduction at each timepoint is shown in Table 4. In general, percent change tens to
magnify any differences, whereas absolute measurements do not. In fact, the magnitude of difference in
absolute changes seen in NAR results (left side of Figure 2) were quite small, and even at 1 hour, the
timepoint with the largest effect size, subjects appeared to continue to have significant nasal airflow
obstruction (4 on a scale of 5, where 5 was considered to be significant obstruction). It is also important
to note that the study did not specify what difference in absolute change might be clinically meaningful.
Therefore, overall, the clinical value of this study is questionable.




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   3.3.3.4.7    Summary
After careful review, we note that there were many methodological and statistical issues with these
studies. We believe that these issues significantly limit any judgement of a statistical “win”, and more
importantly a clinical “win”, for any of these studies. In fact, if these studies were submitted to the
Agency today all would at most be considered Phase 1 studies at best. As a result, we believe that these
studies do not stand up to the new data that are now available with regard to the efficacy of orally
administered PE as a nasal decongestant.

3.3.3.5   Negative Original Studies
A review of the original studies would not be complete without discussing the negative studies as well as
the ones that were considered supportive of the GRASE determination. There were at least six negative
studies of which the Panel was aware. Four of these (Huntingdon 1 and 2, and Cintest 2 and 3) were part
of the 10 studies from the same sponsor, Sterling-Winthrop, and (because of the design and
methodological issues discussed in the sections above) need not be discussed further. So, what about
the others?
One other negative study should be briefly noted, but otherwise ignored because it is not helpful. This
study was cited by the Panel, but only for safety (McLaurin et al. (1961), reference 11),61 failed to
demonstrate any positive NAR findings for PE, PPA, or PSE, although it did demonstrate some effect
from ephedrine(see discussion in the Methodological and Statistical Issues section above). Therefore,
the data from this study provides no useful information.
The only significant negative study among the original studies discussed in the ANPR is the failed
Columbia University study discussed below.
   3.3.3.5.1    Columbia University Study (Rogers / Bickerman publications)
The results of the Columbia University study may be found the Original Cough-Cold Advisory Panel
Recommendations, Columbia University Study (Rogers / Bickerman publications) section. It was the only
negative or failed study discussed in the ANPR. It is stated to have demonstrated no effect on NAR from
placebo, 10, 20, or 40 mg of oral PEH over a 4-hour observation period, whereas PSE 60 mg and PPA
40 mg each produced significant NAR reductions persisting for at least 3 hours.
However, there are some issues with the ANPR citation, and therefore where the data cited in the ANPR
originated. The ANPR cited the study as reference 25 (Rogers 1973), whereas the reference itself has no
specific data to support the reported findings, and that fact was noted in a comment submitted in
response to the ANPR and discussed in the TFM as Comment 11. We believe that the data originate
from a previous 1971 publication by one of the same authors (Bickerman 1971), the only differences
being that the older reference lacks the data from the 20 and 40 mg PEH doses and the number of
subjects cited in the ANPR is different. Please see Appendix, TFM Comment 11 for ANPR Reference 25
for a full discussion.
As we reviewed the information provided in the 1971 Bickerman publication (results in Table 11 and in
Figure 6), it became clear that these researchers had tried to both address and overcome some of the
variables that make NAR evaluations so difficult and unreliable. First, they studied all the parameters of
how to assess NAR, including how to build a NAR evaluation device that would provide reproduceable
results. Second, they elected to not focus on subjects with the common cold, but rather, to focus on
both healthy individuals and subjects with chronic, mostly non-atopic, nasal congestion (causes



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otherwise not specified) that respond to decongestants. They started by investigating day-to-day
fluctuations, in-day cyclic variations (including variations between the two sides versus measuring both
sides in unison), differences between sexes, and day-to-day changes as subjects experienced an upper
respiratory infection (or common cold). They then studied these subjects over a period of several years,
and armed with this background information, they could evaluate the effects of various decongestants
in those subjects with chronic nasal congestion. This provided a much more stable platform and group of
subjects in which they could conduct their trials over an extended period of time, as well as minimize
the variables that could affect the results and enable them to interpret the findings with more
assurance. Having their specific findings regarding lack of efficacy for the higher 20 and 40 mg doses
would have been helpful, but even without those data the rest of the information is supportive of lack of
effectiveness of the monographed 10 mg oral PE dose, particularly in light of the two positive controls
that were also studied. One should bear in mind, however, that while these investigators attempted to
address many of the significant methodological issues inherent in NAR measurements, and while their
findings are perhaps more believable than the other studies described in the ANPR, NAR results are still
at best to be considered as Phase 1 information.

Table 11. Bickerman 1971. Effect on Nasal Airway Resistance of Four Oral Drugs in Patients With
Chronic Nasal Congestion (0.2 L/s Expiration)*
     Drug            Control        ½ hour        1 hour       2 hours     3 hours       4 hours
Placebo                 1.68          1.74          1.83          1.71        1.47          1.85
PSE 60 mg               2.18          1.61          1.49          1.65        1.46          1.75
PPA 40 mg               2.16          1.78          1.73          1.51        1.75          1.91
PE 10 mg                1.99          2.06          2.00          1.89        2.49          2.14
Source: Bickerman (1971), Figure 25.
* After obtaining poor correlation using the Butler-Ivy technique of anterior rhinometry, measurements were performed using a
modified full-face Navy diving mask fitted to a heated pneumotachograph to record nasal airflow and a mouthpiece with a pressure
tap to record the pressure differential between the mask and the oropharynx. Permanent records were made by photographing the
oscilloscope tracing. A total of 104 subjects (57 with mostly non-atopic chronic rhinitis and 47 healthy) were evaluated over a 3-year
period to assess healthy versus chronic rhinitis differences, day-to-day fluctuations, in-day cyclic variations (including variations
between the two sides versus measuring both sides in unison), differences between sexes, and day-to-day changes in subjects as
they developed an upper respiratory infection. Pharmacologic studies were then performed using a double-blind crossover design in
subjects with chronic non-seasonal rhinitis, including topical placebo, oxymetazoline, and phenylephrine nasal sprays, and oral
pseudoephedrine, phenylpropanolamine, phenylephrine, and placebo. Results are shown in the table and graphically in Figure 6.
Abbreviations: N, not stated; PE, phenylephrine; PPA, phenylpropanolamine; PSE, pseudoephedrine

3.3.3.6     Potential Data Integrity and Other Issues in the Sterling-Winthrop Studies
After a thorough review of all the available evidence, it is also possible that there may have been bias
and/or data integrity issues at least one study center, Elizabeth Biochemical Labs, where five of the
seven positive oral PE studies were conducted. That stated, it is important to note that we consider the
methodological and statistical issues to be valid and overwhelming, whereas the data presented in this
section is of a more speculative nature and should be considered as concerning but unproven.
Except for one additional study (Cintest 1), which also appears to have some issues (see discussion
below), the results from the Elizabeth study site could not be duplicated at the two other Sterling-
Winthrop study sites that used a similar study design and methodology. Nor could they be duplicated by
other investigators, including in a study conducted at Columbia University, a study that was considered
as “negative” by the Panel and presented by the petitioners in 2007 (see Figure 6 and the Negative
Original Studies section), or in two EEU studies that were conducted by Schering-Plough using a more
stable study population (subjects with allergic rhinitis), study environment, and established clinical
endpoints (primary) along with a NAR endpoint (secondary) (see the EEU Studies (2007 NDAC) section).



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In fact, the study reports from two studies conducted at the other two Sterling-Winthrop sites
contemporaneously implied that the credibility of the results from the Elizabeth site might have been in
question.
1. The study report for Cintest study #2 noted that, having failed to duplicate any of the Elizabeth
   results, researchers from that site visited the Elizabeth site to observe testing in an effort to
   understand why they were unable to duplicate the Elizabeth findings. They came away without a
   satisfactory answer as to what they had done differently that had produced such markedly different
   results.63 Therefore, the lack of reproducibility of results from the Elizabeth site calls into question
   whether there were in fact bias and/or integrity issues at that study site.
2. The study report for Huntingdon study #1 contains a table (Table 12) comparing the standard
   deviations (SD) in the studies that had been conducted at the Elizabeth, Cintest, and Huntingdon
   study sites. This table was created because the investigators wanted to understand why they were
   unable to duplicate the results from the Elizabeth study site. While it is unclear how this table was
   derived and the results are not complete for each dose studied, the table nevertheless speaks for
   itself because it was done by the Huntingdon study site to address the question of why they could
   not duplicate the results from another site. One will immediately note that the magnitude of the
   standard deviations for the results at Elizabeth were considerably smaller than the studies
   conducted at the other two study sites, regardless of the drug or dose studied. It should be noted
   that the study report does not suggest that this information might point to an integrity issue at the
   Elizabeth study site. However, given the small sample size and the variability of the methodology
   and subject population, as well as the results of studies that have been reported since that time, the
   small SD of results at the Elizabeth site can only be interpreted in one of two ways. Either the results
   reflect excellent study management that could not be duplicated at the other two sites, which does
   not make scientific sense based on the PK and PD data and the known variability in the
   methodology, or they reflect data that are simply too good to be real. As a result, the issue of bias
   and possible data integrity issues at the Elizabeth site must be seriously entertained.

Table 12. Comparison of Standard Deviation Values for Decongestant Studies Conducted at
Elizabeth Biochemical Labs, Cintest Labs, and Huntingdon Research Center
                                         Time Point (Minutes) and SD
Product/Dose/Lab              0     15     30    45     60     90  120   180  240
PPA 50 mg
   Elizabeth                1.3    0.7    0.9   0.9    1.5    1.8   2.1  2.6   2.3
   Cintest                  4.1     12     13    18     20     17    18   23    45
   Huntingdon               6.5     27     20    16     25     37    36   38    38
Neo-Synephrine 10 mg
   Cintest                  7.3     12     14    16     21     21    23   27    42
   Huntingdon               7.7     12     18    18     28     22    58   79  166
Neo-Synephrine 25 mg
   Cintest                  5.4     14     22    23     21     22    22   22    30
   Huntingdon                10     22     29    32     38     44    45   35    44
Neo-Synephrine 15 mg
   Elizabeth                0.8    0.3    1.0   1.7    2.1    1.5   1.5  1.4   2.3
Source: Huntingdon 1 study report, ANPR Reference 20, Table II.
Abbreviation: PPA, phenylpropanolamine



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     Cintest study 2, ANPR reference 23.


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Given the information above and the considerable heterogeneity of results amongst the studies, we
compared the findings from each of those studies within the context of our larger review. We again
noted that the findings were highly inconsistent between two of the five studies conducted at Elizabeth
Biochemical Labs (Elizabeth 1 to 5) and four of the five studies conducted at two other labs (Huntingdon
1 to 2 and Cintest 1 to 3), the exception being Cintest 1. We also noted that the three key positive
studies, Elizabeth 2, Elizabeth 5, and Cintest 1 (see Table 3), all appear to have been outliers in that, not
only do their results not match the results obtained in the other studies, there are internal
inconsistencies such that they do not match what would be expected in such studies.
For example, the NAR results from these three studies do not match what is now known about the
overall systemic bioavailability and pharmacodynamic effects of orally administered PE. Based on the
bioavailability data, we estimate that an orally administered PE dose of about 100 mg would be needed
result in sufficient systemic exposure that a nasal decongestant effect might be expected, which also
happens to be the dose that results in clinically relevant systemic PD effects (i.e., elevations in systolic
blood pressure). However, these studies included measurements of PD effects, and positive NAR results
were often reported in the face of no clinically relevant changes in BP or HR, raising suspicion that these
results were spurious or incorrect.
Additionally, the NAR response curves do not match what is now known about the AUC (systemic
exposure) curve after an orally administered dose of PE, including the timing of the peak and the
duration of systemic exposure to the active parent PE. Based on the AUC information, one would expect
that the decongestant effect, if present, would occur at an early timepoint and be very short-lived. This
was not the case in the three key positive studies. Further, the results for the Elizabeth 2 and 5 studies
match perfectly with what would be expected based on what was known at that time about systemic
exposure of PE, in fact near textbook perfectly so. Additionally, no change from baseline was observed
for placebo, a decidedly unexpected finding. The results of Cintest 1 also raise concern because the
onset and duration of effect were later and more sustained (see Figure 8) than in any other study and
cannot be easily explained on a scientific basis. All of these findings raise concern regarding any
meaningful interpretation of the results.
To illustrate our concerns, graphical representations of the results from Elizabeth 2 are presented in
Figure 21, Elizabeth 5 in Figure 22, Cintest 1 in Figure 23, and Cintest 3 in Figure 24. The near-perfect
results for Elizabeth 2 and 5 will be seen visually. Note that the NAR curves show dose ordering, that
placebo remains stable over time, and the curves match what was known at the time about the systemic
availability of PE (i.e., exposure over a 4-hour time frame). Whereas, in two studies conducted at the
Cintest study site (Cintest 1 and 3), placebo and active roughly paralleled each other over time with no
dose ordering. Also, note the duration of the response curves in Cintest 1 (Figure 23), discussed above,
that was later and more prolonged than in any other study. By contrast, the results for Cintest 3
(Figure 24) illustrate what was found in the seven other studies, with gradual drift in NAR results for
both oral PE and placebo and no significant difference between treatment groups.
Before looking at the figures, it is important to note differences in the y-axis for several of the studies.
Elizabeth 2 reported absolute change from baseline, whereas studies at the Cintest site reported the
change in percentage of the baseline reading, which is an odd way of presenting the data. As a result,
the sets of figures from the two sites cannot be directly compared. However, the slopes, AUCs and
differences between study (PEH) and control (placebo) arms are visually apparent.




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Figure 21. Absolute Change From Baseline in Elizabeth 2 NAR Results. Left: 10 mg vs. Placebo
(n=16). Right: 25 mg vs. Placebo (n=6)




Source: Elizabeth 2 study.
Results beyond 120 minutes are extrapolated.
Abbreviation: NAR, nasal airway resistance


Figure 22. Absolute Change From Baseline in Elizabeth 5 NAR Results. Left: 10 mg vs. Placebo
(n=10). Right: 25 mg vs. Placebo (n=6)




Source: Elizabeth 5 study.
Abbreviations: NAR, nasal airway resistance; PE, phenylephrine




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Figure 23. Change in Percentage of the Baseline Reading for Cintest 1 NAR Results. Top Left: PE
10 mg vs. Placebo (n=15). Top Right: PE 25 mg vs. Placebo (n=66). Bottom: PPA 50 mg vs.
Placebo (n=15)




Source: Cintest 1 study.
Abbreviations: NAR, nasal airway resistance; PE, phenylephrine; PPA, phenylpropanolamine




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Figure 24. Change in Percentage of the Baseline Reading for Cintest 3 NAR Results. Left: PE
10 mg vs. Placebo (n=15). Right: PE 25 mg vs. Placebo (n=16)




Source: Cintest 3 study.
Abbreviations: NAR, nasal airway resistance; PE, phenylephrine

A final piece of evidence comes from information embedded in an Appendix to an article published by
the petitioners in 2010. Of note, our review (presented above) was conducted before we became aware
this information. In addition to noting that several of the Elizabeth studies seemed to drive the positive
results (and the results in their meta-analysis) the petitioners also noted the lack of variability in the two
Elizabeth results when compared with other studies. As a result, they decided to perform a statistical
analysis of the variability of results in Elizabeth studies 2 and 5, following a forensic recommendation of
Buyse et al. (1999), by evaluating digit preference in the third [last] significant digit (tenths column) of
the reported data results.64 Their results are shown in Table 13. While they cleared Elizabeth study 5
from a statistical perspective, they noted that Elizabeth Study #2 had a disproportionately high
occurrence of the digit “5”, shown in red font in Table 13, that was consistent across time points (not
shown), which they believe provides “sufficient statistical evidence to cast doubt upon the results.”

Table 13. Appearance of Digits in the Tenths Column of Elizabeth Studies 2 and 5
                                   Frequency of Digit Appearance
Study                0      1       2       3   4      5     6     7      8      9 Total
1 (Elizabeth 2)      2      4       2       6   2     23     8     9      3      5   64
2 (Elizabeth 5)      5      2       1       9   4      7     5    10      3      4   50
Χ2=55.6 (P<10−8) for Study 1 (Elizabeth 2).
Χ2=15.2 (P=0.060) for Study 2 (Elizabeth 5).
Source: Shuster et al. (2010).

As a result, in addition to the many methodological and statistical issues that make accepting these
studies highly problematic, the possibility is also raised of there having been a data-integrity issue in
Elizabeth study 2.



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  Note: The actual raw data are not in the study report. What is present is mean data for each subject, timepoint,
and nostril, which is stated to represent the mean of 5 measurements. For each subject and timepoint, the data for
the two nostrils were averaged to obtain results for each subject and timepoint, such that each data point that was
used for the forensic evaluation presented in Table 13 represents the mean of 10 NAR measurements.


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     Potential Impacts of Changing the GRASE Status of Oral PE and Plans
     to Address Those Impacts
       Introduction to the Anticipated Downstream Effects
The Agency anticipates that any action that were to change the GRASE status of oral PE might
potentially result in significant downstream effects, including effects on both industry and consumers,
because the only other oral decongestant, PSE, is now regulated as ‘behind-the-counter.’ As a result, PE
is the only oral nasal decongestant available in front of the counter, and most OTC cough-cold products
that had formerly contained PSE (prior to passage of the CMEA in 2006) now contain PE instead. This
section focuses on those potential downstream effects. What follows is a brief introduction to what we
believe might be the impacts, which we hope will serve as an introduction to a full discussion of both the
anticipated and unanticipated/unintended consequences if oral PE were to be removed from the
marketplace. We believe that those consequences must be carefully considered prior to taking any
action.
First, we present the historical use data, which provides the context to understand just how significant
removal of oral PE from the marketplace might be. This is followed by a brief discussion on impacts on
industry. And lastly, we provide a brief introduction to what we believe might be the impacts on
consumers as well as potential plans to address those impacts. Even though we present information on
the potential impacts on industry, we request that the Advisory Committee focus all discussion on how
to anticipate and deal with both the anticipated consequences as well as the potential unintended
consequences for consumers, and not focus on the potential impacts for industry.

       Historical Context: Use Data
To gain insight into the potential impact on use, we examined both the historical and current sales
patterns of OTC cough/cold/allergy oral products containing PE as well as PSE in the context of when PSE
went ‘behind-the-counter’ in 2006. The Division of Epidemiology II provided sales data for OTC
cough/cold/allergy oral products containing PE or PSE from manufacturers65 to U.S. retail and non-
retail66 settings of care (2000 to 2022), and from U.S. retail stores67 to consumers (2018 to 2022). The


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  The manufacturer sales data were obtained from the NSP database, which measures the volume of prescription
and OTC drug products moving from distributors and manufacturers into various outlets within the retail and non-
retail markets. It captures ~90% of the total pharmaceutical market. Any capture of non-pharmaceutical product
sales is a collection of convenience and not by database design. As such, NSP’s coverage on OTC products is
generally less than 50%.
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  The retail settings include chain drug stores, independent drug stores, mass merchandisers, food stores, and
mail service pharmacies. The non-retail settings include clinics, non-federal hospitals, federal facilities, HMOs, long-
term care facilities, home health care, and other miscellaneous settings.
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  The OTC retail sales data were obtained from the OTCims and PL-ILR databases, which provide point-of-sale
(POS) data from consumer purchases for over the counter (OTC) products and private label OTC products from a
panel of retailers. Both databases are sourced from the same diverse and representative panel of approximately




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Division of Epidemiology II also provided estimates of the sales in dollars (manufacturers’ selling prices
or wholesalers’ purchase prices before mark-up are applied) from the retail sales data (2018 to 2022)
(Table 14). However, sales estimates in dollars from the manufacturers’ sales data were not provided
because those data significantly underestimate the amount when compared to the retail-sales data.
When examining historical manufacturer sales data for these products from 2000 to 2022 (Figure 25),
we noted a significant decline in PSE-containing product sales even prior to the enactment of the CMEA
in 2006, with a commensurate rise in PE-containing products starting in 2004 and peaking in 2009, after
which sales of both PE- and PSE-containing oral products have continued to gradually decline until 2020,
when sales of PE-containing oral products increased again.
The most current estimates of retail sales data are from 2022, when an estimated 242 million
bottles/packages of OTC cough/cold/allergy oral products containing PE were sold from retail stores,
representing approximately 1.763 billion dollars in sales, compared with an estimated 51 million
bottles/packages of OTC cough/cold/allergy oral products containing PSE, representing approximately
542 million dollars in sales (Figure 26 and Table 14). It should be noted, however, that the true extent of
use of OTC cough/cold/allergy oral products containing PE or PSE is likely underestimated because the
retail sales data do not capture sales activity from Costco, convenience stores, specialty stores, internet
sales, phone sales, or kiosks.
Several things are evident in these data. Sales of products containing PE, which amounted to only a
small percentage of the market prior to 2006, have risen and displaced products containing PSE as an
OTC decongestant, although sales of PSE, while smaller, remain. That said, overall sales of both
ingredients have gradually declined from 2009 to 2020, and it is unclear why this is the case. One
possibility for the reduction in PE sales is that consumers, having purchased PE- instead of PSE-
containing products, have gradually recognized that PE does not provide the intended relief of
congestion, and therefore have gradually stopped purchasing those products. However, this would not
explain the accompanying reduction in PSE sales, although that may also be explained by a gradual loss
of public awareness of the availability of ‘behind-the-counter’ PSE. The dip in sales starting in 2020 may
be temporary, due to the decrease in upper respiratory infections that accompanied coronavirus disease
2019 precautions.




63,000 retail outlets across the U.S. We used these two databases to provide nationally estimated number of units
sold to consumers from U.S. retail store outlets (e.g., supermarkets, drug stores, mass merchandisers). For insight
into OTC products marketed under store names (e.g., CVS, Walmart), the PL-ILR database was utilized to capture
OTC private label products.


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      Potential Impacts on Industry
Please note that we will not be discussing any potential impacts on industry at this AC meeting.
That stated, as exemplified by the use data above, a significant impact on industry is inevitable and must
be anticipated. Manufacturers, warehousers, and pharmacies all have a large supply chain investment in
stocks of PE, either as a precursor chemical, ingredient itself, or in a finished product. There will also be
significant retooling costs to industry.
In addition to the multiple OTC products, there are also prescription (NDA and ANDA) combination
products that include PE. Since the approvals of these products relied on the Agency’s GRASE findings
for the PE ingredient in the combination, if the status of PE in the OTC monograph is changed to non-
GRASE, the basis of approval of these products will be altered and the Agency will need to consider
withdraw of approval of these products.
Further, any commercial INDs for oral PE-containing products would be impacted by removal of PE from
the CCABA monograph.

      Potential Impacts on Consumers
We are aware that a number of excellent treatments are available for the treatment of nasal congestion,
and in particular, congestion associated with allergic rhinitis. That stated, as may be seen from the use
data above, a significant amount of money is spent by consumers every year on the purchase of
products that contain at least one ingredient (oral PE) that may not be effective. In addition to avoiding
unnecessary costs of taking a drug with no benefit and lowering of overall healthcare costs, other
potential benefits might be derived by changing the GRASE status of oral PE. These include but are not
limited to avoiding any delay in care due to taking a drug that has no benefit, avoiding the risks of
potential allergic reactions or other side effects related to use of PE in combination products, avoiding
the inherent risks (especially for combination therapies) of taking more in order to seek some benefit,
avoiding the risks of medication use in children, and avoiding missed opportunities for use of more
effective treatments (including seeing a doctor if needed).
However, other significant effects on consumers may be anticipated if oral PE is no longer available for
purchase that are potentially negative in nature. Most consumers may simply need instruction on the
alternatives, including how to obtain ‘behind-the-counter’ pseudoephedrine or to use alternative
treatments, including intranasal decongestants (including intranasal PE), intranasal steroids, intranasal
antihistamines, or intranasal saline products. However, availability of oral pseudoephedrine, while
subject to interstate commerce and thus the CMEA, is also subject to additional restrictions that may be
imposed by states. Therefore, it may not be available to all consumers, depending upon locality. Further,
some consumers may believe that [oral] PE is helpful to them, resulting in frustration and anger if it is no
longer available to purchase. Still other consumers may switch to competing treatments that have their
own risks, benefits, and limitations of use.
Thus, in addition to asking you the AC members to focus on the scientific evidence regarding the
effectiveness of oral PE as a decongestant, we ask that you also address any potential unintended
consequences that may arise should the Agency take an action to change the GRASE status of oral PE.
We will provide some context for this discussion by asking experts to discuss the available approved Rx
and OTC therapies at the NDAC meeting, and we will ask you to focus on other risk management and
risk communication strategies, including educational plans for how to avoid unintended risks with use of
other OTC products, safety issues related to the use of drugs that contain other active ingredients, and


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safety issues related to the off-label use of other products or ingredients, including use of homeopathic
and ‘nutraceutical’ products that are largely unregulated. We will also ask you to focus on the education
of consumers regarding alternatives to phenylephrine (including both oral and intranasal products), how
to obtain pseudoephedrine from behind-the-counter, and education of consumers who have a
preference for phenylephrine regarding why it is being removed from the market.
We anticipate that we would work with communication specialists within the Agency, professional
organizations, industry, and consumer organizations as part of a comprehensive strategy to address
these issues, and we welcome your input into that strategy.
We thank you in advance for your thoughtful participation.




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products-treatment-guidance-industry.


       Links to Important Resources

Cold, Cough, Allergy, Bronchodilator and Antiasthmatic Drug Products for OTC Human Use Monograph
The CCABA OTC Monograph (including all amendments) was deemed a Final Order (OTC Monograph
M012, Order Number OTC000026, posted on the FDA web portal on October 14, 2022) under the CARES
Act (Coronavirus Aid, Relief, and Economic Security Act, signed into law on March 27, 2020:
https://www.govinfo.gov/content/pkg/COMPS-15754/pdf/COMPS-15754.pdf). M012 is available at:
https://dps.fda.gov/omuf/monographsearch/monograph m012.

2007 Phenylephrine Citizen Petition
Hendeles L, Hatton RA, Winterstein AG. Citizen Petition – Phenylephrine. Docket ID: FDA-2007-P-108
(formerly FDA-2007-P-0047/CP1), available at: https://www.regulations.gov/docket/FDA-2007-P-0108.



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2007 Nonprescription Drugs Advisory Committee Meeting
NDAC meeting held on December 14, 2007. Information available at: https://wayback.archive-
it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDru
gs.

2007 Joint Nonprescription Drugs and Pediatric Advisory Committee Meeting
Meeting held on October 18 and 19, 2007. Information available at: https://wayback.archive-
it.org/7993/20170403222236/https://www.fda.gov/ohrms/dockets/ac/cder07.htm#NonprescriptionDru
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2015 Phenylephrine Citizen Petition
Hendeles L, Hatton RA. Citizen Petition – Phenylephrine. Docket ID: FDA-2015-P-4131, available at:
https://www.regulations.gov/docket/FDA-2015-P-4131.

       Appendix With Supplementary Tables
         TFM Comment 11 for ANPR Reference 25
TFM Comment 11 noted that the ANPR had cited a study that did not contain the information
referenced in the text. This study had been reported as a double-blind, placebo-controlled, crossover
study in 20 patients with chronic rhinitis, which not only could not demonstrate any significant decrease
in NAR after doses of 10, 20, or 40 mg of phenylephrine, but also showed significant decreases in NAR
persisting for at least 3 hours after two positive controls (40 mg of PPA or 60 mg of PSE).
The problem, however, is that the citation in the text (Rogers, Reilly, and Bickerman 1973, reference 25)
is for a conference abstract of a study stated to have been performed in 104 subjects with chronic
rhinitis, with no further data provided with regard to doses studied or the results. This discrepancy was
noted in the 1985 TFM Comment 11,68 which noted that several citations to reference 25 in the ANPR
body text are incorrect in that no data are contained in reference. In response, the Agency stated that
the actual citation could not be found, although the Agency’s response did note that several other ANPR
citations to reference 25 were in fact citing an earlier publication by the same authors published 2 years
previously (Bickerman 1971), the results of which are presented in Table 11 at the end of the Negative
Original Studies section.
With the exception of the number of subjects studied, we note that the title of the publication and the
description of the study parameters (including study population, trial design, study arms, and studied
ingredients and doses) in the ANPR text exactly match a much fuller description provided in the earlier
1971 publication. Further, the cited abstract also matches with their earlier publication. Therefore, we
believe it likely that this was the origin of the data cited in the ANPR, and that abstract cited simply is an
update for the previous publication and study, with additional arms that had not been previously
included in the earlier publication. For this same reason, we also believe that the number of subjects
who the ANPR cited are incorrect, especially since no other study that we reviewed included either that
number of subjects or those study arms. Further, after extensive publication searches, we were unable
to find any other studies of oral PE from this time period not included in this document. Since the


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     50 FR 2220 (January 15, 1985) at 2226, Comment 11.


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original Panel comprised experts in the field, it is also possible that the Panel had access to information
not in the cited abstract (i.e., in reference 25) that had been presented at that conference but were not
in the abstract text.
Therefore, while the ANPR only cited the 1973 reference, we believe that it should have cited both the
1971 and 1973 references as the source of the material in the text. Note that the results published by
Bickerman in 1971 were republished (with permission) by the petitioners in graphical format (Figure 6)
in 1993 (Hendeles 1993) and again in 2006 (Hendeles and Hatton 2006), and discussed by the
petitioners at the NDAC meeting in 2007. Please see the 2007 NDAC Presentation for details.

      Supplementary Tables
Table 15. Oral PE Efficacy Studies Reviewed by the 1976 Cough-Cold Panel
Study/Site Info/     Drugs/
Docket Number        Doses         N Study Design and Results
Sterling-Winthrop    PE 10        15 This was an early, preparatory study for the 10 studies from
(Lands to Luduena) PE 25             Sterling-Winthrop, including 5 Elizabeth, 3 Cintest, and 2
5-23-59)             PE 50           Huntingdon studies.
Ref 5                PE 75           10, 25, 50 and 75 mg of PEH (Neo-Synephrine) were compared
                     PPA 50          with 25 and 50 mg of PPA (Propadrine) in 15 subjects in a
                     PPA 75          double-blind, placebo-controlled, crossover design. NAR
                     Placebo         methodology: Sterntein and Schur.
                                     Only minor changes SBP were noted at 1 and 2 hours postdosing
                                     after PE, and no significant effects on NAR readings were noted
                                     for any dose of PE, whereas significant effects were noted for
                                     PPA at 1 hour postdosing. The findings were said to suggest that
                                     50 mg of PPA and 75 mg of PE are the threshold oral doses for
                                     these drugs.
Elizabeth 1          PE 25        12 Conducted at Elizabeth Biochemical Labs, and study report by
(Hulme to Suter      Eph 8        13 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
6-28-67)             Placebo      25 NY.
Ref 6                                Two-way crossover in 25 patients with colds. Two sets of
                                     treatment groups: PE 25 mg vs. placebo (n=12), or ephedrine
                                     8 mg vs. placebo (n=13). Evaluations 24 hours apart. Testing to
                                     120 minutes. Endpoints: Airway resistance and symptoms. NAR
                                     methodology: not described.
                                     Both actives were effective vs. placebo.
Elizabeth 2          PE 10        16 Conducted at Elizabeth Biochemical Labs, and study report by
(Hulme to            PE 15        10 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
Wessinger 1-12-68) PE 25           6 NY.
Ref 7                Eph 50        6 2-way crossover in 38 subjects with demonstrable congestion
                     Placebo      38 (cause not stated): PE 10 mg vs. placebo (n=16), PE 15 mg vs.
                                     placebo (n=10), PE 25 mg vs. placebo (n=6), Eph 50 mg vs.
                                     placebo (n=6). Evaluations 24 hours apart. Testing to
                                     120 minutes. Endpoints: Airway resistance and symptoms.
                                     There was a highly significant difference among patient
                                     responses over the 0, 15, and 30-minute predosing time periods,
                                     with a consistent trend toward increased NAR as related to time
                                     of observation, and the last observation was used as baseline.
                                     There were also differences between the right and left nostrils on
                                     the first day of testing. While less on the second day, there was
                                     significant variation between patients. Used an average of
                                     repeated measurements from both nostrils to deal with this
                                     variability. All actives were reported as effective vs. placebo.



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Elizabeth 3         PE 5       16 Conducted at Elizabeth Biochemical Labs, and study report by
(Hulme to           PE 15      10 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
Blackmore 6-2-69)   PE 25      10 NY.
Reference 8         PPA 50     10 2-way blinded crossover in 46 subjects with colds: PE 5 mg vs.
                    Placebo    46 placebo (n=16), PE 15 mg vs. placebo (n=10), PE 25 mg vs.
                                  placebo (n=10), phenylpropanolamine (PPA) 50 mg vs. placebo
                                  (n=10). Evaluations 24 hours apart. Testing to 240 minutes.
                                  Endpoints: Airway resistance, symptoms, pulse, BP. NAR
                                  methodology: Modified Butler-Ivy procedure.
                                  All actives were effective vs. placebo, although no differences in
                                  symptoms at 5 mg vs. placebo, no dose-response relationship
                                  noted, and PPA was more effective than any dose of PE.
                                  Variable results with pulse and BP, with no clinically relevant
                                  differences in SBP or DBP vs. placebo at the 25 mg PE dose.
Elizabeth 4         PE 15       6 Conducted at Elizabeth Biochemical Labs, and study report by
(Hulme to           PE 20       5 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
Blackmore           PE 25       9 NY.
8-11-69)            Placebo    25 2-way double-blinded crossover in 20 subjects with colds: PE
Reference 9                       15 mg vs. placebo (n=6), PE 20 mg vs. placebo (n=5), PE 25 mg
                                  vs. placebo (n=9). However, not completed as envisioned due to
                                  lack of subjects. Evaluations 24 hours apart. Testing to
                                  240 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                  NAR methodology: Modified Butler-Ivy procedure.
                                  All actives were effective vs. placebo for NAR results, but no
                                  difference for symptoms at 25 mg. No clinically relevant
                                  differences in pulse, SBP, or DBP vs. placebo.
Elizabeth 5         PE 10      10 Conducted at Elizabeth Biochemical Labs, and study report by
(Hulme to           PE 15       6 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
Blackmore           PE 25       9 NY.
5-27-70)            Placebo    25 2-way double-blinded crossover in 25 subjects with colds: PE
Reference 10                      10 mg vs. placebo (n=10), PE 15 mg vs. placebo (n=6), PE
                                  25 mg vs. placebo (n=9). Planned 46, but only enrolled 25
                                  subjects. NAR methodology: Modified Butler-Ivy procedure.
                                  All actives were effective vs. placebo for NAR results with dose
                                  ordering. No clinically relevant differences in pulse, SBP, or DBP
                                  vs. placebo.
Blanchard et al.    NA         NA This is a publication that the ANPR cited to support effectiveness
1964                              of oral PE. It is stated to have been conducted over a 3-year
Reference 19                      period in hundreds of patients at the University of Maryland.
                                  However, it cannot be used to support the effectiveness of oral
                                  PE because the actual products and dosing are not stated, AND
                                  where it describes use of an oral decongestant is only in
                                  combination with antihistamine and an analgesic in a
                                  commercially available product or as part of extended-release
                                  medication that includes two vasoconstrictors, an antihistamine
                                  and an analgesic Therefore, this study is of no value despite the
                                  fact that the ANPR cited it as such.




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Huntingdon 1       PE 10        16 Conducted at Huntingdon Research Center, and study report by
(Hulme to          PE 25        16 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
Blackmore          PPA 50       16 NY, with the express interest to confirm data from previous
5-13-69)           Placebo      48 Elizabeth studies. Design the same as Cintest Labs 1 study.
Reference 20                       No significant differences between PE 10 or PE 25 mg and
                                   placebo at 45 or 60 minutes, whereas PPA 50 mg vs. placebo
                                   was significant (although the magnitude of differences were not
                                   as great as expected). Missing data so no subjective scoring.
                                   Large variability in results and different or inexperienced
                                   technicians blamed for lack of positive results.
Huntingdon 2       PE 10        25 Conducted at Huntingdon Research Center, and study report by
(Hulme to          PE 20        25 N.A. Hulme at Sterling-Winthrop Research Institute, Rensselaer,
Blackmore          Placebo      50 NY, with the express interest to confirm data from previous
6-26-69)                           Elizabeth studies.
Reference 21                       2-way double-blinded crossover in 50 subjects with colds: PE
                                   10 mg vs. placebo (n=25), PE 20 mg vs. placebo (n=25).
                                   Evaluations 24 hours apart. Testing to 240 minutes. Endpoints:
                                   Airway resistance, symptoms, pulse, BP.
                                   No significant difference between 10 mg vs. placebo, and only
                                   significant timepoint for 20 mg vs. placebo was at 45 minutes.
                                   Subjective comparisons not attempted due to lack of positive
                                   NAR findings. No significant pulse or BP findings. Different or
                                   inexperienced technicians blamed for lack of positive results.
Cintest 1          PE 10        16 First study conducted at Cintest Division of Hill Top Laboratories,
(Hulme to          PE 25        16 Cincinnati, OH, and study report by N.A. Hulme at Sterling-
Blackmore          PPA 50       16 Winthrop Research Institute, Rensselaer, NY.
4-10-69)           Placebo      48 2-way double-blinded crossover in 48 subjects with colds: PE
Reference 22                       10 mg vs. placebo (n=16), PE 20 mg vs. placebo (n=16), PPA
                                   50 mg vs. placebo (n=16). Evaluations 24 hours apart. Testing to
                                   240 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                   Limited periods of differences noted: 90-180 minutes for PE
                                   10 mg vs. placebo, 120-240 minutes for PE 25 mg vs. placebo,
                                   and 60-120 minutes for PPA 50 mg vs. placebo. No difference in
                                   symptoms at PE 25 mg vs. placebo. Large variability in results,
                                   operator technique blamed for lack of positive findings.
Cintest 2          PE 10        16 Second study conducted at Cintest Division of Hill Top
(Hulme to          PE 15        16 Laboratories, Cincinnati, OH, and study report by N.A. Hulme at
Blackmore          PE 20        16 Sterling-Winthrop Research Institute, Rensselaer, NY.
1-23-70)           Placebo      48 2-way double-blinded crossover in 48 subjects with colds: PE
Reference 23                       10 mg vs. placebo (n=16), PE 15 mg vs. placebo (n=16), PE
                                   20 mg vs. placebo (n=16). Evaluations 24 hours apart. Testing to
                                   240 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                   Failed study: No significant difference between any PE treatment
                                   group and placebo for NAR, symptom scores, pulse, or BP. No
                                   reason why—same instrument and technicians. Discussed
                                   technique with Elizabeth Biochemical and observed technician
                                   giving the testing—no obvious problem found.




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Study/Site Info/      Drugs/
Docket Number         Doses        N Study Design and Results
Cintest 3             PE 10       16 Third study conducted at Cintest Division of Hill Top Laboratories,
(Hulme to             PE 15       16 Cincinnati, OH, and study report by N.A. Hulme at Sterling-
Blackmore             PE 25       16 Winthrop Research Institute, Rensselaer, NY.
5-18-70)              Placebo     48 2-way double-blinded crossover in 48 subjects with colds: PE
Reference 24                         10 mg vs. placebo (n=16), PE 15 mg vs. placebo (n=16), PE
                                     25 mg vs. placebo (n=16). Evaluations 24 hours apart. Testing to
                                     120 minutes. Endpoints: Airway resistance, symptoms, pulse, BP.
                                     Indistinguishable results between PE 10 mg vs. placebo. Minimal
                                     differences between PE 15 or PE 25 mg vs. placebo. No
                                     differences in subjective findings.
Rogers et al., 1973   NA         NA Physiologic and Pharmacologic Studies on Nasal Airway
Reference 25                         Resistance. Abstract presented at the American Society for
                                     Clinical Pharmacology and Therapeutics, March 22, 1973.
                                     Evaluated 5 topical and 10 oral nasal decongestants at varying
                                     dose levels in a double-blind crossover design in subjects with
                                     “reversible chronic, non-atopic nasal congestion”, but the drugs
                                     and doses were not stated. Primary endpoint was nasal airflow
                                     and trans-oro-nasal pressures. Because it is an abstract no
                                     treatment arms are stated, nor are the number of subjects noted.
                                     However, we believe that what was cited as reference 25 in the
                                     ANPR was actually information based on an earlier publication by
                                     Bickerman et al. in 1971 that contained the following:
Bickerman et al.      PE 10       57 These were studies in 47 healthy volunteers and 57 patients who
1971                  PSE 60         had a history of chronic rhinitis which was for the most part non-
                      PPA 40         atopic. Day-to-day and in-day variations were noted, after which
                      Placebo        pharmacologic studies were done in a double-blind, crossover
                                     fashion in the patients with chronic non-seasonal rhinitis. NAR
                                     evaluations included the following treatment arms: Intranasal
                                     placebo and oxymetazoline sprays; oral placebo, PSE 60 mg,
                                     PPA 4 mg, and PEH 10 mg. PSE results were highly significant
                                     starting at ½ hour and continuing through 4 hours. PPA results
                                     were significant at ½ hour up to 3 hours, and PE was only
                                     significant (p=0.3 level) at 3 hours (see Figure 6).
BEI 1025              PE 10 mg   100 This study was conducted for Whitehall Laboratories. The
(Cohen 6-1975)        q4h ×3         location and objective methodology used in the study were not
Reference 26          doses          included in the report.
                      Placebo    100 Double-blind, placebo-controlled study in 200 subjects with colds,
                                     who were treated with 4 doses of PE 10 mg or placebo every
                                     4 hours and evaluated over 12.5 hours post-first dose. 50
                                     subjects (PE 10 mg, n=25; placebo, n=25) who were evaluated
                                     with NAR testing over the first 120 minutes and subjective
                                     symptom scores for stuffy nose (i.e., congestion), runny nose,
                                     sneezing, itching (eyes and nose), coughing, muscle ache over
                                     the full treatment period. 150 subjects (PE 10 mg, n=75; placebo,
                                     n=75) were evaluated only with congestion symptom scores. The
                                     results were then pooled. Protocol not fully described in the
                                     summary report. Symptom scores at various timepoints post-
                                     dosing.
                                     Results were significant for both objective and subjective
                                     symptom scores when compared with placebo.




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Docket Number            Doses            N Study Design and Results
McLauren et al.,         PE 10           88 This study is included in the ANPR to support the safety, but not
1960                     PSE 60             the effectiveness of oral PE. It is included for completeness.
Reference 11             Eph 25             Randomized, double-blind, placebo-controlled 5-way crossover
                         PPA 25             study in 88 subjects with various reasons for congestion.
                         Placebo            Subjects were asked to take two doses of medication, the first
                                            dose in center and the second dose at home 5-6 hours later
                                            60 minutes before bed. Airway resistance was measured
                                            predose and 60 minutes postdose. Symptoms were measured
                                            at 60 minutes, reflectively 1 hour after taking the second dose
                                            the next morning , and reflectively 1 hour before going to sleep
                                            that evening. Of the 130 subjects enrolled in the study, 88
                                            completed all 5 treatments. Unfortunately, the data tables do not
                                            convey the numbers in each treatment group, making
                                            interpretation of the results problematic. However, 11, 7, 1, 14,
                                            and 5 subjects experienced a 20 mm or more increase in
                                            systolic BP (presumably at the 60-minute time point) after
                                            placebo, PSE, PE, PPA, and ephedrine, respectively. As a
                                            result, the BP findings were not significant. Similar findings were
                                            noted for HR. Subjective “airway” changes showed PE to be the
                                            least effective, although placebo had about as much
                                            improvement as the other treatment groups. With regard to
                                            change in rhinometric evaluations, the slopes of the regression
                                            lines were not significant for any of the treatments except
                                            ephedrine. Therefore, this could be considered to have been a
                                            failed study.
Abbreviations: BP, blood pressure; DBP, diastolic blood pressure; Eph, ephedrine; NAR, nasal airway resistance; PE,
phenylephrine; PEH, phenylephrine hydrochloride; PPA, phenylpropanolamine; PSE, pseudoephedrine; q4h, every 4 hours;
SBP, systolic blood pressure




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Table 16. Monograph Ingredients Contained in the Over-the-Counter (OTC) Cough and Cold Drug Products
Antihistamine                   Decongestant                   Expectorant Antitussive                                                               Bronchodilator
Oral Products
Brompheniramine maleate2        Phenylephrine hydrochloride1,3 Guaifenesin1 Chlophedianol hydrochloride2                                             Ephedrine2,3
                              2
Chlorcyclizine hydrochloride    Phenylephrine bitartrate3                   Codeine2,4,5                                                             Ephedrine hydrochloride2,3
                            2
Chlorpheniramine maleate        Pseudoephedrine                             Codeine phosphate2,4,5                                                   Ephedrine sulfate2,3
Dexbrompheniramine maleate2 hydrochloride1,3                                Codeine sulfate2,4,4                                                     Racephedrine
Dexchlorpheniramine maleate2 Pseudoephedrine sulfate1,3                     Dextromethorphan1                                                        hydrochloride2,3
                         2,5
Diphenhydramine citrate                                                     Dextromethorphan hydrobromide1
Diphenhydramine                                                             Diphenhydramine citrate2,5
              2,4,5
hydrochloride                                                               Diphenhydramine hydrochloride2,4,5
                       2
Doxylamine succinate
Phenindamine tartrate2
Pheniramine maleate2
Pyrilamine maleate2
Thonzylamine hydrochloride2
Triprolidine hydrochloride2
Topical and/or Inhaled Products
                                Levmetamfetamine                            Camphor                                                                  Epinephrine
                                Ephedrine3                                  Menthol                                                                  Epinephrine bitartrate
                                Ephedrine hydrochloride3                                                                                             Racepinephrine
                                Ephedrine sulfate3                                                                                                   hydrochloride
                                Naphazoline hydrochloride
                                Oxymetazoline hydrochloride
                                Phenylephrine hydrochloride
                                Propylhexedrine
                                Xylometazoline hydrochloride
Source: Monographs listed below.
1
  Four ingredients have OTC labeling down to 2 years of age: Dextromethorphan and dextromethorphan hydrochloride, guaifenesin, phenylephrine hydrochloride, and both
  pseudoephedrine salts.
2
  Professional labeling is available at the end of the monograph with dosing down to 2 years of age, with two exceptions: A) triprolidine has professional labeling down to 4 months of
  age, and B) guaifenesin has OTC labeling down to 2 years of age and professional labeling stating that single-ingredient guaifenesin may be used for treatment of “stable chronic
  bronchitis.”
3
  Pseudoephedrine and ephedrine ingredients are behind-the-counter.
4
  Diphenhydramine hydrochloride is also in the Antiemetic Drug Products for OTC Human Use Monograph (M009 previously 21 CFR § 336), with dosages for adults and children
  12 years of age and over (25 to 50 mg every 4 to 6 hours, not to exceed 300 mg in 24 hours, or as directed by a doctor) and children 6 to 11 years (12.5 to 25 mg every 4 to 6 h, not
  to exceed 150 mg in 24 hours).
5
  Diphenhydramine hydrochloride and diphenhydramine citrate are also in the Nighttime Sleep-Aid Drug Products for Over-the-Counter Human Use monograph (M010 previously 21
  CFR § 338). For diphenhydramine hydrochloride, the dosage is for adults and children 12 years of age and over (50 mg at bedtime as needed, or as directed by a doctor). For
  diphenhydramine citrate, the dosage is for adults and children 12 years of age and over (76 mg at bedtime prn, or as directed by a doctor).




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Table 17. CCABA Monograph Oral Ingredients: OTC and Professional Dosages and Age Groups*
                                                              OTC Dosage
                             Adults and Children                                                          Professional Ages and
Ingredient                   12 years and Older        6-11 years                    2-5 years            Dosage
Antihistamines – M012.72(d) (previously 21 CFR 341.72 (d))
Brompheniramine maleate      4 mg q4-6h, NTE           2 mg q4-6h, NTE 12 mg/24h, or Consult a doctor     2-5y: 1 mg q4-6 h, NTE
                             24 mg/24h, or as directed as directed                                        6 mg/24h
Chlorcyclizine hydrochloride 25 mg q6-8h, NTE          Consult a doctor              Consult a doctor     6-11y: 12.5 mg q6-8h, NTE
(*dosed q6-8h)               75 mg/24h, or as directed                                                    37.5 mg/24h
                                                                                                          2-5y: 6.25 mg q6-8h, NTE
                                                                                                          18.75 mg/24h
Chlorpheniramine maleate    4 mg q4-6h, NTE              2 mg q4-6h, NTE 12 mg/24h, or Consult a doctor   2-5y: 1 mg q4-6h, NTE
                            24 mg/24h, or as directed    as directed                                      6 mg/24h
Dexbrompheniramine maleate 2 mg q4-6h, NTE               1 mg q4-6h, NTE 6 mg/24h, or Consult a doctor    2-5y: 0.5 mg q4-6h, NTE
                            12 mg/24h, or as directed    as directed                                      3 mg/24h
Dexchlorpheniramine maleate 2 mg q4-6h, NTE              1 mg q4-6h, NTE 6 mg/24h, or Consult a doctor    2-5y: 0.5 mg q4-6h, NTE
                            12 mg/24h, or as directed    as directed                                      3 mg/24h
Diphenhydramine citrate     38 to 76 mg q4-6h, NTE       19 to 38 mg q4-6h, NTE        Consult a doctor   2-5y: 9.5 mg q4-6h, NTE
                            456 mg/24h, or as directed   228 mg/24h, or as directed                       57 mg/24h
Diphenhydramine             25 to 50 mg q4-6h, NTE       12.5 to 25 mg q4-6h, NTE      Consult a doctor   2-5y: 6.25 mg q4-6h, NTE
hydrochloride               300 mg/24h, or as directed   150 mg/24h, or as directed                       37.5 mg/24h
Doxylamine succinate1       7.5 to 12.5 mg q4-6h, NTE    3.75 to 6.25 mg q4-6h, NTE    Consult a doctor   2-5y: 1.9 to 3.25 mg q4-6h,
                            75 mg/24h, or as directed    37.5 mg/24h, or as directed                      NTE 18.75 mg/24h
Phenindamine tartrate       25 mg q4-6h, NTE             12.5 mg q4-6h, NTE            Consult a doctor   2-5y: 6.25 mg q4-6h, NTE
                            150 mg/24h, or as directed   75 mg/24h, or as directed                        37.5 mg/24h
Pheniramine maleate         12.5 to 25 mg q4-6h, NTE     6.25 to 12.5 mg q4-6h, NTE    Consult a doctor   2-5y: 3.125 to 6.25 mg q4-
                            150 mg/24h, or as directed   75 mg/24h, or as directed                        6h, NTE 37.5 mg/24h
Pyrilamine maleate          25 to 50 mg q6-8h, NTE       12.5 to 25 mg q6-8h, NTE      Consult a doctor   2-5y: 6.25 to 12.5 mg q6-
                            200 mg/24h, or as directed   100 mg/24h, or as directed                       8h, NTE 50 mg/24h
Thonzylamine hydrochloride  50 to 100 mg q4-6h, NTE      25 to 50 mg q4-6h, NTE        Consult a doctor   2-5y: 12 to 25 mg q4-6h,
                            600 mg/24h, or as directed   300 mg/24h, or as directed                       NTE 150 mg/24h
Triprolidine hydrochloride  2.5 mg q4-6h, NTE            1.25 mg q4-6h, NTE 5 mg/24h, Consult a doctor    4-5y: 0.938 mg q4-6h, NTE
(*has infant dosing)        10 mg/24h, or as directed    or as directed                                   3.744 mg/24h
                                                                                                          2-3y: 0.625 mg q4-6h, NTE
                                                                                                          2.5 mg/24h
                                                                                                          Infants 4m to-<2y:
                                                                                                          0.313 mg q4-6h, NTE
                                                                                                          1.252 mg/24h



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                                                               OTC Dosage
                             Adults and Children                                                             Professional Ages and
Ingredient                   12 years and Older         6-11 years                     2-5 years             Dosage
Oral Antitussives – M012.74(d)(1) (Previously 21 CFR 341.74 (d)(1))
Chlophedianol hydrochloride  25 mg q6-8h, NTE           12.5 mg q6-8h, NTE             Consult a doctor      2-5y: 12.5 mg q6-8 h, NTE
                             100 mg/24h, or as directed 50 mg/24h, or as directed                            50 mg/24h
Codeine, codeine phosphate, 10 to 20 mg q4-6h, NTE      5 to 10 mg q4-6h, NTE          Consult a doctor      2-5y: 1 mg/kg of body
and codeine sulfate          120 mg/24h, or as directed 60 mg/24h, or as directed                            weight as 4 equally divided
                                                        Use a special measuring                              doses, or
                                                        device.                                              2y (~12 kg): 3 mg q4-6h,
                                                                                                             NTE 12 mg/24h
                                                                                                             3y (~14 kg): 3.5 mg q4-6h,
                                                                                                             NTE 14 mg/24h
                                                                                                             4y (~16 kg): 4 mg q4-6h,
                                                                                                             NTE 16 mg/24h
                                                                                                             5y (~18 kg): 4.5 mg q4-6h,
                                                                                                             NTE 18 mg/24h
                                                                                                             Use a calibrated measure.
                                                                                                             Adjust for low weight.
                                                                                                             Children <2 y are more
                                                                                                             susceptible to respiratory
                                                                                                             depression, coma, death.
Dextromethorphan and          10 to 20 mg q4h, or 30 mg 5 to 10 mg q4h, or 15 mg q6-   2.5 to 5 mg q4h, or   --
dextromethorphan              q6-8h, NTE 120 mg/24h, or 8h, NTE 60 mg/24h, or as       7.5 mg q6-8h, NTE
hydrobromide                  as directed               directed                       30 mg/24h, or as
                                                                                       directed
Diphenhydramine citrate      38 mg q4h, NTE             19 mg q4h, NTE 114 mg/24h      Consult a doctor      2-5y: 9.5 mg q4-6h, NTE
341.14(a)(5)                 228 mg/24h                                                                      57 mg/24h
Diphenhydramine              25 mg q4h, NTE             12.5 mg q4h, NTE 75 mg/24h,    Consult a doctor      2-5y: 6.25 mg q4-6h, NTE
hydrochloride 341.14(a)(6)   150 mg/24h, or as directed or as directed                                       37.5 mg/24h
Oral Bronchodilators – M012.76(d)(1) (Previously 21 CFR 341.76(d)(1))
Ephedrine, ephedrine         12.5 to 25 mg q4h prn,     Ask a doctor                   Ask a doctor          6-11y: 6.25 to 12.5 mg
hydrochloride, ephedrine     NTE 150 mg/24h                                                                  q4h, NTE 75 mg/24h
sulfate, and racephedrine                                                                                    2-5y: 0.3 to 0.5 mg/kg of
hydrochloride                                                                                                body weight q4h, NTE
                                                                                                             2 mg/kg/24h
Expectorants – M012.78(d) (Previously 21 CFR 341.78 (d))
Guaifenesin                  200 to 400 mg q4h, NTE    100 to 200 mg q4h, NTE          50 to 100 mg q4h,     OK as a single ingredient
                             2400 mg/24h               1200 mg/24h                     NTE 600 mg/24h        for “stable chronic
                                                                                                             bronchitis” (same dosage)

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                                                             OTC Dosage
                            Adults and Children                                                                                                        Professional Ages and
Ingredient                  12 years and Older         6-11 years                                                       2-5 years                      Dosage
Oral Nasal Decongestants – M012.80(d)(1) (Previously 21 CFR 341.80 (d)(1))
Phenylephrine hydrochloride 10 mg q4h, NTE             5 mg q4h, NTE 30 mg/24h                                          2.5 mg q4h, NTE                --
                            60 mg/24h                                                                                   15 mg/24h
Phenylephrine bitartrate    15.6 mg q4h, NTE           7.8 mg q4h, NTE 31.2 mg/24h                                      Ask a doctor                   --
                            62.4 mg/24h
Pseudoephedrine             60 mg q4-6h, NTE           30 mg q4-6h, NTE 120 mg/24h                                      15 mg q4-6h, NTE               --
hydrochloride and           240 mg/24h                                                                                  60 mg/24h
pseudoephedrine sulfate
Source: CCABA Monograph.
* This table presents only the dosing directions for each ingredient. Warnings and other labeling are NOT shown.
1
  Although the Panel recommended OTC dosages of 7.5 to 12.5 mg, the original Proposed Rule proposed that the OTC dose of doxylamine succinate be limited to 7.5 mg (41 FR
38312, 1976-9-9 at 38313).
Abbreviations: 6-11y, 6 to 11 years (i.e., “6 to under 12 years”); 2-5y, 2 to 5 years (i.e., “2 to under 6 years”); CCABA, Cough, Cold, Allergy, Bronchodilator, and Antiasthma; NTE, not
to exceed; OTC, over-the-counter; q4h, once every 4 hours; q4-6h, once every 4-6 hours; q6-8h, once every 4-8 hours




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Table 18. CCABA Monograph Topical and/or Inhaled Ingredients: OTC Dosages and Age Groups1
                                                                    OTC Dosage (No Professional Labeling)
                               Adults and Children
Ingredient                     12 Years and Older                       6-11 Years                               2-5 Years
Topical Antitussives – M012.74(d)(2) (Previously 21 CFR 341.74 (d)(2))
Camphor Ointment (4.7 to       Adults and children 2 years and older: Rub on throat and chest in a thick layer up to 3 times/day
5.3%)
Menthol Ointment (2.6 to       Adults and children 2 years and older: Rub on throat and chest in a thick layer up to 3 times/day
2.8%)
Menthol Lozenge (5 to 10 mg) “Adults and children 2 to under 12 years of age: Allow lozenge to dissolve slowly in the mouth. May be repeated
                               every hour prn, or as directed
Camphor for Inhalation (6.2%) “[bullet] adults and children 2 years and older: (select one of the following, as appropriate: For products
                               formulated to be added directly to cold water inside a hot steam vaporizer. [bullet] use 1 tablespoonful of solution
                               for each quart of water or 1 1/2 teaspoonfuls of solution for each pint of water [bullet] add solution directly to cold
                               water only in a hot steam vaporizer [bullet] follow manufacturer's directions for using vaporizer or For products
                               formulated to be placed in the medication chamber of a hot steam vaporizer. [bullet] place water in the vaporizer
                               and follow manufacturer's directions for using vaporizer [bullet] place solution in the medication chamber only)
                               [bullet] breathe in the medicated vapors [bullet] use up to three times daily or as directed by a doctor [bullet]
                               children under 2 years of age: Ask a doctor.”
Menthol for Inhalations (3.2%) “[bullet] adults and children 2 years and older: (select one of the following, as appropriate: For products
                               formulated to be added directly to cold water inside a hot steam vaporizer. [bullet] use 1 tablespoonful of solution
                               for each quart of water or 1½ teaspoonfuls of solution for each pint of water [bullet] add solution directly to cold
                               water only in a hot steam vaporizer [bullet] follow manufacturer's directions for using vaporizer or For products
                               formulated to be placed in the medication chamber of a hot steam vaporizer. [bullet] place water in the vaporizer
                               and follow manufacturer's directions for using vaporizer [bullet] place solution in the medication chamber only)
                               [bullet] breathe in the medicated vapors [bullet] use up to three times daily or as directed by a doctor [bullet]
                               children under 2 years of age: Ask a doctor.
Inhaled Bronchodilators – M012.76(d)(2) (Previously 21 CFR 341.76(d)(2))
Epinephrine, epinephrine       Adults and children 4 years of age and older: 1-3 inhalations not more than every          Under 4 years of age: Ask
bitartrate, and racepinephrine 3 hours, NTE 12 inhalations/24 hours                                                       a doctor
hydrochloride (1% aq soln)




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                                                                    OTC Dosage (No Professional Labeling)
                                Adults and Children
Ingredient                      12 Years and Older                     6-11 Years                             2-5 Years
Intranasal Decongestants – M012.80(d)(2) (Previously 21 CFR 341.80(d)(2))
Levmetamfetamine: Inhalation “Adults: 2 inhalations in each nostril    (with adult supervision) 1 inhalation Ask a doctor
(800 mL air, 0.4 to 0.150 mg of not more often than every 2 hours.”    in each nostril NMT q2h
levmetamfetamine)
Ephedrine, ephedrine            2 or 3 drops or sprays in each nostril (With adult supervision) 1 or 2 drops Consult a doctor
hydrochloride, and ephedrine no more often than q4h                    or sprays in each nostril no more
sulfate: Nasal Drops or Spray                                          often than q4h
(0.5% aqueous solution)
Ephedrine, ephedrine            “Adults and children 6 to under 12 years of age (with adult supervision):     NOT STATED
hydrochloride, and ephedrine place a small amount in each nostril and inhale well back into the nasal
sulfate: Nasal Jelly (0.5%      passages. Use not more often than every 4 hours.”
water-based jelly)
Naphazoline hydrochloride:      1 or 2 drops or sprays in each nostril Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (0.5%      NMT q6h
aqueous solution)
Naphazoline hydrochloride:      --                                     (With adult supervision) 1 or 2 drops Consult a doctor
Nasal Drops or Spray (0.25%                                            or sprays in each nostril NMTq6h
aqueous solution)
Naphazoline hydrochloride       Place a small amount in each nostril Do not give to children under 12 years of age unless directed by a doctor.
Nasal Jelly (0.5% water-based and inhale well back into the nasal
jelly)                          passages, NMT q6h
Naphazoline hydrochloride       --                                     (With adult supervision) Place a       Consult a doctor
Nasal Jelly (0.25% water-                                              small amount in each nostril and
based jelly)                                                           inhale well back into the nasal
                                                                       passages, not more often than q6h
Oxymetazoline hydrochloride “Adults and children 6 to under 12 years of age (with adult supervision): 2 or Consult a doctor
Nasal Spray or Drops (0.05% 3 drops or sprays in each nostril not more often than every 10 to 12 hours.
aqueous solution)               Do not exceed 2 doses in any 24-hour period.”
Oxymetazoline hydrochloride --                                                                                2 or 3 drops or sprays in each
(0.025% aqueous solution                                                                                      nostril not more often than q10-
delivered by calibrated dropper                                                                               12h, NTE 2 doses in any 24-hour
or metered-dose spray that                                                                                    period
delivers NMT 0.027 mg per 3
drops or 3 sprays)




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                                                                    OTC Dosage (No Professional Labeling)
                                Adults and Children
Ingredient                      12 Years and Older                     6-11 Years                             2-5 Years
Oxymetazoline hydrochloride     “Adults and children 6 to under 12 years of age (with adult supervision):     Consult a doctor
Nasal Jelly (0.05-percent       place a small amount in each nostril and inhale well back into the nasal
water-based jelly)              passages. Use not more often than every 10 to 12 hours. Do not exceed 2
                                doses in any 24-hour period.”
Phenylephrine hydrochloride     2 or 3 drops or sprays in each nostril Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (1 %       NMT q4h
aqueous solution)
Phenylephrine hydrochloride     2 or 3 drops or sprays in each nostril   Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (0.5 %     NMT q4h
aqueous solution)
Phenylephrine hydrochloride     (With adult supervision) 2 or 3 drops or sprays in each nostril NMT q4h        Consult a doctor
(0.25% aqueous solution)
Phenylephrine hydrochloride     --                                       --                                     (With adult supervision) 2 or 3
(0.125% aqueous solution)                                                                                       drops or sprays in each nostril NMT
                                                                                                                q4h
Phenylephrine hydrochloride     Place a small amount in each nostril     Do not give to children under 12 years of age unless directed by a doctor
Nasal Jelly (1% water-based     and inhale well back into the nasal
jelly)                          passages, NMT q4h
Phenylephrine hydrochloride     Place a small amount in each nostril     Do not give to children under 12 years of age unless directed by a doctor
Nasal Jelly 0.5% water-based    and inhale well back into the nasal
jelly)                          passages, NMT q4h
Phenylephrine hydrochloride     --                                       (With adult supervision) place a small Consult a doctor
Nasal Jelly (0.25% water-                                                amount in each nostril and inhale
based jelly)                                                             well back into the nasal passages,
                                                                         NMT q4h
Propylhexedrine Inhalation      “Adults and children 6 to under 12 years of age (with adult supervision): 2     Consult a doctor
(800 mL air, 0.4 to 0.5 mg of   inhalations in each nostril not more often than every 2 hours.”
propylhexedrine)
Xylometazoline hydrochloride    2 or 3 drops or sprays in each nostril   Do not give to children under 12 years of age unless directed by a doctor.
Nasal Drops or Spray (0.1%      NMT every 8 to 10 hours
aqueous solution)




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                                                                                 OTC Dosage (No Professional Labeling)
                                       Adults and Children
Ingredient                             12 Years and Older                             6-11 Years                            2-5 Years
Xylometazoline hydrochloride           --                                             (With adult supervision) 2 or 3 drops (With adult supervision) 2 or 3
(0.05% aqueous solution in a                                                          or sprays in each nostril NMT every 8 drops or sprays in each nostril NMT
container having either a                                                             to 10 hours, NTE 3 doses in any       every 8 to 10 hours, NTE 3 doses
calibrated dropper or a                                                               24-hour period                        in any 24-hour period
metered-dose spray that
delivers no more than
0.054 mg of xylometazoline
per 3 drops or 3 sprays)
Xylometazoline hydrochloride           Place a small amount in each nostril           Do not give to children under 12 years of age unless directed by a doctor.
Nasal Jelly (0.1% water-based          and inhale well back into the nasal
jelly)                                 passages, NMT every 8 to 10 hours
Xylometazoline hydrochloride           --                                             (With adult supervision) place a small Consult a doctor
Nasal Jelly (0.05% water-                                                             amount in each nostril and inhale
based jelly)                                                                          well back into the nasal passages,
                                                                                      NMT every 8 to 10 hours
Source: CCABA Monograph.
1
  This table presents only the dosing directions for each ingredient. Warnings and other labeling are NOT shown.
Abbreviations: CCABA, Cough, Cold, Allergy, Bronchodilator, and Antiasthma; OTC, over-the-counter; NTE, not to exceed; NMT, prn, as needed; not more than or not more often
than; 6-11y, 6 through 11 years (i.e., 6 to under 12 years); 2-5y, 2 through 5 years (i.e., 2 to under 6 years)




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Table 19. Permitted Cough/Cold Combinations in M012.85 (Previously 21 CFR 341.40)
                               Analgesic
M012.40                        Acetaminophen     Oral        Oral Nasal     Oral                        Oral         Local
Letter      Antihistamine      Aspirin/Antacid   Demulcent   Decongestant   Antitussive   Expectorant   Anesthetic   Antitussive   Other
a           x                  x
b           x                                                x
c           x                  x                             x
d           x                                                               x
e           x                                                x              x
f           x                  x                                            x
g           x                  x                             x              x
h                                                                           x             x
i                                                            x              x
j                                                            x              x             x
k                                                                           x                           x            x
l                              x                                            x
m                              x                             x              x
n                              x                             x              x             x
o                              x                                                          x
p                                                            x                            x
q                              x                             x                            x
r                              x                             x              x
s                                                            x                                          x
t                                                            x              x                           x            x
u                                                                                                                                  Camphor, menthol,
                                                                                                                                   eucalyptus ointment
v                                                                                                                                  Levmetamfetamine,
                                                                                                                                   camphor, menthol,
                                                                                                                                   methyl salicylate,
                                                                                                                                   lavender oil nasal
                                                                                                                                   inhaler
w                                                x                          x                                        x
x                                                x           x
y                                                x           x              x
z                                                x                          x                           x            x
aa                                               x           x                                          x
bb                                               x                          x                           x
Source: M012.40 (previously 21 CFR 341.40).




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